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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

------------------------------------------------------x
                                                      :
In re                                                 :      Chapter 11
                                                      :
INSYS THERAPEUTICS, INC., et al.,                     :      Case No. 19-11292 (KG)
                                                      :
                  Debtors.1                           :      Jointly Administered
                                                      :
------------------------------------------------------x

            SECOND AMENDED JOINT CHAPTER 11 PLAN OF LIQUIDATION
            OF INSYS THERAPEUTICS, INC. AND ITS AFFILIATED DEBTORS


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                                                            Dated: January 14, 2020
                                                                   Wilmington, Delaware




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Insys Therapeutics, Inc. (7886); IC Operations, LLC (9659); Insys Development
Company, Inc. (3020); Insys Manufacturing, LLC (0789); Insys Pharma, Inc. (9410); IPSC, LLC (6577); and IPT
355, LLC (0155). The Debtors’ mailing address is 3100 West Ray Rd., Suite 201, Chandler, Arizona 85226.




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                Each of Insys Therapeutics, Inc.; IC Operations, LLC; Insys Development
Company, Inc.; Insys Manufacturing, LLC; Insys Pharma, Inc.; IPSC, LLC; and IPT 355, LLC
(each, a “Debtor” and collectively, the “Debtors”) proposes the following amended joint chapter
11 plan of liquidation pursuant to section 1121(a) of the Bankruptcy Code. Capitalized terms used
herein shall have the meanings set forth in Section 1.1 below.

ARTICLE I              DEFINITIONS AND INTERPRETATION.

                       1.1    Definitions.

                    The following terms shall have the respective meanings specified below:

                510(a)/(b) Subordinated Claim means any Claim against the Debtors that is subject
to subordination either (i) by agreement, pursuant to section 510(a) of the Bankruptcy Code or
(ii) as a Claim for damages arising from the purchase or sale of a security of a Debtor, pursuant to
section 510(b) of the Bankruptcy Code.

                510(c) Subordinated Claim means any Claim against the Debtors that is subject to
equitable subordination pursuant to section 510(c) of the Bankruptcy Code. Any Claim that
satisfies the definition of a 510(c) Subordinated Claim will be classified as such, and not in any
other Class of Claims.

                Administrative Expense Claim means any Claim for costs and expenses of
administration of the Chapter 11 Cases pursuant to sections 327, 328, 330, 365, 503(b), 507(a)(2),
or 507(b) of the Bankruptcy Code, including (i) the actual and necessary costs and expenses
incurred on or after the Petition Date and through the Effective Date of preserving the Estates and
operating the Debtors’ business, (ii) Professional Fee Claims, (iii) all fees and charges assessed
against the Estates pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United
States Code, (iv) all Allowed Claims that are to be treated as Administrative Expense Claims
pursuant to a Final Order of the Bankruptcy Court under section 546(c)(2) of the Bankruptcy Code,
and (v) Cure Claims.

                Administrative Expense Claims Bar Date means the applicable deadline for filing
requests for payment of Administrative Expense Claims (other than Professional Fee Claims) and
shall be (i) October 24, 2019 at 5:00 p.m. (Prevailing Pacific Time) with respect to Claims arising
after the Petition Date through and including September 9, 2019 (other than those arising in the
ordinary course), as provided in the Bar Date Order, and (ii) the date that is sixty (60) days after
the Effective Date with respect to (x) unpaid Claims arising in the ordinary course of business
between the Petition Date and September 9, 2019, and (y) all unpaid Claims arising after
September 9, 2019 through and including the Effective Date, in each case, unless otherwise
ordered by the Bankruptcy Court.

                 Allowed means, with respect to any Claim against or Interest in a Debtor, any Claim
or Interest (i) the amount of which has been agreed by, as applicable, the Debtors, the Liquidating
Debtors, the Liquidating Trustee, the ILT Claims Arbiter, or the VRT Claims Administrator, (ii)
that has been determined by Final Order of a court of competent jurisdiction, which may include
the Bankruptcy Court, (iii) that is compromised, settled, or otherwise resolved after the Effective
Date pursuant to the authority of the Debtors, the Liquidating Debtors, the Liquidating Trustee,



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the ILT Claims Arbiter, or the VRT Claims Administrator, as applicable, (iv) that is listed in the
Schedules as liquidated, non-contingent, and undisputed, (v) arising on or before the Effective
Date as to which no objection to allowance has been interposed within the time period set forth in
the Plan, and (vi) that is expressly allowed hereunder; provided, however, that the Liquidating
Debtors and the Liquidating Trustee shall retain all Claims and defenses with respect to Allowed
Claims that are reinstated or otherwise Unimpaired pursuant to this Plan.

             Allowed DOJ Civil Claim means the DOJ’s Allowed Claim for restitution in the
amount of $243 million pursuant to the DOJ Settlement Order.

             Allowed DOJ Claims means, collectively, the Allowed DOJ Civil Claim, the
Allowed DOJ Forfeiture Claim, and any Allowed DOJ Restitution Claim, including any Allowed
DOJ Residual Restitution Claim.

               Allowed DOJ Forfeiture Claim means the DOJ’s Claim in the amount of
$30,002,000 pursuant to the Plea Agreement dated June 4, 2019 between the United States
Attorney for the District of Massachusetts and Insys Pharma, Inc., the related Deferred Prosecution
Agreement entered into by Insys Therapeutics, Inc. and the DOJ, and the Order of Forfeiture
(Money Judgment) entered by the United States District Court for the District of Massachusetts in
Case No. 1:19-cr-10191-RWZ.

                  Allowed DOJ Residual Restitution Claim means any portion of the Allowed DOJ
Restitution Claim that relates to, benefits, or is made on behalf of any creditor of the Debtors that
(i) failed to file a proof of claim in these Chapter 11 Cases by the applicable Bar Date, (ii) is not
listed as having a Scheduled Claim that is not contingent, disputed, or unliquidated as set forth in
the Schedules, and (iii) is not part of any Class Claim. For the avoidance of doubt, any Allowed
DOJ Residual Restitution Claim shall only be on account of rights to payment as criminal
restitution that are not duplicative of Claims already made, asserted, or provided for in the Chapter
11 Cases.

                Allowed DOJ Restitution Claim means any Claim filed by the DOJ seeking
restitution pursuant to any final order awarding restitution entered by the United States District
Court for the District of Massachusetts in United States v. Insys Pharma, Inc., Case No. 19-cr-
10191 (RWZ), pursuant to the plea agreement dated June 4, 2019 between the United States
Attorney for the District of Massachusetts and Insys Pharma, Inc. and the Order of Forfeiture and
Judgment entered by the United States District Court for the District of Massachusetts on July 16
and July 18, 2019, respectively, in United States v. Insys Pharma, Inc., Case No. 19-cr-10191
(RWZ). For the avoidance of doubt, any part of, or any claims included in, the Allowed DOJ
Restitution Claim that are duplicative of Claims already made, asserted, or provided for in the
Chapter 11 Cases shall not be included in the DOJ Class Amount.

                Asset means all of the rights, title, and interests of a Debtor, a Liquidating Debtor,
or a Trust, as applicable, in and to property of whatever type or nature, including real, personal,
mixed, intellectual, tangible, and intangible property, including, for the avoidance of doubt, all
Retained Causes of Action whether or not on the Schedule of Retained Causes of Action.




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               Assumed and Assigned Contracts means, collectively, all executory contracts or
unexpired leases to be assumed by the Debtors under this Plan pursuant to sections 365(a) and
365(f) of the Bankruptcy Code and assigned to the Insys Liquidation Trust (or the Victims
Restitution Trust, if such Assumed and Assigned Contract relates to Products Liability Insurance
Policies) under the Trust Transfer Agreement and this Plan. The Assumed and Assigned Contracts
will be identified along with any Cure Amount on the Schedule of Assumed and Assigned
Contracts to be filed as part of the Plan Supplement.

                Authorized Acts means those actions that the Liquidating Trustee (through the
Trusts, Debtors, the Liquidating Debtors, or otherwise) is authorized to perform in accordance with
the applicable Trust Agreement including, but not limited to: (i) wind down, dissolve, and liquidate
the Liquidating Debtors and their Estates and the Trust Assets; (ii) prosecute and liquidate Causes
of Action, other than those released pursuant to Section 10.5(a) of this Plan; (iii) collect and
administer all consideration to be provided to the Debtors or the Liquidating Debtors under the
Subsys Asset Purchase Agreement; (iv) if applicable, continue limited operations of the
Liquidating Debtors during the Operating Term to the extent reasonably necessary, in the
discretion of the Liquidating Trustee, and subject to the approval of the ILT Board, to maximize
value; (v) administer, process, settle, resolve, liquidate, satisfy, and pay (from the designated funds
therefor), as applicable, Claims against the Debtors; (vi) maintain, administer, and make
Distributions from the Priority Reserve to satisfy Allowed (a) Administrative Expense Claims,
(b) Secured Claims, and (c) Priority Claims; (vii) maintain, administer, and make Distributions
from the Trust Operating Reserves to satisfy Trust Operating Expenses; (viii) maintain, administer,
and make distributions from the Disputed Claims Reserves to the Recovery Funds; (ix) maintain,
administer, and make Distributions from the Recovery Funds to holders of Allowed General
Unsecured Claims as set forth in this Plan; (x) upon expiration of the Operating Term, liquidate
all Remaining Assets and make any final Distributions pursuant to Section 6.14 of this Plan;
(xi) administer the closing of the Chapter 11 Cases in accordance with the Bankruptcy Code and
the Bankruptcy Rules; (xii) (a) obtain all of the Debtors’ and the Liquidating Debtors’ documents,
books, and records, (b) retain such documents, books, and records subject to the Debtors’
obligations with respect to record retention existing as of the Effective Date, and (c) in consultation
with the ILT Board and considering all factors, make determinations with regard to the use of such
documents, books, and records; provided, however, that (1) any such use will be in a manner that
reasonably protects against disclosure of personally identifiable information and that complies
with all applicable laws, including HIPAA, and, in the absence of modification, any confidentiality
agreements, protective orders, or other similar obligations regarding the use of the Debtors’ and
the Liquidating Debtors’ documents, books, and records, and (2) the publication of any such
documents, books, and records required by Section 5.6(g) of this Plan will be governed by that
section of the Plan; and (xiii) carry out the purposes and obligations of the Trusts as set forth in
the Trust Agreements.

                 Available Cash means, collectively: (i) Cash held by the Debtors on the Effective
Date in excess of the amounts to be used to fund the initial Distributions of Cash to take place on
or soon after the Effective Date as described in Section 6.2 of this Plan, including: (a) funding of
the Priority Reserve and the Professional Fee Escrow Account, (b) Distributions on account of
Allowed Convenience Class Claims in Class 3 in accordance with Section 4.3 of this Plan, and
(c) initial funding of the Trust Operating Reserves as described in Sections 5.7(f) and 5.8(d) of this
Plan; (ii) any Surplus Reserved Cash; (iii) value or consideration received by the Liquidating


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Debtors or the Trusts after the Effective Date from (a) liquidation and, if applicable, operation of
the Remaining Assets, (b) recovery of Insurance Proceeds, other than any Products Liability
Insurance Proceeds, (c) proceeds resulting from liquidation of Causes of Action, (d) royalties and
other proceeds from sales of the Debtors’ assets, as described in more detail in the Disclosure
Statement, or (e) any other source; and (iv) funds reserved in the Disputed Claims Reserves for
Disputed Non-PI General Unsecured Claims to the extent the funds in such Disputed Claims
Reserves exceed the amount required to be held in such Disputed Claims Reserves pursuant to
Section 6.4 of this Plan. For the avoidance of doubt, Products Liability Insurance Proceeds shall
not constitute Available Cash.

              Bankruptcy Code means title 11 of the United States Code, as applicable to the
Chapter 11 Cases.

               Bankruptcy Court means the United States Bankruptcy Court for the District of
Delaware having jurisdiction over the Chapter 11 Cases and, to the extent any reference made
under section 157 of title 28 of the United States Code is withdrawn or the Bankruptcy Court is
determined not to have authority to enter a Final Order on an issue, the District Court.

              Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United States
Code, as amended from time to time, as applicable to the Chapter 11 Cases, and any local rules of
the Bankruptcy Court.

               Bar Date Order means the order of the Bankruptcy Court, dated July 15, 2019
[Docket No. 959], establishing deadlines by which proofs of Claim must be filed with respect to
certain Claims.

                Business Day means any day other than a Saturday, a Sunday, or any other day on
which banking institutions in Wilmington, Delaware are authorized or required by law or executive
order to close.

                   Cash means legal tender of the United States of America.

                Category 1 Distributions means (i) fifty percent (50%) of the first $38 million of
Estate Distributable Value to be distributed and (ii) thereafter, seventeen and one-half percent
(17.5%) of any Estate Distributable Value to be distributed, plus the SMT Reallocation (defined
in Category 2 Distributions, below). Category 1 Distributions shall include amounts reallocated
to the recipients of Category 1 Distributions in accordance with the DOJ Distribution Reallocation.

                Category 2 Distributions means (i) fifty percent (50%) of the first $38 million of
Estate Distributable Value to be distributed and (ii) thereafter, eighty-two and one-half percent
(82.5%) of any Estate Distributable Value to be distributed. Category 2 Distributions for all
Allowed Claims in Class 7, Class 8(a), and Class 8(b), except for the Allowed DOJ Civil Claim,
shall include amounts reallocated to the recipients of Category 2 Distributions in accordance with
the DOJ Distribution Reallocation; provided, however, that the first $2 million of the DOJ
Distribution Reallocation to be received by holders of Claims in Class 8(a) and Class 8(b), as and
to the extent available, will be distributed as a Category 1 Distribution (the “SMT Reallocation”).



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                Cause of Action means any action, class action, claim, cross-claim, third-party
claim, cause of action, controversy, demand, right, Lien, indemnity, contribution, reimbursement,
guaranty, suit, obligation, liability, debt, damage, judgment, account, defense, remedy, offset,
power, privilege, license, and franchise of any kind or character whatsoever, known or unknown,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate,
secured or unsecured, assertable directly or derivatively (including, without limitation, under alter
ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, at law or
in equity, or pursuant to any other theory of law. For the avoidance of doubt, Cause of Action
includes (i) any right of setoff, counterclaim, or recoupment and any claim for breach of contract
or for breaches of duties imposed by law or in equity; (ii) the right to object to Claims or Interests;
(iii) any claim or cause of action pursuant to section 362 of the Bankruptcy Code or chapter 5 of
the Bankruptcy Code; (iv) any claim or defense, including fraud, mistake, duress, and usury and
any other defenses set forth in section 558 of the Bankruptcy Code; and (v) any claims under any
state or foreign law, including any fraudulent transfer or similar claims.

              Chapter 11 Case means, with respect to a Debtor, such Debtor’s case under chapter
11 of the Bankruptcy Code commenced on the Petition Date in the Bankruptcy Court, jointly
administered with all other Debtors’ cases under chapter 11 of the Bankruptcy Code, and styled In
re Insys Therapeutics, Inc., et al., Ch. 11 Case No. 19-11292 (KG).

                   Claim means a “claim,” as defined in section 101(5) of the Bankruptcy Code.

               Claims Analysis Protocol means the guidelines for the VRT Claims Administrator
to consider and follow in determining whether and in what amount to allow a Personal Injury
Claim as has been agreed by the Creditors’ Committee and the SMT Group Representatives on
November 8, 2019. The Claims Analysis Protocol will be filed with the Bankruptcy Court on or
before the Plan Supplement Filing Deadline.

              Class means any group of Claims or Interests classified under this Plan pursuant to
section 1122(a) of the Bankruptcy Code.

               Class Claims means, collectively, the Insurance Ratepayer Class Claims, the
Hospital Class Claim, the NAS Monitoring Class Claim, and the Third Party Payor Class Claim.

              Class Claims Procedures means, collectively, the Insurance Ratepayer Class
Claims Procedures, the Hospital Class Claim Procedures, the NAS Monitoring Class Claim
Procedures, and the Third Party Payor Claim Procedures.

               Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order.

              Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding confirmation of the Plan, as such hearing may be adjourned or continued from time to
time.

               Confirmation Order means the order of the Bankruptcy Court confirming this Plan
pursuant to section 1129 of the Bankruptcy Code and approving the Plan Settlement.


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                Convenience Class Claim means any General Unsecured Claim against the
Debtors that is asserted as liquidated or Scheduled as neither contingent, disputed, or unliquidated,
in each case, in an amount no greater than $50,000. Notwithstanding any other classification
provision or definition, any such Claim shall be deemed a Convenience Class Claim, and not in
any other class of Claims, for all purposes herein.

               Creditors’ Committee means the statutory committee of unsecured creditors
appointed by the U.S. Trustee on June 19, 2019 pursuant to section 1102(a)(1) of the Bankruptcy
Code.

               Cure Amount means the payment of Cash or the distribution of other property (as
the parties may agree or the Bankruptcy Court may order) as necessary to (i) cure a monetary
default by the Debtors in accordance with the terms of an executory contract or unexpired lease of
the Debtors and (ii) permit the Debtors to assume such executory contract or unexpired lease under
section 365(a) of the Bankruptcy Code.

              Cure Claim means a Claim for cure in connection with the assumption or
assumption and assignment of an executory contract or unexpired lease under section 365(a) of
the Bankruptcy Code.

               Cure Dispute means an unresolved objection regarding assumption, Cure Amount,
“adequate assurance of future performance” (within the meaning of section 365 of the Bankruptcy
Code), or other issues related to assumption of an executory contract or unexpired lease.

                   Debtor(s) has the meaning set forth in the introductory paragraph of this Plan.

                Disallowed means, subject to any agreement reached pursuant Section 4.8(c)(i) of
this Plan, any Claim, or any portion thereof, that (i) has been disallowed under this Plan, by a Final
Order, a settlement, or a final determination of the VRT Claims Administrator, (ii) is Scheduled at
zero or as contingent, disputed, or unliquidated and as to which a proof of claim bar date has been
established but no proof of claim has been timely filed or deemed timely filed with the Bankruptcy
Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy Court,
including the Bar Date Order, or otherwise deemed timely filed under applicable law, or (iii) is not
Scheduled and as to which a proof of claim bar date has been established but no proof of claim has
been timely filed or deemed timely filed with the Bankruptcy Court pursuant to either the
Bankruptcy Code or any Final Order of the Bankruptcy Court or otherwise deemed timely filed
under applicable law.

              Disbursing Agent means the Liquidating Trustee acting in its capacity as a
disbursing agent under Sections 6.7 and 6.8 hereof to make Distributions pursuant to the Plan.

               Disclosure Statement means the disclosure statement for this Plan, as may be
amended or supplemented from time to time, prepared and distributed in accordance with sections
1125, 1126(b), and 1145 of the Bankruptcy Code, Bankruptcy Rules 3016 and 3018, and other
applicable law, and all exhibits, schedules, supplements, modifications, amendments, annexes, and
attachments to such disclosure statement.

                   Disputed means any Claim that is not yet Allowed or Disallowed.


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               Disputed Claims Reserves means, collectively, the reserves to be established with
respect to each Class of General Unsecured Claims (which may be a single or collective reserve
for one or more Classes of Claims), each maintained and administered by the Liquidating Trustee,
and each to be held for the benefit of holders of subsequently Allowed Claims in the applicable
Class for Distributions in accordance with the procedure set forth in Article VII hereof. The
Disputed Claims Reserves with respect to Disputed Non-PI General Unsecured Claims shall be
held by the Insys Liquidation Trust and the Disputed Claims Reserve with respect to Disputed
Personal Injury Claims shall be held by the Victims Restitution Trust and administered by the
Liquidating Trustee. There shall also be considered to be held in the Disputed Claims Reserves
an undivided interest in the ILT Assets allocable to Disputed Claims of such Class(es).

               Disputed Cure Claim means the amount that a counterparty to a Cure Dispute
alleges must be paid in order for an executory contract or unexpired lease to either be assumed by
the Debtors or assumed by the Debtors and assigned to the Insys Liquidation Trust.

               Disputed Cure Claims Reserve means an amount of Cash held by the Debtors on
the Effective Date equal to the Debtors’ Disputed Cure Claims to be reserved in a segregated
account in the Priority Reserve, in the reasonable discretion of the Debtors, in consultation with
the Creditors’ Committee, necessary to pay (i) the aggregate amount of Disputed Cure Claims for
Assumed and Assigned Contracts or (ii) such lower amount as ordered by the Bankruptcy Court.

               Dissolution Date means the date upon which all of the Liquidating Debtors have
been dissolved, which is to be no later than thirty (30) days after completion of the acts required
of the Debtors or the Liquidating Debtors by Article V of this Plan, or as soon as reasonably
practicable thereafter.

               Distribution means any initial or periodic payment or transfer of consideration to
holders of Allowed Claims made under this Plan.

              Distribution Date means the Initial Distribution Date or any of the Periodic
Distribution Dates.

               Distribution Record Date means the record date for purposes of making
Distributions under the Plan on account of Allowed Claims, which date shall be the Effective Date.

                   District Court means the United States District Court for the District of Delaware.

                   DOJ means the United States Department of Justice.

               DOJ Claims means the Claims against the Debtors including the Allowed DOJ
Civil Claim, any Allowed DOJ Forfeiture Claim, any Allowed DOJ Restitution Claim, including
any Allowed DOJ Residual Restitution Claim, and any other Claim including for fines, penalties,
judgments, restitution, or other amounts, held by the DOJ and arising out of, or relating to, civil
and criminal investigations with respect to any of the Debtors conducted or prosecuted by the DOJ,
including any plea agreements, other settlement agreements, restitution orders, or similar
documents entered into in connection therewith.




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                DOJ Class Amount means (i) until the DOJ Class Amount Final Determination,
$283 million, and (ii) after the DOJ Class Amount Final Determination, the total Allowed Claims
in Class 7 or the amount set forth in the DOJ Class Amount Final Order, which amount shall not
exceed $283 million. For the avoidance of doubt, any Allowed DOJ Restitution Claim shall not
be included in the DOJ Class Amount for distribution purposes except for any amounts on account
of any Allowed DOJ Residual Restitution Claim.

               DOJ Class Amount Final Determination means the earlier of (i) the date on which
all Claims in Class 7 have been Allowed under the Plan, and (ii) the date on which the Liquidating
Trustee receives a DOJ Class Amount Final Order.

              DOJ Class Amount Final Order means a Final Order from the Bankruptcy Court
determining and allowing the DOJ Class Amount in accordance with Section 5.6(f).

               DOJ Distribution Reallocation means (i) before the GUC Recovery Reallocation
Threshold is met, Estate Distributable Value will be allocated to holders of Non-PI General
Unsecured Claims, but any Distributions of Estate Distributable Value that would otherwise have
been made on account of the Allowed DOJ Civil Claim shall instead be distributed in the same
proportion to holders of Non-PI General Unsecured Claims (other than the Allowed DOJ Civil
Claim) as the applicable Distribution of Estate Distributable Value (e.g., if a holder of a Claim
received a 1% Distribution of Estate Distributable Value not including the amount allocated to the
Allowed DOJ Civil Claim, the same Claim holder would also receive 1% of the amount allocated
to the Allowed DOJ Civil Claim as a DOJ Distribution Reallocation), and (ii) after the GUC
Recovery Reallocation Threshold is met, Distributions will be made to the DOJ in respect of the
Allowed DOJ Civil Claim.

              DOJ Settlement Order means the Order Pursuant to 11 U.S.C. § 105 and Fed. R.
Bankr. P. 9019 Authorizing and Approving the Stipulation and Agreement Between the Debtors
and the United States [Docket No. 707].

               Effective Date means the date which is the first Business Day on which (i) all
conditions precedent to the effectiveness of this Plan as set forth in Section 9.2 of this Plan have
been satisfied or waived in accordance with the terms of this Plan and (ii) no stay of the
Confirmation Order is in effect.

                   Entity has the meaning set forth in section 101(15) of the Bankruptcy Code.

                   Equity Interest means any Interest in Insys Therapeutics, Inc.

                   ERISA means the Employee Retirement Income Security Act of 1974.

               ERISA Group means, collectively, Pioneer Telephone Cooperative, Inc. Employee
Benefits Plan; Bios Companies, Inc. Welfare Plan; Pioneer Telephone Cooperative, Inc. as Plan
Sponsor and Fiduciary of Pioneer Telephone Cooperative, Inc. Employee Benefits Plan; and Bios
Companies, Inc. as Plan Sponsor and Fiduciary of Bios Companies, Inc. Welfare Plan.




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               ERISA Group Claims means all Claims asserted against the Debtors by ERISA
Group arising from the Debtors’ acts or omissions leading to the improper payment of prescription
drug costs for Products of the Debtors.

              ERISA Health Plan Claimants means, collectively, the ERISA Group and all other
private employer sponsored self-insured health plans.

              ERISA Health Plan Claims means all Claims asserted against the Debtors by
ERISA Health Plan Claimants arising from the Debtors’ acts or omissions leading to the improper
payment of prescription drug costs for Products of the Debtors.

               Estate(s) means, individually or collectively, the estate or estates of the Debtors
created under section 541 of the Bankruptcy Code.

              Estate Distributable Value means Available Cash in the ILT Recovery Fund. The
term “Estate Distributable Value” shall not include the Products Liability Insurance Proceeds.

                Exculpated Parties means, collectively, (i) the Debtors, (ii) the Creditors’
Committee and its members, solely in their capacity as such, and (iii) with respect to each of the
foregoing Persons in clauses (i) and (ii), such Persons’ (a) predecessors, successors, permitted
assigns, subsidiaries, and controlled affiliates, (b) officers and directors, principals, members,
employees, financial advisors, attorneys, accountants, investment bankers, consultants, experts
(for the avoidance of doubt, including but not limited to Nathan Associates, Inc. and its officers,
directors, and employees), and other professionals; provided, however, that no such Person
described in the foregoing clause (b) shall be an Exculpated Party unless such Person was
employed or engaged in such capacity on or after the Petition Date, or, in the case of any
professional, was retained pursuant to sections 327 or 1102 of the Bankruptcy Code in these
Chapter 11 Cases, and (c) respective heirs, executors, estates, and nominees, in each case solely in
their capacity as such.

                Final Order means an order of the Bankruptcy Court or any other court of
competent jurisdiction (i) as to which the time to appeal shall have expired and as to which no
appeal shall then be pending or (ii) if a timely appeal shall have been filed or sought, either (A) (1)
no stay of the order shall be in effect and (2) the appeal would not reasonably be expected to
prevent or materially impede the consummation of the Trust Formation Transactions or have a
material adverse effect on the releases, injunctions, or exculpations granted under this Plan, or (B)
if such a stay shall have been granted, then (1) (x) the stay shall have been dissolved or lifted and
(y) the appeal would not reasonably be expected to prevent or materially impede the consummation
of the Trust Formation Transactions or have a material adverse effect on the releases, injunctions,
or exculpations granted under this Plan, or (2) a Final Order of the District court, circuit court, or
other applicable court having jurisdiction to hear such appeal shall have affirmed the order and the
time allowed to appeal from such affirmance or to seek review or rehearing (other than a motion
pursuant to Rule 60(b) of the Federal Rules of Civil Procedure) thereof shall have expired;
provided, however, that no order shall fail to be a “Final Order” solely because of the possibility
that a motion pursuant to sections 502(j) or 1144 of the Bankruptcy Code or under Rule 60 of the
Federal Rules of Civil Procedure or Bankruptcy Rule 9024 or any similar motion brought outside
the United States may be filed with respect to such order.



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              General Unsecured Claim means any Claim in Class 4 (Trade and Other
Unsecured Claims), Class 5 (Insurance Related Claims), Class 6 (Hospital Claims and NAS
Monitoring Claims), Class 7 (DOJ Claims), Class 8(a) (State Claims), Class 8(b)
(Municipality/Tribe Claims), or Class 9 (Personal Injury Claims).

              Governmental Unit means any governmental unit as defined in section 101(27) of
the Bankruptcy Code.

                Governmental Unit and Native American Tribes Bar Date means the deadline
established in the Bar Date Order, as may be extended by stipulation, for Governmental Units and
Native American Tribes to file proofs of Claim.

                GUC Recovery Reallocation Threshold means the point at which the amount of
aggregate Distributions (including to the Disputed Claims Reserve) from the ILT Recovery Fund
on account of the Non-PI General Unsecured Claims (other than the Allowed DOJ Civil Claim) is
equal to or greater than 4% of (i) the sum of the Private Group Formula Amounts, plus (ii) the sum
of the Public Group Formula Amounts, minus (iii) the amount of the Allowed DOJ Civil Claim.

               Hospital Claim means any Claim asserted against the Debtors by any hospital in
the United States, other than those owned by the U.S. Government, that treated patients with opioid
addiction, babies born opioid addicted, opioid users committed to mental health treatment
programs, or opioid users with pretextual excuses for obtaining opioids, for damages caused by
the Debtors in connection with the opioid crisis.

               Hospital Class Claim means the Hospital Claim asserted against the Debtors by
one or more class representatives on behalf of the class of all hospitals in the United States, other
than those owned by the U.S. Government, that treated patients with opioid addiction, babies born
opioid addicted, opioid users committed to mental health treatment programs, or opioid users with
pretextual excuses for obtaining opioids.

               Hospital Class Claim Procedures means, collectively, the terms and procedures
governing administration of the Hospital Class Claim to be filed with the Bankruptcy Court on or
before the Plan Supplement Filing Deadline.

               ILT Agreement means the trust agreement establishing and delineating the terms
and conditions for the creation and operation of the Insys Liquidation Trust, as it may be amended
from time to time. The ILT Agreement shall be filed with the Plan Supplement and shall be in
form and substance reasonably acceptable to the Creditors’ Committee and the SMT Group
Representatives.

                ILT Assets means, collectively, all Assets of the Debtors and/or the Liquidating
Debtors upon the date of formation of the Insys Liquidation Trust, other than (i) the VRT Operating
Reserve, (ii) the Products Liability Insurance Rights, and (iii) any Interests held by Liquidating
Debtors in other Liquidating Debtors. For the avoidance of doubt, the ILT Assets will include all
of the documents, books, and records of the Debtors and the Liquidating Debtors.

               ILT Board means the governing body of the Insys Liquidation Trust to be
appointed in accordance with Section 5.7(j) of this Plan.


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                 ILT Claims Arbiter means the individual to be appointed pursuant to this Plan and
the ILT Agreement to determine the allocation of recoveries among holders of Allowed Claims
within Class 5 and Class 6, as necessary, if such Classes fail to agree with respect to such
allocations prior to the Effective Date. The identity of the ILT Claims Arbiter shall be disclosed
as part of the Plan Supplement. For the avoidance of doubt, with respect to Class 5, the ILT Claims
Arbiter will solely be responsible for allocating aggregate recoveries among the ERISA Group
Claims (which may be determined to include all ERISA Health Plan Claims), all other Third Party
Payor Claims, and the Insurance Ratepayer Class Claims, and in Class 6, the ILT Claims Arbiter
will solely be responsible for allocating aggregate recoveries between the Hospital Class Claim
and the NAS Monitoring Class Claim.

                ILT Operating Expenses means any and all costs, expenses, fees, taxes,
disbursements, debts, or obligations incurred from the operation and administration of the Insys
Liquidation Trust, including in connection with the reconciliation and administration of all Claims
(other than Personal Injury Claims), working capital, wind-down of the Liquidating Debtors and
the Remaining Assets and Causes of Action, recovery of Insurance Proceeds (other than Products
Liability Insurance Proceeds), costs and fees of the Liquidating Trustee, the ILT Claims Arbiter,
the ILT Board, and any other professionals retained by the Insys Liquidation Trust, and
compensation of $175,000 to be paid to the SMT Group Representatives for post-Effective Date
fees and expenses incurred in negotiating, documenting, and obtaining Bankruptcy Court approval
of the protocol for distributions to holders of Claims in Class 8(a) and Class 8(b), as further
described in Section 4.8(c) herein. In the first instance, the ILT Operating Expenses are to be
satisfied and paid from the ILT Operating Reserve.

                ILT Operating Reserve means Cash in an amount estimated to be necessary to fund
the ILT Operating Expenses, which shall be held in a separate account established by the
Liquidating Trustee. The ILT Operating Reserve is to be (a) reserved in a segregated account on
the Effective Date or as soon as practicable thereafter from the Debtors’ Cash and Cash equivalents
in the amount of $1 million, (b) funded periodically from Available Cash in accordance with
Section 5.7(f) of this Plan, as necessary, and (c) funded from Surplus Reserved Cash in accordance
with Section 5.15 of this Plan.

               ILT Recovery Fund means the fund established pursuant to this Plan to make
Distributions on account of Allowed Non-PI General Unsecured Claims, or as contemplated by
agreement pursuant to Section 4.8(c)(i), and funded periodically with Available Cash pursuant to
Section 5.14 and Surplus Reserved Cash pursuant to Section 5.15 of this Plan. The ILT Recovery
Fund shall be held by the Insys Liquidation Trust and administered by the Liquidating Trustee.

               ILT Termination Date means the date on which the Insys Liquidation Trust is
terminated, as determined pursuant to the terms of the ILT Agreement, upon the satisfaction of the
purposes for which the Insys Liquidation Trust was established.

              Impaired means, with respect to a Claim, Interest, or a Class of Claims or Interests,
“impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.

               Initial Distribution means the first distribution that the Liquidating Trustee makes
to holders of Allowed Claims.



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                 Initial Distribution Date means the date selected by the Liquidating Trustee as
soon as reasonably practicable after the Effective Date, but in no event more than ninety (90) days
after the Effective Date; provided, however, that the Initial Distribution Date need not occur until
the Initial Distribution to be made can exceed the minimum Distribution set forth in Section 6.14
of this Plan.

                Insurance Company(s) means all Entities that issued, or that have any actual,
potential, demonstrated, or alleged liabilities, duties, or obligations under, or with respect to, any
Insurance Policy, any third party administrator, or any parent, subsidiary, affiliate, successor,
predecessor, or assign of any of the foregoing, solely in such Insurance Company’s capacity with
respect to an Insurance Policy.

                Insurance Policies means any insurance policy issued to or that provides or may
provide coverage at any time to any of the Debtors or under which any of the Debtors have sought
or may seek coverage including, without limitation, any such policy for directors’ and officers’
liability, general liability, workers’ compensation, and any excess or umbrella policy, and all
agreements, documents, or instruments relating thereto.

               Insurance Proceeds means any proceeds recovered from an Insurance Company,
not including the Products Liability Insurance Proceeds, for the Insys Liquidation Trust.

                Insurance Ratepayer Claim means any Claim by a ratepayer for health insurance
for the alleged increase in premium rates for such health insurance arising from the Debtors’ acts
or omissions leading to the improper payment of prescription drug costs for Products of the
Debtors.

               Insurance Ratepayer Class Claims means the Insurance Related Claims asserted
against the Debtors by one or more class representatives on behalf of the class of all individual
holders of Insurance Ratepayer Claims for the alleged increase in premium rates for such health
insurance arising from the Debtors’ acts or omissions leading to the improper payment of
prescription drug costs for Products of the Debtors.

              Insurance Ratepayer Class Claims Procedures means, collectively, the terms and
procedures governing administration of the Insurance Ratepayer Class Claim to be filed with the
Bankruptcy Court on or before the Plan Supplement Filing Deadline.

              Insurance Related Claim means either an Insurance Ratepayer Claim or a Third
Party Payor Claim.

               Insurance Rights means any and all rights, titles, privileges, interests, claims,
demands, or entitlements of the Debtors to any proceeds, payments, benefits, Causes of Action,
choses in action, defense or indemnity arising under, or attributable to, any and all Insurance
Policies, other than the Products Liability Insurance Rights, now existing or hereafter arising,
accrued or unaccrued, liquidated or unliquidated, matured or unmatured, disputed or undisputed,
fixed or contingent. For the avoidance of doubt, “Insurance Rights” include Insurance Proceeds.

               Insurance Rights Transfer means the transfer and vesting of the Insurance Rights
described in Section 5.7(e) of this Plan.


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                Insys Liquidation Trust means the trust established to, among other things, (i) hold
and make disbursements from the ILT Recovery Fund, the ILT Operating Reserve, the Priority
Reserve, and the Professional Fee Escrow Account, (ii) liquidate the Remaining Assets and the
Causes of Action of the Debtors and the Liquidating Debtors, (iii) negotiate with the Insurance
Companies (other than the Products Liability Insurance Companies) to recover Insurance
Proceeds, and (iv) administer Claims (other than Personal Injury Claims and other than to the
extent provided in the Class Claims Procedures), including through allowance and disallowance
of such Claims and making Distributions therefor, but solely within the parameters of this Plan
and the distribution scheme contained herein.

                   Intercompany Claim means any Claim against a Debtor held by another Debtor.

                 Interest means any equity security (as defined in section 101(16) of the Bankruptcy
Code) in a Debtor, or direct or indirect subsidiary of a Debtor, including all shares, common stock
or units, preferred stock or units, or other instrument evidencing any fixed or contingent ownership
interest in any Debtor or any direct or indirect subsidiary of a Debtor, including any option,
warrant, or other right, contractual or otherwise, to acquire any such interest in a Debtor, or direct
or indirect subsidiary of a Debtor, whether or not transferable and whether fully vested or vesting
in the future, that existed immediately before the Effective Date.

               Interim Compensation Order means the Order (I) Establishing Procedures for
Interim Compensation and Reimbursement of Expenses of Professionals and (II) Granting Related
Relief [Docket No. 329].

               Internal Revenue Code means the Internal Revenue Code of 1986, as amended
from time to time.

                   Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

               Liquidating Debtors means, collectively, all of the Debtors on and after the
Effective Date, to be liquidated and dissolved upon the Dissolution Date.

               Liquidating Debtors’ Organizational Documents means, collectively, the
amended and restated certificates of incorporation, amended and restated by-laws, or other
amended and restated organizational documents of any of the Debtors. The Liquidating Debtors’
Organizational Documents shall be filed with the Plan Supplement, shall reflect the limited
purposes of the Liquidating Debtors as set forth in this Plan, and otherwise shall be in form and
substance reasonably acceptable to the Creditors’ Committee.

             Liquidating Trustee means the Person appointed pursuant to this Plan and
Confirmation Order to perform the Authorized Acts under this Plan and the Trust Agreements.

              MDL means the multi-district litigation in the Northern District of Ohio against the
Debtors for public nuisance, negligence, and fraud related to the Debtors’ marketing and sale of
Products under the case caption In re National Prescription Opiate Litigation, No. 1:17-md-2804.

             Mediation means the mediation prescribed for the Debtors, the Creditors’
Committee, and certain creditors of the Debtors’, including the Settling Parties, pursuant to the


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order of the Bankruptcy Court related to mediation and the appointment of a mediator [Docket No.
398]. For the avoidance of doubt, the Mediation does not include the second, separate mediation
session conducted in October, 2019.

              Municipality/Tribe Claim means any Claim against the Debtors held by a
Governmental Unit or a Native American Tribe, but not including a State of the United States or
the United States for, among other things, consumer fraud, deceptive practices, false claims,
negligence, the Racketeer Influenced and Corrupt Organizations Act, public nuisance, and
abatement.

               NAS Child(ren) means, individually and collectively, any person in the U.S. under
the age of 18 who was (or will be) diagnosed with neonatal abstinence syndrome and whose birth
mother ingested opioids during gestation and who asserts or may assert a Claim against the Debtors
for, among other things, bodily injury, addiction, wrongful death, or loss of consortium (including
a parent of such child, or any other Person that holds a Claim on account of such child).

               NAS Monitoring Claim means any Claim against the Debtors asserted by a NAS
Child (including a parent of such child, or any other Person that holds a Claim on account of such
child) for medical monitoring support.

               NAS Monitoring Class Claim means the Claim asserted against the Debtors by
class representatives on behalf of the class of NAS Children for medical monitoring support.

             NAS Monitoring Class Claim Procedures means, collectively, the terms and
procedures governing administration of the NAS Monitoring Class Claim to be filed with the
Bankruptcy Court on or before the Plan Supplement Filing Deadline.

               Native American Tribe means any Native American, American Indian, or Alaska
Native tribal entity that is recognized by the federal government of the United States of America
and/or the Bureau of Indian Affairs, Department of the Interior.

              Non-PI General Unsecured Claim means any General Unsecured Claim other than
any Claim in Class 9 (Personal Injury Claims).

                Operating Term means the term for the continuation of the Trusts, which shall
cease five (5) years after the Effective Date; provided, however, that the Operating Term will be
automatically extended if necessary to implement the terms of the Trust Agreements or any other
order by authorities to the extent applicable.

               Other Priority Claim means any Claim other than an Administrative Expense
Claim or a Priority Tax Claim that is entitled to priority of payment as specified in section 507(a)
of the Bankruptcy Code.

                Parent Equity Interest means a new single share of common stock of Insys
Therapeutics, Inc., representing one-hundred percent (100%) of the Interests thereof, to be issued
to the Insys Liquidation Trust on the Effective Date.




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                Periodic Distribution Date means periodically as determined by the Liquidating
Trustee in its reasonable discretion but, unless otherwise ordered by the Bankruptcy Court, (i) the
first Periodic Distribution Date shall be no later than the first Business Day that is one-hundred
and eighty (180) days after the Initial Distribution Date, (ii) until the second anniversary of the
Effective Date, every subsequent Periodic Distribution Date shall be no later than the date that is
the first Business Day one-hundred and eighty (180) days after the immediately preceding Periodic
Distribution Date, and (iii) after the second anniversary of the Effective Date, every subsequent
Periodic Distribution Date shall be no later than the first Business Day that is three-hundred and
sixty-five (365) days after the immediately preceding Periodic Distribution Date; provided,
however, that the timing of periodic distribution under this definition is subject to the terms of the
Trust Agreements.

              Person means an individual, corporation, partnership, joint venture, association,
joint stock company, limited liability company, limited liability partnership, trust, estate,
unincorporated organization, Governmental Unit, or other Entity.

               Personal Injury Claim means any Claim for alleged personal injury, wrongful
death, or other similar Claim or Cause of Action against the Debtors, including any such Claim
held by a NAS Child.

                   Petition Date means June 10, 2019.

               Plan means this joint chapter 11 plan of liquidation for the Debtors, including all
appendices, exhibits, schedules, and supplements hereto, as it may be altered, amended, or
modified from time to time in accordance with the Bankruptcy Code, the Bankruptcy Rules, and
the terms hereof.

              Plan Distribution Percentage(s) means, individually or collectively, the applicable
Public Group Formula Amount or Private Group Formula Amount divided by the sum of all Public
Group Formula Amounts and Private Group Formula Amounts.

               Plan Document means any of the documents of the Debtors, other than this Plan,
to be executed, delivered, assumed, or performed in connection with the occurrence of the
Effective Date, including the documents to be included in the Plan Supplement.

                   Plan Injunction means the injunctions issued pursuant to Section 10.4 of this Plan.

               Plan Settlement means the settlement of certain Claims and controversies between
and among the Settling Parties to Section 5.1 of this Plan, and as further described and explained
in the Disclosure Statement.

               Plan Supplement means the supplement or supplements to this Plan containing
certain documents relevant to the implementation of this Plan, which shall include (i) an updated
post-Effective Date structure for the Liquidating Debtors; (ii) the Liquidating Debtors’
Organizational Documents, if any; (iii) the Trust Agreements; (iv) the identity and compensation
of each of the Liquidating Trustee, the ILT Claims Arbiter, the VRT Claims Administrator, and
each member of the Trust Boards, if known; (v) a list of Persons to be excluded from the definition
of “Released Parties” for all purposes in this Plan; (vi) the Schedule of Assumed and Assigned


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Contracts, if necessary; (vii) the Schedule of Retained Causes of Action; (viii) the Claims Analysis
Protocol; (ix) the identity of the class representative for each of the Class Claims; (x) the Class
Claim Procedures, and (xi) Class 8(a) and Class 8(b) Distribution procedures, if any. The Plan
Supplement shall be filed with the Bankruptcy Court by the Plan Supplement Filing Deadline. All
documents to be included in the Plan Supplement shall be in form and substance reasonably
acceptable to the Creditors’ Committee.

                Plan Supplement Filing Deadline means December 30, 2019, the date by which
the Debtors are to file the Plan Supplement in accordance with the Solicitation Procedures Order;
provided, however, that in the event the Confirmation Hearing is adjourned, the Plan Supplement
shall be filed no later than seven (7) days prior to the deadline set to file objections to confirmation
of this Plan.

                   Priority Claim means any Priority Tax Claim or Other Priority Claim.

                Priority Reserve means the amount of Cash and Cash equivalents of the Debtors
necessary to pay, if any: (i) Allowed Administrative Expense Claims, (ii) Allowed Secured
Claims, and (iii) Allowed Priority Claims, to be reserved on the Effective Date. The amount to be
placed in the Priority Reserve shall be determined by the Debtors and the Creditors’ Committee,
acting jointly. The Priority Reserve shall be held by the Insys Liquidation Trust and administered
by the Liquidating Trustee.

                Priority Tax Claim means any Claim of a Governmental Unit of the kind entitled
to priority in payment under sections 502(i) and 507(a)(8) of the Bankruptcy Code.

                 Private Group Formula Amount means (i) for Class 4, the TUC Class Amount;
(ii) for Class 5, $258 million; and (iii) for Class 6, $117 million.

               Private Group Plan Distribution Percentage means, with respect to a particular
Class, the applicable Private Group Formula Amount divided by the sum of the Private Group
Formula Amounts.

               Privilege means any attorney-client privilege, work-product protection, or other
privilege or protection of immunity (i) held by any or all of the Debtors, their Estates, or the
Liquidating Debtors, (ii) held by the board of directors or any special committee of the board of
directors of any of the Debtors or the Liquidating Debtors, and (iii) attaching to any documents,
communications, or thing (whether written or oral) including, but not limited to, all electronic
information relating to any Insurance Rights or Causes of Action.

               Pro Rata means allocated in accordance with the proportion that an Allowed Claim
bears to the aggregate amount of Allowed Claims and Disputed Claims within the same Class as
such Claim (or with respect to Class 8(a) and Class 8(b), the proportion that an Allowed Claim in
either Class bears to the aggregate amount of Allowed Claims and Disputed Claims in Class 8(a)
and Class 8(b), collectively)

                Products means any and all products developed, designed, manufactured,
marketed, or sold, in research or development, or supported by, the Debtors, whether work in
progress or in final form.


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                Products Liability Insurance Company means any Insurance Company that has
issued, or that has any actual, potential, demonstrated, or alleged liabilities, duties, or obligations
under, or with respect to, any Products Liability Insurance Policy solely in such Insurance
Company’s capacity with respect to a Products Liability Insurance Policy.

               Products Liability Insurance Policies means any Insurance Policy that was issued
or allegedly issued that does or may afford any of the Debtors rights, benefits, indemnity, or
insurance coverage with respect to Claims related to the Products of the Debtors.

               Products Liability Insurance Proceeds means any proceeds recovered in respect
of a Products Liability Insurance Policy.

                Products Liability Insurance Rights means any and all rights, titles, privileges,
interests, claims, demands, or entitlements of the Debtors to any proceeds, payments, benefits,
Causes of Action, choses in action, defense or indemnity arising under, or attributable to, any and
all Products Liability Insurance Policies, now existing or hereafter arising, accrued or unaccrued,
liquidated or unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent. For
the avoidance of doubt, “Products Liability Insurance Rights” include Products Liability Insurance
Proceeds.

                Products Liability Insurance Rights Transfer means the transfer of the Products
Liability Insurance Rights to the Victims Restitution Trust pursuant to Section 5.8(c) of this Plan.

                Professional Fee Claim means a Claim for professional services rendered, or costs
incurred, on or after the Petition Date and on or prior to the Effective Date by Professional Persons
that is unpaid as of the Effective Date, less any existing amounts held as a fee advance, retainer,
or as security by a Professional Person that such Professional Person is authorized to use to satisfy
Allowed Professional Fee Claims pursuant to the Interim Compensation Order or an order of the
Bankruptcy Court authorizing the retention of such Professional Person (other than a reasonable
retainer to cover post-Effective Date work).

               Professional Fee Escrow Account means an interest-bearing account funded by
the Debtors in Cash on the Effective Date in an amount necessary to satisfy Allowed Professional
Fee Claims. On or prior to the Effective Date, the Debtors, the Liquidating Debtors, or the
Liquidating Trustee shall establish the Professional Fee Escrow Account and, on the Effective
Date, fund the Professional Fee Escrow Account with (i) the funds held in the escrow account
established pursuant to Paragraph 4 of the Interim Compensation Order, and (ii) any additional
Cash such that the total amount held in the Professional Fee Escrow Account is equal to the sum
of each Professional Person’s good faith estimates of its Professional Fee Claims.

               Professional Person means any Person retained by order of the Bankruptcy Court
in connection with these Chapter 11 Cases pursuant to sections 327, 328, 330, 331, 503(b), or 1103
of the Bankruptcy Code, excluding any ordinary course professional retained pursuant to an order
of the Bankruptcy Court and including, solely for purposes of Section 2.4 of this Plan, the
Creditors’ Committee and the Creditors’ Committee’s members.

                 Public Group Formula Amount means (i) for Class 7, the DOJ Class Amount, and
(ii) for Class 8(a) and Class 8(b), collectively, $597 million.


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               Public Group Plan Distribution Percentage means, with respect to a particular
Class, the applicable Public Group Formula Amount divided by the sum of the Public Group
Formula Amounts (or with respect to Class 8(a) and Class 8(b), the Public Group Formula Amount
attributable to such Classes collectively divided by the sum of the Public Group Formula
Amounts).

             Recovery Funds means, collectively, the ILT Recovery Fund and the VRT
Recovery Fund.

                   Released Claims means any Claims released pursuant to Section 10.5 of this Plan.

                 Released Parties means, collectively, (i) the Debtors, (ii) the Creditors’ Committee
and its members, solely in their capacity as such, and (iii) with respect to each of the foregoing
Persons in clauses (i) and (ii), such Persons’ (a) predecessors, successors, permitted assigns,
subsidiaries, and controlled affiliates, (b) officers and directors, principals, members, employees,
financial advisors, attorneys, accountants, investment bankers, consultants, experts (for the
avoidance of doubt, including but not limited to Nathan Associates, Inc. and its officers, directors,
and employees), and other professionals; provided, however, that no such Person described in the
foregoing clause (b) shall be a Released Party unless such Person was employed or engaged in
such capacity on or after the Petition Date, or, in the case of any professional, was retained pursuant
to sections 327 or 1102 of the Bankruptcy Code in these Chapter 11 Cases, and (c) respective heirs,
executors, estates, and nominees, in each case solely in their capacity as such; provided, however,
that no Person listed on an exhibit of Non-Released Parties (the “Non-Released Party Exhibit”),
to be filed as part of the Plan Supplement (no later than the Plan Supplement Filing Deadline) and
as may be amended at the Confirmation Hearing pursuant to the process described in this
“Released Parties” definition, shall be a Released Party. The Non-Released Party Exhibit shall
include only those parties that the Debtors and the Creditors’ Committee, in the exercise of their
fiduciary duties, and the SMT Group Representatives mutually agree should be placed on such list.
If at the time of filing of the Non-Released Party Exhibit, the Debtors, the Creditors’ Committee,
and the SMT Group Representatives do not agree as to who should be placed on the Non-Released
Party Exhibit, the Plan Supplement shall contain two documents: first, the Non-Released Party
Exhibit, and second, a second list (the “Additional Party List”), which will list any additional
parties that the Creditors’ Committee and/or the SMT Group Representatives believe should be on
the Non-Released Party Exhibit. At the Confirmation Hearing, the Debtors shall be required to
present argument as to why the parties on the “Additional Party List” should be released, and the
Creditors’ Committee and/or the SMT Group Representatives (and any other party that would like)
shall be required to present argument as to why such Party should be on the Non-Released Party
Exhibit. The Bankruptcy Court shall make the decision, at the Confirmation Hearing, with regard
to which, if any, of the parties on the Additional Party List shall be added to the Non-Released
Party Exhibit. Notwithstanding anything to the contrary contained herein, if no Cause of Action
of the kind released under Section 10.5 hereof has been instituted against a Person on the Non-
Released Party Exhibit within one (1) year after the Effective Date, such Person’s name shall be
deemed automatically removed from such Non-Released Party Exhibit and such Person shall be
entitled to the releases set forth in the Plan as if such Person otherwise satisfies the definition of
“Released Parties.”




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                   Releases means the releases provided for in Section 10.5 of this Plan, including its
subsections.

               Remaining Assets means, collectively, all Assets of the Debtors, other than Cash
and Causes of Action, immediately prior to the Effective Date, including the consideration
provided, or to be provided, under the Subsys Asset Purchase Agreement.

               Schedule of Assumed and Assigned Contracts means the schedule of executory
contracts and unexpired leases to either be assumed by the applicable Debtor or assumed by the
applicable Debtor and assigned to the Insys Liquidation Trust. The Schedule of Assumed and
Assigned Contracts shall be filed with the Plan Supplement, and shall be in form and substance
reasonably acceptable to the Creditors’ Committee.

                Schedule of Retained Causes of Action means a schedule to be filed as part of the
Plan Supplement (no later than the Plan Supplement Filing Deadline) and as may be amended at
the Confirmation Hearing, of Causes of Action asserting Claims, including those under section
547 of the Bankruptcy Code, to be retained by the Liquidating Debtors and the Insys Liquidation
Trust, which will be reasonably acceptable to the Debtors and the Creditors’ Committee; provided,
however, that the Debtors, the Liquidating Debtors, or the Liquidation Trust shall not retain
(whether on their own behalf or on behalf of the Estates) any Claims or Causes of Action against
any Released Party that is explicitly released pursuant to Section 10.5(a) of this Plan; provided,
further, that except as provided in Article X of this Plan, all Claims or Causes of Action of the
Debtors existing immediately prior to the Effective Date shall be retained by the Liquidation Trust,
whether or not any particular Claim or Cause of Action is specifically identified on the Schedule
of Retained Causes of Action, without any further action by any party, under Section 10.9 of this
Plan. The Schedule of Retained Causes of Action shall only include those Claims and Causes of
Action that the Debtors and the Creditors’ Committee, in the exercise of their fiduciary duties,
mutually agree should be placed on such list. If at the time of filing of the Schedule of Retained
Causes of Action the Debtors and the Creditors’ Committee do not agree as to which Claims and
Causes of Action should be placed on the Schedule of Retained Causes of Action, the Plan
Supplement shall contain two documents: first, the Schedule of Retained Causes of Action, and
second, a second list (the “Additional Retained Causes of Action List”) that will list any
additional Claims or Causes of Action that the Creditors’ Committee believes should be on the
Schedule of Retained Causes of Action. At the Confirmation Hearing, the Debtors shall be
required to present argument as to why the Claims or Causes of Action on the Additional Retained
Causes of Action List should not be included on the Schedule of Retained Causes of Action, and
the Creditors’ Committee (and any other party that would like) shall be required to present
argument as to why such Claims or Causes of Action should be included on the Schedule of
Retained Causes of Action. The Bankruptcy Court shall make the decision, at the Confirmation
Hearing, with regard to which, if any, of the Claims or Causes of Action on the Additional Retained
Causes of Action List shall be added to the Schedule of Retained Causes of Action.

               Scheduled means, with respect to any Claim, the status, priority, and amount, if
any, of such Claim as set forth in the Schedules.

                  Schedules means the schedules of assets and liabilities, statements of financial
affairs, lists of holders of Claims and Interests and all amendments or supplements thereto filed by



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the Debtors with the Bankruptcy Court to the extent such filing is not waived pursuant to an order
of the Bankruptcy Court.

               Secured Claim means a Claim to the extent (i) secured by a Lien on property of a
Debtor’s Estate, the amount of which is equal to or less than the value of such property (A) as set
forth in this Plan, (B) as agreed to by the holder of such Claim and the Debtors, or (C) as
determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code or (ii)
subject to any setoff right of the holder of such Claim under section 553 of the Bankruptcy Code.
“Secured Claim” does not include any Claim that meets the definition of “Priority Tax Claim.”

                   Securities Act means the Securities Act of 1933, as amended.

                 Settling Parties means, collectively: (i) the Debtors, (ii) the Creditors’ Committee,
(iii) certain states and municipalities, and (iv) certain other creditors of the Debtors as described
in the Disclosure Statement.

                SMT Group Representatives means representatives of holders of: (i) State Claims,
for the avoidance of doubt, such representatives are the State of New York, the State of Maryland,
the State of New Jersey, and the State of Florida; and (ii) Municipality/Tribe Claims under court-
appointed leadership in the MDL, for the avoidance of doubt, such representatives are Co-Lead
Counsel, as appointed by the United States District Court for the Northern District of Ohio in the
MDL, who participated in the Mediation and who will take part in negotiations with the Debtors
and the Creditors’ Committee related to, among other things, governance of the Trusts and
Distributions from the Trusts, in accordance with Sections 5.6 through 5.8 of this Plan.

                Solicitation Procedures Order means the order entered by the Bankruptcy Court
[Docket No 952] on December 4, 2019, (i) approving the Disclosure Statement, (ii) approving
solicitation procedures, distribution of solicitation packages, and establishing a deadline and
procedures for temporary allowance of Claims for voting purposes, (iii) approving the form of
ballots and voting instructions, (iv) establishing the Voting Deadline, (v) approving the form and
manner of notice of the Confirmation Hearing and procedures for objecting this Plan,
(vi) establishing procedures for assumption and assignment of executory contracts and unexpired
leases under this Plan and the forms of notices related thereto, and (vii) granting related relief.

                State Claim means any Claim against the Debtors held by a Governmental Unit
that is a State or Commonwealth of the United States for, among other things, consumer fraud,
deceptive practices, false claims, negligence, the Racketeer Influenced and Corrupt Organizations
Act, public nuisance, and abatement.

               Stock Restrictions Order means the order of the Bankruptcy Court establishing
notification procedures and approving certain restrictions on certain transfers of Interests in the
Debtors and claiming worthless stock deductions [Docket No. 235], as the same may be amended
from time to time.

              Subordinated Claim means any Claim that is subject to subordination under section
510 of the Bankruptcy Code, including any 510(a)/(b) Subordinated Claim and any 510(c)
Subordinated Claim.



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              Subsys Asset Purchase Agreement means the Asset Purchase Agreement dated as
of September 1, 2019 between Insys Therapeutics, Inc. and BTcP Pharma, LLC.

               Surplus Reserved Cash means, collectively, (i) any surplus in funding of the
Priority Reserve above what is estimated to be necessary to satisfy estimated future
(a) Administrative Expense Claims, (b) Secured Claims, and (c) Priority Claims and (ii) any
surplus in funding of either of the Trust Operating Reserves above what is estimated to be
necessary to satisfy Trust Operating Expenses, each in the discretion of the Liquidating Trustee.

               Third Party Payor Claim means any Claim against the Debtors by health insurers,
employer-provided health care plans (including ERISA Health Plan Claims), union health and
welfare funds, and all other private providers of health care benefits, and any third party
administrator or agents on their behalf, arising from the Debtors’ acts or omissions leading to the
improper payment of prescription drug costs for Products of the Debtors, including the Third Party
Payor Class Claim.

              Third Party Payor Claim Procedures means, collectively, the terms and
procedures governing administration of Third Party Payor Claims as set forth herein and to be filed
with the Bankruptcy Court on or before the Plan Supplement Filing Deadline.

               Third Party Payor Class Claim means the Third Party Payor Claim asserted against
the Debtors by a class representative on behalf of the class of certain health insurers, ERISA Health
Plan Claimants, employer-provided health care plans, union health and welfare funds, and other
private providers of health care benefits as more fully set forth in the Third Party Payor Claim
Procedures.

               Trade and Other Unsecured Claim means any Claim held by trade creditors
against the Debtors for, among other things, goods and services provided prepetition,
indemnification, or rejection damages, or any other unsecured Claim against the Debtors not
entitled to priority of payment under section 507(a) of the Bankruptcy Code, other than a
Convenience Class Claim, an Insurance Related Claim, a Hospital Claim, a NAS Monitoring
Claim, an Allowed DOJ Claim, a State Claim, a Municipality/Tribe Claim, a Personal Injury
Claim, or an Intercompany Claim; provided, however, that any Claim that satisfies the definition
of either a 510(a)/(b) Subordinated Claim or a 510(c) Subordinated Claim shall be classified
accordingly.

                   Trust Agreements means, collectively, the ILT Agreement and the VRT
Agreement.

                   Trust Assets means, collectively, the ILT Assets and the VRT Assets and Equity
Interest.

                   Trust Boards means, collectively, the ILT Board and the VRT Board.

                 Trust Formation Transactions means one or more transactions pursuant to section
1123(a)(5)(D) of the Bankruptcy Code, including any transactions that may be necessary or
appropriate to effectuate the actions described in Sections 5.4 through 5.8 of this Plan, which
include (i) the establishment of the Trusts, (ii) the issuance and vesting of the Parent Equity Interest


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in the Insys Liquidation Trust, (iii) the assignment and vesting of the ILT Assets in the Insys
Liquidation Trust, (iv) the assignment and vesting of the VRT Assets in the Victims Restitution
Trust, (v) the creation of the Recovery Funds to make Distributions to holders of Allowed Claims
or as otherwise agreed pursuant to Section 4.8(c)(i), (vi) the creation of the Trust Operating
Reserves to satisfy and pay Trust Operating Expenses, and (vii) the execution of the Trust Transfer
Agreement(s). The Debtors, the Liquidating Debtors, and the Liquidating Trustee may take all
actions consistent with this Plan and the Trust Agreements as may be necessary or appropriate to
effect the Trust Formation Transactions.

              Trust Interest means a beneficial interest in the Insys Liquidation Trust or in the
Victims Restitution Trust.

             Trust Operating Expenses means, collectively, the ILT Operating Expenses and
the VRT Operating Expenses.

            Trust Operating Reserves means, collectively, the ILT Operating Reserve and the
VRT Operating Reserve. The Trust Operating Reserves shall be administered by the Liquidating
Trustee.

            Trust Termination Dates means, collectively, the ILT Termination Date and the
VRT Termination Date.

               Trust Transfer Agreement(s) means one or more agreements transferring Assets,
documents, information, and Privileges from the Debtors and the Liquidating Debtors to be entered
into between the Liquidating Trustee, on behalf of the Trusts, and the Debtors, on behalf of
themselves and the Liquidating Debtors, the terms of which shall be consistent with this Plan and
otherwise reasonably acceptable to the Debtors and the Creditors’ Committee.

                   Trusts means, collectively, the Insys Liquidation Trust and the Victims Restitution
Trust.

                TUC Class Amount means (i) until the TUC Class Amount Final Determination,
$50 million, and (ii) after the TUC Class Amount Final Determination, the total Allowed Claims
in Class 4 or the amount set forth in the TUC Class Amount Final Order, which amount shall not
exceed $50 million.

               TUC Class Amount Final Determination means the earlier of (i) the date on which
all Claims in Class 4 have been Allowed or Disallowed under the Plan, and (ii) the date on which
the Liquidating Trustee receives a TUC Class Amount Final Order.

                TUC Class Amount Final Order means a Final Order from the Bankruptcy
establishing or estimating the TUC Class Amount.

                   U.S. Trustee means the United States Trustee for Region 3.

                 Unimpaired means, with respect to a Claim, Interest, or Class of Claims or
Interests, not “impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.




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                Victims Restitution Trust means the trust established to, among other things,
(i) hold and make disbursements from the VRT Recovery Fund and the VRT Operating Reserve,
(ii) recover the Products Liability Insurance Proceeds, and (iii) administer the Personal Injury
Claims and making Distributions therefor. The Victims Restitution Trust and the VRT Claims
Administrator may retain professionals to assist in carrying out the duties of the Victims
Restitution Trust, and such professionals may be compensated on a contingency basis.

               Voting Deadline means the last day for holders of Claims and Interests entitled to
vote on the Plan to cast their votes to accept or reject the Plan as may be set by the Bankruptcy
Court.

               Voting Representative means a representative designated on any Class Claim
authorized to exercise the voting power of certain holders of Claims.

                VRT Agreement means the trust agreement establishing and delineating the terms
and conditions for the creation and operation of the Victims Restitution Trust, as it may be
amended from time to time. The VRT Agreement shall be filed with the Plan Supplement and
shall be in form and substance reasonably acceptable to the Creditors’ Committee.

              VRT Assets means, collectively, (i) the VRT Operating Reserve and (ii) the
Products Liability Insurance Rights.

               VRT Board means the governing body of the Victims Restitution Trust to be
appointed in accordance with Section 5.8(l) of this Plan.

               VRT Claims Administrator means the individual to be appointed pursuant to the
Plan and the VRT Agreement to administer, dispute, object to, compromise, or otherwise resolve
Personal Injury Claims subject to the terms of this Plan. The identity of the VRT Claims
Administrator shall be disclosed as part of the Plan Supplement, if the VRT Claims Administrator
has been selected by the time the Plan Supplement is filed.

               VRT Operating Expenses means any and all costs, expenses, fees, taxes,
disbursements, debts, or obligations incurred from the operation and administration of the Victims
Restitution Trust including, in connection with the reconciliation and administration of Personal
Injury Claims, working capital, recovery of Products Liability Insurance Proceeds, and costs and
fees of the VRT Claims Administrator, the VRT Board, and any other professionals retained by
the Victims Restitution Trust. The VRT Operating Expenses are to be satisfied and paid from the
VRT Operating Reserve.

               VRT Operating Reserve means Cash in an amount estimated to be necessary to
fund the VRT Operating Expenses, which shall be held in a separate account established by the
Liquidating Trustee. The VRT Operating Reserve is to be reserved in a segregated account on the
Effective Date from the Debtors’ Cash and Cash equivalents in the amount of $1 million.

               VRT Recovery Fund means the fund established pursuant to this Plan to make
Distributions to holders of Allowed Personal Injury Claims and to the ILT Recovery Fund for the
benefit of Allowed State Claims and Allowed Municipality/Tribe Claims, subject to the terms of



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this Plan. The VRT Recovery Fund shall be held by the Victims Restitution Trust and administered
by the Liquidating Trustee.

               VRT Termination Date means the date on which the Victims Restitution Trust is
terminated, as determined pursuant to the terms of the VRT Agreement, upon the satisfaction of
the purposes for which the Victims Restitution Trust was established.

                   1.2     Interpretation; Application of Definitions; Rules of Construction.

                        Unless otherwise specified, all section or exhibit references in this Plan are
to the respective section in, or exhibit to, this Plan, as the same may be amended, waived, or
modified from time to time in accordance with the terms hereof. The words “herein,” “hereof,” or
“hereunder,” and other words of similar import refer to this Plan as a whole and not to any
particular section, subsection, or clause contained therein and have the same meaning as “in this
Plan,” “of this Plan,” and “under this Plan,” respectively. The words “includes” and “including”
are not limiting. The headings in this Plan are for convenience of reference only and shall not limit
or otherwise affect the provisions hereof. For purposes herein: (i) in the appropriate context, each
term, whether stated in the singular or plural, shall include both the singular and plural, and
pronouns stated in the masculine, feminine, or neuter gender shall include the masculine, feminine,
and the neuter gender; (ii) any reference herein to a contract, lease, instrument, release, indenture,
or other agreement or document being in a particular form or on particular terms and conditions
means that the reference document shall be substantially in that form or substantially on those
terms and conditions; (iii) the rules of construction set forth in section 102 of the Bankruptcy Code
shall apply; and (iv) any term used in capitalized form herein that is not otherwise defined but that
is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that
term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

                   1.3     Reference to Monetary Figures.

                       All references in this Plan to monetary figures shall refer to the legal tender
of the United States of America unless otherwise expressly provided.

                   1.4     Controlling Document.

                        In the event of an inconsistency between Articles I through XII of this Plan
and the Plan Supplement or any other exhibit to this Plan, including any agreement under Section
4.8(c)(i), the terms of the relevant document in the Plan Supplement or such exhibit shall control
unless otherwise specified in such Plan Supplement document or exhibit. In the event of an
inconsistency between this Plan and any other instrument or document created or executed
pursuant to this Plan other than any agreement under Section 4.8(c)(i), or between this Plan and
the Disclosure Statement, this Plan shall control. The provisions of this Plan and of the
Confirmation Order shall be construed in a manner consistent with each other so as to effectuate
the purposes of each; provided, however, that if there is determined to be any inconsistency
between any provision of this Plan and any provision of the Confirmation Order that cannot be
reconciled, then, solely to the extent of such inconsistency, the provisions of the Confirmation
Order shall govern, and any such provisions of the Confirmation Order shall be deemed a
modification of this Plan.



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ARTICLE II         ADMINISTRATIVE EXPENSE CLAIMS, PROFESSIONAL FEE
                   CLAIMS, AND PRIORITY TAX CLAIMS.

                   2.1     Administrative Expense Claims Bar Date.

                       Except as provided for herein or in any order of the Bankruptcy Court, and
subject to section 503(b)(1)(D) of the Bankruptcy Code, holders of Administrative Expense Claims
(other than Professional Fee Claims) must file and serve on the Debtors requests for the payment
of such Administrative Expense Claims not already Allowed by a Final Order in accordance with
the procedures specified in the Confirmation Order, on or before the Administrative Expense
Claims Bar Date or be forever barred, estopped, and enjoined from asserting such Claims against
the Debtors or their assets or properties, and such Claims shall be deemed discharged as of the
Effective Date.

                   2.2     Allowance of Administrative Expense Claims.

                       An Administrative Expense Claim, with respect to which a request for
payment has been properly and timely filed pursuant to Section 2.1 of this Plan, shall become an
Allowed Administrative Expense Claim if no objection to such request is filed by the Liquidating
Trustee with the Bankruptcy Court on or before one-hundred and twenty (120) days after the
Effective Date, or on such later date as may be fixed by the Bankruptcy Court. If an objection is
timely filed, the Administrative Expense Claim shall become an Allowed Administrative Expense
Claim only to the extent allowed by Final Order or such Claim is settled, compromised, or
otherwise resolved by the Liquidating Trustee pursuant to Section 7.5 of this Plan.

                   2.3     Payment of Allowed Administrative Expense Claims.

                      Except to the extent that a holder of an Allowed Administrative Expense
Claim (other than a Professional Fee Claim) agrees to a different treatment, the holder of such
Allowed Administrative Expense Claim shall receive, on account of such Allowed Claim, Cash in
an amount equal to the Allowed amount of such Claim from the Priority Reserve within thirty (30)
days following the later to occur of (i) the Effective Date and (ii) the date on which such
Administrative Expense Claim shall become an Allowed Claim.

                   2.4     Treatment of Professional Fee Claims.

                          All Professional Persons seeking awards by the Bankruptcy Court for
compensation for services rendered or reimbursement of expenses incurred through and including
the Effective Date under sections 327, 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), 503(b)(5),
or 1103 of the Bankruptcy Code shall (i) file, on or before the date that is forty-five (45) days after
the Effective Date, or as soon as reasonably practicable thereafter, their respective applications for
final allowances of compensation for services rendered and reimbursement of expenses incurred
and (ii) be paid in full, in Cash, (a) first, from any existing amounts held by a Professional Personal
as a fee advance, retainer, or security that such Professional Person is authorized to use to satisfy
Allowed Professional Fee Claims pursuant to the Interim Compensation Order or the order of the
Bankruptcy Court authorizing the retention of such Professional Person (other than a reasonable
retainer to cover post-Effective Date work), and (b) second, from the Professional Fee Escrow
Account, in such aggregate amounts as are Allowed by the Bankruptcy Court or authorized to be


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paid in accordance with the order(s) relating to or allowing any such Professional Fee Claim. On
or prior to the Effective Date, the Debtors, the Liquidating Debtors, or the Liquidating Trustee
shall establish the Professional Fee Escrow Account and, on the Effective Date, fund the
Professional Fee Escrow Account with (i) the funds held in the escrow account established
pursuant to Paragraph 4 of the Interim Compensation Order, and (ii) any additional Cash such that
the total amount held in the Professional Fee Escrow Account is equal to the sum of each
Professional Person’s good faith estimates of its Professional Fee Claims. The procedures for
filing objections to Professional Persons’ applications for final allowance of compensation for
services rendered and expenses incurred shall be set forth in the Confirmation Order.

                        On the date the Insys Liquidation Trust is established or as soon as
reasonably practicable thereafter, the Debtors will cause title to the Professional Fee Escrow
Account to be transferred to the Insys Liquidation Trust. Funds held in the Professional Fee
Escrow Account shall not be considered property of the Debtors’ Estates, the Liquidating Debtors,
or any of the Trusts, and shall only be used for payment of Allowed Professional Fee Claims;
provided, however, that after all Professional Fee Claims Allowed by the Bankruptcy Court have
been irrevocably paid in full and no Professional Person is asserting or entitled to assert additional
Professional Fee Claims, then any amounts remaining in the Professional Fee Escrow Account
shall revert to the ILT Recovery Fund and constitute Estate Distributable Value. The Professional
Fee Escrow Account shall be held in trust for Professional Persons retained by the Debtors and the
Creditors’ Committee and for no other parties until all Professional Fee Claims Allowed by the
Bankruptcy Court have been paid in full and no Professional Person is asserting or entitled to assert
additional Professional Fee Claims. Fees owing to a Professional Persons shall be paid in Cash to
such Professional Persons from funds held in the Professional Fee Escrow Account when such
Claims are Allowed by an order of the Bankruptcy Court, or authorized to be paid under the Interim
Compensation Order or other order authorizing the retention of a Professional Person; provided,
however, that the Debtors’ and the Liquidating Debtors’ obligations with respect to Professional
Fee Claims, which shall be assumed by the Insys Liquidation Trust on or as soon as reasonably
practicable after the date upon which the Insys Liquidation Trust is established, shall not be limited
by, nor deemed limited to, the balance of funds held in the Professional Fee Escrow Account. To
the extent that funds held in the Professional Fee Escrow Account are insufficient to satisfy the
amount of accrued Allowed Professional Fee Claims owing to any Professional Person, such
Professional Person shall have an Allowed Administrative Expense Claim for any such deficiency,
which shall be satisfied in accordance with Section 2.3 of this Plan (but for the avoidance of doubt
shall not be subject to any Administrative Expense Claims Bar Date). No Claims, Interests, Liens,
other encumbrances, or liabilities of any kind shall encumber the Professional Fee Escrow Account
in any way. Notwithstanding the foregoing, Professional Persons performing services on behalf
of the Debtors or the Creditors’ Committees following the Effective Date in connection with the
preparation of, or objection to, fee applications (or, in the case of the Creditors’ Committee, with
respect to any services listed in Section 12.14 of this Plan), are entitled to payment of reasonable
fees and reimbursement of reasonable expenses related to such work. Solely with respect to the
immediately foregoing sentence, any such Professional Person may seek compensation for such
fees and expenses by submitting invoices to the Liquidating Trustee for payment out of Available
Cash, and any undisputed invoices shall be paid in the ordinary course of business and without
further order of the Bankruptcy Court.




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                      2.5       Treatment of Priority Tax Claims.

                        Except to the extent that a holder of an Allowed Priority Tax Claim agrees
 to a different treatment, on the Effective Date or as soon as reasonably practicable thereafter, the
 holder of such Allowed Priority Tax Claim shall receive, on account of such Allowed Priority Tax
 Claim, either Cash in an amount equal to the Allowed amount of such Claim from the Priority
 Reserve or such other treatment as may satisfy section 1129(a)(9) of the Bankruptcy Code.

 ARTICLE III          CLASSIFICATION OF CLAIMS AND INTERESTS.

                      3.1       Classification in General.

                          A Claim or Interest is placed in a particular Class for all purposes, including
 voting, confirmation, and Distributions under this Plan and under sections 1122 and 1123(a)(1) of
 the Bankruptcy Code. A Claim or Interest is classified in a particular Class for the purpose of
 receiving Distributions pursuant to this Plan only to the extent such Claim or Interest qualifies
 within the description of that Class and is classified in other Classes to the extent any portion of
 the Claim or Interest qualifies within the description of such other Classes. A Claim or Interest is
 also classified in a particular Class for the purpose of receiving Distributions hereunder only to the
 extent such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and such Claim
 or Interest has not been satisfied, released, or otherwise settled prior to the Effective Date. In no
 event shall any holder of an Allowed Claim be entitled to receive payments under this Plan that,
 in the aggregate, exceed the Allowed amount of such holder’s Claim.

                      3.2       Summary of Classification of Claims and Interests.

                           The following table designates the Classes of Claims against and Interests
 in the Debtors and specifies which Classes are (i) Impaired and Unimpaired under this Plan,
 (ii) entitled to vote to accept or reject this Plan in accordance with section 1126 of the Bankruptcy
 Code, and (iii) deemed to accept or reject this Plan:

  Class              Type of Claim or Interest               Impairment           Entitled to Vote
 Class 1       Secured Claims                                Unimpaired   No (Presumed to Accept)
 Class 2       Other Priority Claims                         Unimpaired   No (Presumed to Accept)
 Class 3       Convenience Class Claims                       Impaired    Yes
 Class 4       Trade and Other Unsecured Claims               Impaired    Yes
 Class 5       Insurance Related Claims                       Impaired    Yes
               Hospital Claims and NAS Monitoring
 Class 6                                                      Impaired    Yes
               Claims
 Class 7       DOJ Claims                                     Impaired    Yes
Class 8(a)     State Claims                                   Impaired    Yes
Class 8(b)     Municipality/Tribe Claims                      Impaired    Yes
 Class 9       Personal Injury Claims                         Impaired    Yes



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Class 10       510(a)/(b) Subordinated Claims                 Impaired      No (Deemed to Reject)
Class 11       510(c) Subordinated Claims                     Impaired      No (Deemed to Reject)
Class 12       Intercompany Claims                            Impaired      No (Deemed to Reject)
Class 13       Equity Interests                               Impaired      No (Deemed to Reject)

                       3.3        Voting Classes; Presumed Acceptance by Non-Voting Classes.

                        With respect to each Debtor, if a Class contained Claims eligible to vote
 and no holder of Claims eligible to vote in such Class votes to accept or reject this Plan by the
 Voting Deadline, this Plan shall be presumed accepted by the holders of such Claims in such Class.

                       3.4        Voting; Presumptions; Solicitation.

                             (a) Acceptance by Certain Impaired Classes. Only holders of
 Claims in Class 3, Class 4, Class 5, Class 6, Class 7, Class 8(a), Class 8(b), and Class 9 are entitled
 to vote to accept or reject this Plan. An Impaired Class of Claims shall have accepted this Plan if
 (i) the holders, or Voting Representatives thereof, of at least two-thirds (2/3) in amount of Claims
 actually voting in such Class have voted to accept this Plan and (ii) the holders, or Voting
 Representatives thereof, of more than one-half (1/2) in number of the Claims actually voting in
 such Class have voted to accept this Plan. Holders of Claims in Class 3, Class 4, Class 5, Class 6,
 Class 7, Class 8(a), Class 8(b), and Class 9 (or, if applicable, the Voting Representatives of such
 holders) shall receive ballots containing detailed voting instructions.

                           (b) Deemed Acceptance by Unimpaired Classes. Holders of Claims
 in Class 1 and Class 2 are conclusively presumed to have accepted this Plan pursuant to section
 1126(f) of the Bankruptcy Code. Accordingly, such holders are not entitled to vote to accept or
 reject this Plan.

                             (c) Deemed Rejection by Certain Impaired Classes. Holders of
 Claims and Interests in Class 10, Class 11, Class 12, and Class 13 are deemed to have rejected this
 Plan pursuant to section 1126(g) of the Bankruptcy Code. Accordingly, such holders are not
 entitled to vote to accept or reject this Plan.

                             (d) Individual Creditor Voting Rights. Notwithstanding anything
 to the contrary in this Plan, the voting rights of holders of Claims in any Class shall be governed
 in all respects by the Solicitation Procedures Order.

                       3.5        Cramdown.

                        If any Class of Claims is deemed to reject this Plan or is entitled to vote on
 this Plan and does not vote to accept this Plan, the Debtors may (i) seek confirmation of this Plan
 under section 1129(b) of the Bankruptcy Code or (ii) amend or modify this Plan in accordance
 with the terms hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims
 or Interests, or any Class of Claims or Interests, are Impaired, the Bankruptcy Court shall, after
 notice and a hearing, determine such controversy on or before the Confirmation Date.




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                   3.6     No Waiver.

                       Nothing contained in this Plan shall be construed to waive a Debtor’s or
other Person’s right to object on any basis to any Claim.

ARTICLE IV         TREATMENT OF CLAIMS AND INTERESTS.

                   4.1     Secured Claims (Class 1).

                            (a) Treatment: The legal, equitable, and contractual rights of the
holders of Secured Claims are unaltered by this Plan. Except to the extent that a holder of an
Allowed Secured Claim agrees to different treatment, on the Effective Date or as soon as
reasonably practicable thereafter, each holder of an Allowed Secured Claim shall receive, on
account of such Allowed Claim, (i) payment in full in Cash in accordance with section 506(a) of
the Bankruptcy Code, (ii) reinstatement pursuant to section 1124 of the Bankruptcy Code, or
(iii) such other treatment as may be necessary to render such Claim Unimpaired.

                           (b) Impairment and Voting: Secured Claims are Unimpaired.
Holders of Secured Claims are conclusively presumed to accept this Plan pursuant to section
1126(f) of the Bankruptcy Code. Therefore, holders of Secured Claims are not entitled to vote to
accept or reject the Plan, and the votes of such holders will not be solicited with respect to such
Secured Claims.

                   4.2     Other Priority Claims (Class 2).

                            (a) Treatment: The legal, equitable, and contractual rights of holders
of Other Priority Claims are unaltered by this Plan. Except to the extent that a holder of an Allowed
Other Priority Claim agrees to different treatment, on the Effective Date or as soon as reasonably
practicable thereafter, each holder of an Allowed Other Priority Claim shall receive, on account of
such Allowed Claim, (i) payment in full in Cash or (ii) such other treatment consistent with the
provisions of section 1129(a)(9) of the Bankruptcy Code.

                            (b) Impairment and Voting: Other Priority Claims are Unimpaired.
Holders of Other Priority Claims are conclusively presumed to accept this Plan pursuant to section
1126(f) of the Bankruptcy Code. Therefore, holders of Other Priority Claims are not entitled to
vote to accept or reject the Plan, and the votes of such holders will not be solicited with respect to
such Other Priority Claims.

                   4.3     Convenience Class Claims (Class 3).

                           (a) Treatment: Except to the extent that a holder of an Allowed
Convenience Class Claim agrees to different treatment, in full and final satisfaction, settlement,
release, and discharge of an Allowed Convenience Class Claim, each holder an Allowed
Convenience Class Claim shall receive Available Cash equal to ten percent (10%) of such holder’s
Allowed Convenience Class Claim on or as soon as reasonably practicable after the later of (i) the
Effective Date and (ii) the date upon which such Convenience Class Claim becomes an Allowed
Convenience Class Claim.



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                        (b) Impairment and Voting: Convenience Class Claims are Impaired.
Holders of Convenience Class Claims are entitled to vote to accept or reject the Plan.

                   4.4    Trade and Other Unsecured Claims (Class 4).

                           (a) Treatment: Except to the extent that a holder of an Allowed Trade
and Other Unsecured Claim agrees to different treatment, in full and final satisfaction, settlement,
release, and discharge of an Allowed Trade and Other Unsecured Claim, each such holder shall
receive, from the Insys Liquidation Trust, its Pro Rata share of Estate Distributable Value
attributable to Class 4, which amount is calculated by multiplying the Category 1 Distributions by
the Private Group Plan Distribution Percentage for Class 4; provided, however, that no holder of
an Allowed Trade and Other Unsecured Claim shall receive a Distribution prior to the TUC Class
Amount Final Determination and any Distributions allocated on behalf of such a Claim shall be
held in a disputed claims reserve until the TUC Class Amount Final Determination.

                        (b) Impairment and Voting: Trade and Other Unsecured Claims are
Impaired. Holders of Trade and Other Unsecured Claims are entitled to vote to accept or reject
the Plan.

                   4.5    Insurance Related Claims (Class 5).

                            (a) Treatment: In accordance with the Plan Settlement as provided in
Section 5.1 of this Plan, and as further described and explained in the Disclosure Statement, except
to the extent that a holder of an Allowed Insurance Related Claim agrees to different treatment, in
full and final satisfaction, settlement, release, and discharge of an Allowed Insurance Related
Claim, following the determination of the allocation between ERISA Group Claims (which may
be determined to include all ERISA Health Plan Claims), all other Third Party Payor Claims, and
Insurance Ratepayer Claims by the ILT Claims Arbiter, the Insys Liquidation Trust shall distribute
to the holder of each Allowed Insurance Related Claim such holder’s share of Estate Distributable
Value attributable to Class 5, which amount is calculated by multiplying the Category 1
Distributions by the Private Group Plan Distribution Percentage for Class 5, and in accordance
with the Third Party Payor Claim Procedures and the Insurance Ratepayer Procedures, as
applicable.

                         (b) Impairment and Voting: Insurance Related Claims are Impaired.
Holders of Insurance Related Claims are entitled to vote to accept or reject the Plan.

                        (c) Disallowance: All Insurance Ratepayer Claims other than the
Insurance Ratepayer Class Claims are Disallowed and expunged as duplicative of the Insurance
Ratepayer Class Claims.

                   4.6    Hospital Claims and NAS Monitoring Claims (Class 6).

                             (a) Treatment: In accordance with the Plan Settlement as provided in
Section 5.1 of this Plan, and as further described and explained in the Disclosure Statement, except
to the extent that a holder of an Allowed Hospital Claim or Allowed NAS Monitoring Claim agrees
to different treatment, in full and final satisfaction, settlement, release, and discharge of such
Allowed Hospital Claim and Allowed NAS Monitoring Claim, following the determination of the


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allocation between Hospital Claims and NAS Monitoring Claims by the ILT Claims Arbiter, the
Insys Liquidation Trust shall distribute to the holder of each Allowed Hospital Claim and each
Allowed NAS Monitoring Claim such holder’s share of Estate Distributable Value attributable to
Class 6, which amount is calculated by multiplying the Category 1 Distributions by the Private
Group Plan Distribution Percentage for Class 6, and in accordance with the Hospital Class
Procedures and the NAS Monitoring Class Procedures, as applicable.

                            (b) Impairment and Voting: Hospital Claims and NAS Monitoring
Claims are Impaired. Holders of Hospital Clams and NAS Monitoring Claims are entitled to vote
to accept or reject the Plan.

                         (c) Disallowance. All Hospital Claims and NAS Monitoring Claims,
other than the Hospital Class Claim and the NAS Monitoring Class Claim, are Disallowed and
expunged as duplicative of either the Hospital Class Claim or the NAS Monitoring Class Claim.

                   4.7     DOJ Claims (Class 7).

                           (a) Allowance: The DOJ Claims are Allowed and will be included
solely in Class 7 in the amounts of the Allowed DOJ Civil Claim, the Allowed DOJ Forfeiture
Claim, and, for any Allowed DOJ Restitution Claim that was part of a proof of claim filed by the
Governmental Unit and Native American Tribes Bar Date, an amount equal to the amount included
in a Final Order awarding restitution entered by United States District Court for the District of
Massachusetts in United States v. Insys Pharma, Inc., Case No. 19-cr-10191 (RWZ); provided,
however, that only any Allowed DOJ Residual Restitution Claim, in an amount not to exceed $10
million, will be included in the DOJ Class Amount for distribution purposes. For the avoidance
of doubt, the DOJ Class Amount will not exceed $283 million for distribution purposes.

                           (b) Treatment: Except to the extent that the DOJ agrees to different
treatment, in full and final satisfaction, settlement, release, and discharge of the Allowed DOJ
Claims, the DOJ shall receive from the Insys Liquidation Trust all Estate Distributable Value
attributable to Class 7, which amount is calculated by multiplying the Category 2 Distributions by
the Public Group Plan Distribution Percentage; provided, however, that pursuant to the DOJ
Settlement Order, the DOJ will receive no Distributions on account of the Allowed DOJ Civil
Claim until the GUC Recovery Reallocation Threshold has been met; provided further that
Distributions in respect of the Allowed DOJ Restitution Claim will only be made on account of
the Allowed DOJ Residual Restitution Claim. Distributions on account of Allowed DOJ Claims
will be made as restitution, other than Distributions made on account of the Allowed DOJ
Forfeiture Claim.

                            (c) Impairment and Voting: DOJ Claims are Impaired. The DOJ is
entitled to vote to accept or reject the Plan.

                   4.8     State Claims (Class 8(a)) and Municipality/Tribe Claims (Class 8(b)).

                             (a) Treatment: Except to the extent that a holder of a State Claim or
a Municipality/Tribe Claim agrees to different treatment or has been paid for such Claim prior to
the Effective Date, in full and final satisfaction, settlement, release, and discharge of Allowed State
Claims and Allowed Municipality/Tribe Claims, or, pursuant to an agreement reached under


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Section 4.8(c)(i), any Municipality/Tribe Claims, each such holder shall receive, as restitution,
from the Insys Liquidation Trust and the Victims Restitution Trust, as applicable, (i) its Pro Rata
share (based upon subsection (c) below) of (x) Estate Distributable Value attributable to Class 8(a)
and Class 8(b) collectively, which amount is calculated by multiplying the Category 2
Distributions by the Public Group Plan Distribution Percentage for Class 8(a) and Class 8(b)
collectively, (y) until Allowed Claims in Class 9 are paid in full, a ten percent (10%) interest in
any Products Liability Insurance Proceeds, and (z) thereafter, a one-hundred percent (100%)
interest in any remaining Products Liability Insurance Proceeds; provided, however, that no
Distributions shall be made to holders of Allowed State Claims or Allowed Municipality/Tribe
Claims until the Pro Rata share is determined in accordance with subsection (c) below; and (ii)
payment of an Administrative Expense Claim for professional fees for counsel to holders of State
Claims and Municipality/Tribe Claims in the amount of $800,000.

                           (b) Impairment and Voting: State Claims and Municipality/Tribe
Claims are Impaired. Holders of State Claims in Class 8(a) and holders Municipality/Tribe Claims
in Class 8(b) are each entitled to vote to accept or reject the Plan as separate voting Classes
pursuant to the Solicitation Procedures Order.

                            (c) Distributions: Distributions made in respect of Claims in both
Class 8(a) and Class 8(b) shall be determined by either (i) Class 8(a) and Class 8(b) distribution
procedures filed with the Plan Supplement or otherwise within twelve (12) months of the Effective
Date based on an agreement among SMT Group Representatives and approved by the Bankruptcy
Court, or (ii) such later date as extended by agreement of the SMT Group Representatives or the
members of the ILT Board selected by the SMT Group Representatives, prior to the expiration of
the twelve (12) month period in Section 4.8(c)(i), and the expenses of the processes described in
the foregoing clauses (i) and (ii) shall be deducted from Estate Distributable Value attributable to
Class 8(a) and Class 8(b) collectively, to the extent such expenses exceed the $175,000 allocated
to the SMT Group Representatives as ILT Operating Expenses in this Plan. Notwithstanding
anything to the contrary in the Plan or the Bar Date Order or any other order or stipulation
(including the stipulation at Docket No. 948 extending the time within which States must file
proofs of claim to January 31, 2020), the States are relieved of any obligation or duty to file a proof
of claim in the Chapter 11 Cases to, and the filing of a proof of claim shall not be prerequisite to,
participate in or receive Distributions as holders of Class 8(a) claims. Additionally, if an
agreement is reached in accordance with Section 4.8(c)(i), as may be extended, which includes the
allocation of funds to holders of Municipality/Tribe Claims that have not filed proofs of claim
prior to the applicable bar date under the Bar Date Order, then the filing of a proof of claim shall
not be a prerequisite to participate in or receive Distributions as holders of Class 8(b) Claims.

                   4.9     Personal Injury Claims (Class 9).

                             (a) Treatment: In accordance with the Plan Settlement as provided in
Section 5.1 of this Plan, and as further described and explained in the Disclosure Statement, except
to the extent that a holder of an Allowed Personal Injury Claim agrees to different treatment, in
full and final satisfaction, settlement, release, and discharge of an Allowed Personal Injury Claim,
each such holder shall receive, from the Victims Restitution Trust, its Pro Rata share of ninety
percent (90%) of any Products Liability Insurance Proceeds.




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                       No holder of an Allowed Personal Injury Claim will receive Distributions
of Products Liability Insurance Proceeds in excess of each such holder’s Allowed Personal Injury
Claim.

                          (b) Impairment and Voting: Personal Injury Claims are Impaired.
Holders of Personal Injury Claims are entitled to vote to accept or reject the Plan.

                   4.10    510(a)/(b) Subordinated Claims (Class 10).

                          (a) Treatment: 510(a)/(b) Subordinated Claims are subordinated
pursuant to this Plan and sections 510(a) and 510(b) of the Bankruptcy Code. 510(a)/(b)
Subordinated Claims shall be deemed expunged, released, and extinguished without further action
by or order of the Bankruptcy Court, and shall be of no further force or effect.

                            (b) Impairment and Voting: 510(a)/(b) Subordinated Claims are
Impaired. Holders of 510(a)/(b) Subordinated Claims are deemed to have rejected this Plan
pursuant to section 1126(g) of the Bankruptcy Code. Therefore, holders of 510(a)/(b)
Subordinated Claims are not entitled to vote to accept or reject the Plan, and the votes of such
holders will not be solicited with respect to such Subordinated Claims.

                   4.11    510(c) Subordinated Claims (Class 11).

                          (a) Treatment:       510(c) Subordinated Claims are subordinated
pursuant to this Plan and section 510(c) of the Bankruptcy Code. 510(c) Subordinated Claims
shall be deemed expunged, released, and extinguished without further action by or order of the
Bankruptcy Court, and shall be of no further force or effect.

                            (b) Impairment and Voting: 510(c) Subordinated Claims are
Impaired. Holders of Subordinated Claims are conclusively deemed to have rejected this Plan
pursuant to section 1126(g) of the Bankruptcy Code. Therefore, holders of 510(c) Subordinated
Claims are not entitled to vote to accept or reject the Plan, and the votes of such holders will not
be solicited with respect to such Subordinated Claims.

                   4.12    Intercompany Claims (Class 12).

                           (a) Treatment: Holders of Intercompany Claims shall not receive or
retain any property under this Plan on account of such Claims. Intercompany Claims shall be
deemed expunged, released, and extinguished without further action by or order of the Bankruptcy
Court, and shall be of no further force or effect.

                            (b) Impairment and Voting: Intercompany Claims are Impaired.
Holders of Intercompany Claims are deemed to reject this Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, holders of Intercompany Claims are not entitled to vote to accept or
reject the Plan, and the votes of such holders will not be solicited with respect to such Intercompany
Claims.




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                   4.13    Equity Interests (Class 13).

                           (a) Treatment: Holders of Equity Interests shall not receive or retain
any property under this Plan on account of such Interests. As of the Effective Date, Equity Interests
shall be deemed surrendered, cancelled, and/or redeemed without further action by or order of the
Bankruptcy Court, and shall be of no further force or effect. On or promptly after the Effective
Date, the Liquidating Debtors and/or the Liquidating Trustee shall cause Insys Therapeutics, Inc.
to issue the Parent Equity Interest to the Insys Liquidation Trust solely for purposes of facilitating
the orderly administration of the winding up and dissolution of the Debtors.

                          (b) Impairment and Voting: Equity Interests are Impaired. Holders
of Equity Interests are deemed to reject this Plan pursuant to section 1126(g) of the Bankruptcy
Code. Therefore, holders of Equity Interests are not entitled to vote to accept or reject the Plan,
and the votes of such holders will not be solicited with respect to such Equity Interests.

                   4.14    Debtors’ Rights with Respect to Unimpaired Claims.

                      Except as otherwise provided in this Plan, nothing under the Plan shall
affect the rights of the Liquidating Debtors or the Liquidating Trustee with respect to an
Unimpaired Claim, including all rights with respect to legal and equitable defenses to, or setoffs
or recoupments against, any such Unimpaired Claims.

ARTICLE V          MEANS FOR IMPLEMENTATION.

                   5.1     Plan Settlement.

                            (a) As further described in the Disclosure Statement, the provisions
of this Plan (including the release and injunctive provisions contained in Article X of this Plan)
and the other documents entered into in connection with this Plan and the Trust Formation
Transactions constitute a good faith compromise and settlement among the Settling Parties of
Claims and controversies among such parties. The Plan and the Distributions contemplated herein
are based on various agreed upon “settlement claim amounts,” which represent the aggregate
Claim amounts for certain classes of Claims that the Debtors, the Creditors’ Committee, the SMT
Group Representatives, and certain other creditors believe are fair and appropriate, but only when
combined with the distribution scheme and all other provisions contained in the Plan. The various
parties have not agreed upon the fair and appropriate “Allowed” amount of any Claim, other than
in connection with the distribution scheme and all other aspects of the Plan. The Plan, including
the explanation set forth in the Disclosure Statement, shall be deemed a motion to approve the Plan
Settlement and the good faith compromise and settlement of all of the Claims and controversies
described in the foregoing sentence pursuant to Bankruptcy Rule 9019, and entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the Plan Settlement under
section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the
Bankruptcy Court that the Plan Settlement is fair, equitable, reasonable, and in the best interests
of the Debtors and their Estates.

                          (b) This Plan, the Plan Settlement, the Plan Documents, and the
Confirmation Order constitute a good faith compromise and settlement of Claims and
controversies based upon the unique circumstances of these Chapter 11 Cases (such as the limited


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funds of the Estates, total value available, the unique facts and circumstances relating to these
Debtors as compared to other defendants in the general opioid space, and the need for an
accelerated resolution without litigation) and none of the foregoing documents, nor any materials
used in furtherance of Plan confirmation (including, but not limited to, the Disclosure Statement,
and any notes related to, and drafts of, such documents and materials), may be offered into
evidence, deemed an admission, used as precedent, or used by any party or Person in any context
whatsoever beyond the purposes of this Plan, in any other litigation or proceeding except as
necessary, and as admissible in such context, to enforce their terms before the Bankruptcy Court
or any other court of competent jurisdiction. This Plan, the Plan Settlement, the Plan Documents,
and the Confirmation Order will be binding as to the matters and issues described therein, but will
not be binding with respect to similar matters or issues that might arise in any other litigation or
proceeding in which none of the Debtors, the Liquidating Debtors, or either Trust is a party. Any
Person’s support of, or position or action taken in connection with, this Plan, the Plan Settlement,
the Plan Documents, and the Confirmation Order may differ from his position or testimony in any
other litigation or proceeding except in connection with these Chapter 11 Cases. Further, and as
all parties to the Mediation agreed, this Plan Settlement is not intended to serve as an example for,
or represent the parties’ respective positions or views concerning any other chapter 11 cases
relating to opioid products, nor shall it be used as precedent by any Person or party.

                   5.2     Substantive Consolidation of the Debtors.

                        The Plan shall be implemented through a substantive consolidation of the
assets and liabilities of the Debtors with one another. The Confirmation Order shall contain
findings supporting the conclusions providing for substantive consolidation for purposes of
distribution on the terms set forth in this Section of the Plan. The substantive consolidation of the
Assets and liabilities and properties of the Debtors shall have the following effects:

                           (a) The Chapter 11 Cases of the Debtors shall be consolidated into the
case of Insys Therapeutics, Inc. as a single consolidated case with respect to Claims against the
Debtors. All property of the Estate of each Debtor shall be deemed to be property of the
consolidated estates with respect to the payment of Claims against the Debtors.

                           (b) All Claims against each Debtor’s Estate shall be deemed to be
Claims against the consolidated estates, all proofs of claim filed against one or more of the Debtors
shall be deemed to be a single Claim filed against the consolidated estates, and all duplicate proofs
of claim for the same Claim filed against more than one Debtor shall be deemed expunged.

                         (c) As set forth in Section 4.12, no Distributions under the Plan shall
be made on account of Intercompany Claims among the Debtors.

                            (d) For purposes of determining the availability of the right of setoff
under section 553 of the Bankruptcy Code, the Debtors shall be treated as one consolidated entity
so that, subject to the other provisions of section 553, debts due to any of the Debtors may be set
off against the debts of any other of the Debtors.




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                      5.3     Administration of Class Claims.2

                              (a)    Insurance Ratepayer Class Claims.

                      (i)     Other than to the limited extent provided in this Plan with respect to
                              overall treatment of Insurance Related Claims and allocations between
                              the Insurance Ratepayer Class Claims, the ERISA Group Claims (which
                              may be determined to include all ERISA Health Plan Claims), and the
                              other Third Party Payor Claims, the Insurance Ratepayer Class Claims
                              and individual claims represented thereby will be administered in
                              accordance with the Insurance Ratepayer Class Claims Procedures and
                              any related approved allocation plan as described therein.

                      (ii)    The Insurance Ratepayer Class Representative (as defined in the
                              Insurance Ratepayer Class Claim Procedures) will be selected by
                              holders of Insurance Related Claims that are represented by the
                              Insurance Ratepayer Class Claims prior to the Confirmation Hearing
                              and identified in the Plan Supplement.

                      (iii)   Notwithstanding anything to the contrary in this Plan with respect to
                              Distributions, Distributions from the Insys Liquidation Trust on account
                              of the Insurance Ratepayer Class Claims (i) shall only be made to the
                              Insurance Ratepayer Class Representatives, or a single designated
                              claims administrator, and allocated among individual class members in
                              accordance with the Insurance Ratepayer Class Claims Procedures and
                              any related approved allocation plan and (ii) shall not be made until an
                              allocation plan has been approved by the Bankruptcy Court as provided
                              in the Insurance Ratepayer Class Claims Procedures. All costs
                              associated with the noticing and administration of the Insurance
                              Ratepayer Class Claims shall be paid out of the Distributions allocated
                              to the Insurance Ratepayer Class Claims.

                              (b)    Third Party Payor Class Claim.

                      (i)     Other than to the limited extent provided in this Plan with respect to
                              overall treatment of Insurance Related Claims and allocations between
                              the Insurance Ratepayer Class Claims, the ERISA Group Claims (which
                              may be determined to include all ERISA Health Plan Claims), and the
                              other Third Party Payor Claims, the Third Party Payor Class Claim will
                              be administered in accordance with the Third Party Payor Claim




2
 For the avoidance of doubt, to the extent any procedures in Section 5.3 require further Bankruptcy Court approval,
no party will have standing to object other than the claimants in the specific class affected thereby.



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                           Procedures and any related approved allocation plan as described
                           therein.

                   (ii)    The Third Party Payor Class Representative (as defined in the Third
                           Party Payor Claim Procedures) will be selected by holders of Third
                           Party Payor Claims that are represented by the Third Party Payor Class
                           Claim prior to the Confirmation Hearing and identified in the Plan
                           Supplement.

                   (iii)   Notwithstanding anything to the contrary in this Plan with respect to
                           Distributions, Distributions from the Insys Liquidation Trust on account
                           of the Third Party Payor Class Claim (i) shall be made by a designated
                           claims administrator, and allocated among individual claimants in
                           accordance with the Third Party Payor Claim Procedures and any
                           related approved allocation plan and (ii) shall not be made until an
                           allocation plan has been approved by the Bankruptcy Court as provided
                           in the Third Party Payor Claim Procedures. All costs associated with
                           the noticing and administration of the Third Party Payor Class Claim
                           shall be paid out of the Distributions allocated to the Third Party Payor
                           Class Claim.

                           (c)   Hospital Class Claim.

                   (i)     Other than to the limited extent provided in this Plan with respect to
                           overall treatment of Hospital Claims and NAS Monitoring Claims and
                           allocations between the Hospital Class Claim and the NAS Monitoring
                           Class Claim, the Hospital Class Claim and individual claims represented
                           thereby will be administered in accordance with the Hospital Class
                           Claim Procedures and any related approved allocation plan as described
                           therein.

                   (ii)    The Hospital Class Representative (as defined in the Hospital Class
                           Claim Procedures) will be selected by holders of Hospital Claims that
                           are represented by the Hospital Class Claim prior to the Confirmation
                           Hearing and identified in the Plan Supplement.

                   (iii)   Notwithstanding anything to the contrary in this Plan with respect to
                           Distributions, Distributions from the Insys Liquidation Trust on account
                           of the Hospital Class Claim (i) shall only be made to the Hospital Class
                           Representative, or designated claims administrator, and allocated
                           among individual class members in accordance with the Hospital Class
                           Claim Procedures and any related approved allocation plan and (ii) shall
                           not be made until an allocation plan has been approved by the
                           Bankruptcy Court as provided in the Hospital Class Claim Procedures.
                           All costs associated with the noticing and administration of the Hospital
                           Class Claim shall be paid out of the Distributions allocated to the
                           Hospital Class Claim.



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                           (d)   NAS Monitoring Class Claim.

                   (i)     Other than to the limited extent provided in this Plan with respect to
                           overall treatment of Hospital Claims and NAS Monitoring Claims and
                           allocations between the Hospital Class Claim and the NAS Monitoring
                           Class Claim, the NAS Monitoring Class Claim and individual claims
                           represented thereby will be administered in accordance with the NAS
                           Monitoring Class Claim Procedures and any related approved allocation
                           plan as described therein.

                   (ii)    The NAS Monitoring Class Representative (as defined in the NAS
                           Monitoring Class Claim Procedures) will be selected by holders of NAS
                           Monitoring Claims that are represented by the NAS Monitoring Class
                           Claim prior to the Confirmation Hearing and identified in the Plan
                           Supplement.

                   (iii)   Notwithstanding anything to the contrary in this Plan with respect to
                           Distributions, Distributions from the Insys Liquidation Trust on account
                           of the NAS Monitoring Class Claim (i) shall only be made to the NAS
                           Monitoring Class Representative, or designated claims administrator,
                           and allocated among individual class members in accordance with the
                           NAS Monitoring Class Claim Procedures and any related approved
                           allocation plan and (ii) shall not be made until an allocation plan has
                           been approved by the Bankruptcy Court as provided in the NAS
                           Monitoring Class Claim Procedures. All costs associated with the
                           noticing and administration of the NAS Monitoring Class Claim shall
                           be paid out of the Distributions allocated to the NAS Monitoring Class
                           Claim.

                   5.4     Vesting of Assets.

                       On the Effective Date, and if applicable, pursuant to sections 1141(b) and
1141(c) of the Bankruptcy Code, all Assets shall vest in the Insys Liquidation Trust or the Victims
Restitution Trust, as applicable. The Trusts shall own such Assets, as of the Effective Date, free
and clear of all Claims, Interests, Liens, other encumbrances, and liabilities of any kind.

                   5.5     Cancellation of Notes, Interests, Instruments, Certificates, and Other
Documents.

                Except as otherwise provided herein, on and after the Effective Date, all Equity
Interests and all notes, instruments, certificates, agreements, indentures, mortgages, security
documents, and other documents evidencing Claims against or Interests in the Debtors or
obligations of the Debtors or Liquidating Debtors, as applicable, thereunder or in any way related
to the foregoing shall be deemed cancelled, satisfied in full, and of no further force and effect
without any need for further action or approval of the Bankruptcy Court.




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                   5.6     Liquidating Trustee.

                             (a) Appointment and Role of Liquidating Trustee.                    The
Liquidating Trustee will be selected by the mutual agreement of the Creditors’ Committee and the
SMT Group Representatives by the Plan Supplement Filing Deadline; provided, however, that if
no such agreement can be reached by the Plan Supplement Filing Deadline, the Debtors shall select
the Liquidating Trustee after consultation with the Creditors’ Committee and the SMT Group
Representatives from a list of six candidates provided jointly by the Creditors’ Committee and the
SMT Group Representatives, with three being selected by each group. The appointment of the
Liquidating Trustee shall be approved in the Confirmation Order, and such appointment shall be
effective as of the date upon which the first Trust is established. In accordance with the Trust
Agreements, and in furtherance of, and consistent with, the purposes of the Trusts and this Plan,
the Liquidating Trustee shall have the power and authority to act as trustee of the Trusts and
perform the Authorized Acts through the earlier of (i) the end of the Operating Term and (ii) the
date such Liquidating Trustee resigns, is terminated, or is otherwise unable to serve for any reason;
provided, however, that at any time after the date that is nine (9) months after the Effective Date,
the ILT Board, by simple majority, may replace the Liquidating Trustee with a successor
Liquidating Trustee selected by a simple majority of the ILT Board that shall become vested with
all of the rights, powers, trusts, and duties of the predecessor Liquidating Trustee.

                            (b) Liquidating Trustee’s Tax Power for Debtors. The Liquidating
Trustee, in its capacity as the trustee of the Insys Liquidation Trust, shall have full and exclusive
authority and responsibility with respect to all taxes of the Debtors (including, without limitation,
as the common parent or other agent of any consolidated, combined, or unitary tax group of which
the Debtors were the agent), to the same extent as if the Liquidating Trustee were the debtor-in-
possession. Without limiting the foregoing, each of the Debtors shall execute, on or prior to the
Effective Date, a power of attorney authorizing the Liquidating Trustee, in its capacity as the
trustee of the Insys Liquidation Trust, to correspond with any taxing authority on behalf of such
Debtor and to sign, collect, negotiate, settle, and administer tax payments and tax returns. In
furtherance of the foregoing:

                   (i)     Following the Effective Date, the Liquidating Trustee shall prepare and
                           file (or cause to be prepared and filed), on behalf of the Debtors, all tax
                           returns required to be filed or that the Liquidating Trustee otherwise
                           deems appropriate, including the filing of amended tax returns or
                           requests for refunds for all taxable periods.

                   (ii)    The Insys Liquidation Trust shall be entitled to all tax refunds of the
                           Debtors, and the Insys Liquidation Trust shall bear responsibility for all
                           tax liabilities of the Debtors for all taxable years, to the extent not
                           satisfied or otherwise released by the Plan.

                          (c) Retention of Professionals by Liquidating Trustee. The
Liquidating Trustee may retain and reasonably compensate counsel and other professionals to
assist in its duties as Liquidating Trustee on such terms as the Liquidating Trustee deems
appropriate without Bankruptcy Court approval, subject to the provisions of the Trust Agreements,
which shall provide that such professionals will be selected by the ILT Board by a majority vote.



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Other than corporate counsel for the Liquidating Trustee, which shall not be a professional who
represented parties in interest in the Chapter 11 Cases unless otherwise agreed by the Creditors’
Committee and the SMT Group Representatives prior to the Effective Date, and subject to the
foregoing sentence the Liquidating Trustee may retain any professional, including any professional
who represented parties in interest in the Chapter 11 Cases. All fees and expenses incurred in
connection with the foregoing shall be payable from the applicable Trust Operating Reserve,
subject to the terms of the Trust Agreements.

                            (d) Exculpation of Liquidating Trustee. The Liquidating Trustee
shall be exculpated (subject, in each case, to exceptions for willful misconduct, bad faith, gross
negligence, or fraud) to the fullest extent allowable by applicable law with respect to the liquidation
of the Trust Assets and administration of the Trusts.

                            (e) TUC Class Amount Final Determination. The Liquidating
Trustee will use its best efforts to achieve the TUC Class Amount Final Determination within six
(6) months of the Effective Date; provided, however, that for purposes of initial Distributions to
holders of Claims in Class 5 and Class 6, the TUC Class Amount shall be based on an estimate of
Allowed Claims in Class 4 as of such time and shall not require a full resolution of all Claims in
such Class. After the TUC Class Amount Final Determination, if the TUC Class Amount is less
than $50 million, Estate Distributable Value in the ILT Recovery Fund that was initially
attributable to Class 4 shall be reallocated among the Classes included in the Private Group
Formula Amount, pursuant to the applicable Private Group Plan Distribution Percentage (without
including Class 4).

                             (f) DOJ Class Amount Final Determination. The Liquidating
Trustee will use its best efforts to achieve the DOJ Class Amount Final Determination within three
(3) months of the Effective Date. After the DOJ Class Amount Final Determination, if the DOJ
Class Amount is less than $283 million, Estate Distributable Value in the ILT Recovery Fund that
was initially attributable to Class 7 shall be reallocated among Class 7, Class 8(a), and Class 8(b)
in accordance with the Public Group Formula Amount and Public Group Plan Distribution
Percentage.

                             (g) Liquidating Trustee Disclosure Requirement. Notwithstanding
anything to the contrary herein, the Liquidating Trustee shall obtain all of the Debtors’ documents
books, and records relating to the Debtors’ sale, promotion, marketing, compliance, and
reimbursement for, or payments made with respect to, the sale of SUBSYS® and SYNDROS®,
and shall publicly disclose (i) such non-privileged documents, books, and records without regard
to the status of litigation brought by or against Insys, and (ii) such privileged documents, books,
and records as soon as all affirmative claims by or on behalf of the Insys Liquidation Trust,
including any and all Causes of Action against Insurance Companies, have been resolved, but in
no event later than the date the Insys Liquidation Trust is terminated; provided, however, that any
disclosures shall redact personally identifiable information and comply with HIPAA, applicable
law, and, unless modified, all contractual obligations and court orders; provided, further, that the
Liquidating Trustee will not incur ILT Operating Expenses in excess of $250,000 in complying
with this paragraph except solely to the extent the members of the ILT Board designated by the
SMT Group Representatives allocate to the ILT Operating Reserve for purposes of complying with
this paragraph, at their sole discretion, all or part of the Distributions constituting the DOJ



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Distribution Reallocation distributable to holders of Claims in Class 8(a) and Class 8(b) which, for
the avoidance of doubt, does not include the SMT Reallocation.

                       5.7       Insys Liquidation Trust.

                           (a) Establishment of Insys Liquidation Trust. On or before the
Effective Date, the Debtors, or the Liquidating Debtors, and/or the Liquidating Trustee3 shall take
all necessary steps to establish the Insys Liquidation Trust for the benefit of holders of Non-PI
General Unsecured Claims including executing the ILT Agreement and the Trust Transfer
Agreement, and all Privileges held by the Debtors or the Liquidating Debtors shall transfer to, and
vest exclusively in, the Trusts. This Section of the Plan sets forth certain of the rights, duties, and
obligations of the ILT Board and the ILT Claims Arbiter with respect to the Insys Liquidation
Trust. In the event of any conflict between the terms of the Plan and the terms of the ILT
Agreement, the terms of the ILT Agreement shall govern.

                           (b) Issuance of Parent Equity Interest to Insys Liquidation Trust.
On the Effective Date, after the transfer of the ILT Assets to the Insys Liquidation Trust pursuant
to Section 5.7(d) of the Plan, the Liquidating Debtors and/or the Liquidating Trustee shall cause
Insys Therapeutics, Inc. to issue the Parent Equity Interest to the Insys Liquidation Trust. The
Parent Equity Interest shall be the only share of common stock of Insys Therapeutics, Inc.,
representing one-hundred percent (100%) of the capital stock thereof, from and after the Effective
Date.

                           (c) Purpose of Insys Liquidation Trust. The Insys Liquidation
Trust shall be established for the purposes described in this Plan (including, without limitation, to
allow the Liquidating Trustee to carry out the Authorized Acts) and any others more fully
described in the ILT Agreement. The Insys Liquidation Trust shall retain all rights to commence
and pursue all Causes of Action (other than Causes of Action arising from the Products Liability
Insurance Policies which shall be reserved for the Victims Restitution Trust) that are not released
under the Plan. The Insys Liquidation Trust shall have no objective to continue or engage in the
conduct of a trade or business.

                        The Insys Liquidation Trust shall administer, process, settle, resolve,
liquidate, satisfy, and pay (from the designated funds therefor), as applicable, Claims against the
Debtors (other than Personal Injury Claims), subject to the terms of the ILT Agreement, this Plan,
and the Confirmation Order. The Insys Liquidation Trust shall be administered and implemented
by the Liquidating Trustee with the oversight of the ILT Board as provided in the ILT Agreement;
provided, however, that for the avoidance of doubt, the approval of the ILT Board shall be required
for the Liquidating Trustee to settle any dispute regarding the Insurance Rights or Causes of Action
that are ILT Assets; provided, further, that notwithstanding the foregoing, the Liquidating Trustee
shall have the exclusive authority to reconcile Trade and Other Unsecured Claims and determine
and make Distributions on account of Claims without the approval of the ILT Board absent
extenuating circumstances.


3
  With respect to actions taken in this Section, the Liquidating Trustee is acting solely in its capacity as trustee of the
Insys Liquidation Trust.



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                            (d) Transfer of ILT Assets to Insys Liquidation Trust. On the
Effective Date, the ILT Assets will be transferred to and vest in the Insys Liquidation Trust in
accordance with the terms set forth herein (including Sections 5.7(e) and (f) below with respect to
the Insurance Rights Transfer and the funding and transfer of the ILT Operating Reserve) and the
ILT Agreement; provided, however, that to the extent certain assets comprising the ILT Assets,
because of their nature or because such assets will accrue or become transferable subsequent to the
Effective Date, and cannot be transferred to, vested in, and assumed by the Insys Liquidation Trust
on such date, such Assets shall be automatically, and without further act or deed, transferred to,
vested in, or assumed by the Insys Liquidation Trust as soon as reasonably practicable after such
date. Notwithstanding anything in this Plan to the contrary, no monies, choses in action, and/or
assets comprising the ILT Assets that have been transferred, granted, assigned, or otherwise
delivered to the Insys Liquidation Trust shall be used for any purpose other than in accordance
with the Plan and the ILT Agreement. Such transfer of the ILT Assets shall be free and clear of
all Claims, Interests, Liens, other encumbrances, and liabilities of any kind.

                           (e)   Insurance Rights Transfer. In furtherance of the purpose of the
Insys Liquidation Trust:

                   (i)     On the Effective Date, the Liquidating Debtors shall irrevocably
                           transfer, grant, and assign to the Insys Liquidation Trust, and the Insys
                           Liquidation Trust shall receive and accept, any and all of the Debtors’
                           Insurance Rights (other than the Products Liability Insurance Rights).
                           To the extent any Insurance Company (other than a Products Liability
                           Insurance Company) would otherwise be obligated to pay any Non-PI
                           General Unsecured Claim on behalf of one or more of the Debtors, the
                           Debtors shall transfer and assign to the Insys Liquidation Trust the right
                           to enforce such Insurance Company’s obligation.

                   (ii)    The Insurance Rights Transfer is made free and clear of all Claims,
                           Liens, encumbrances, or Causes of Action of any nature whatsoever,
                           except available limits of liability for coverage of certain types of
                           Claims under one or more Insurance Policies that may have been
                           reduced by certain prepetition payments made by an Insurance
                           Company to, or on behalf of, one or more of the Debtors.

                   (iii)   The Insys Liquidation Trust shall satisfy, to the extent required under
                           applicable law, any premiums, deductibles, self-insured retentions, and
                           any other amounts arising in any way out of the receipt of any payment
                           from any Insurance Company in respect of any Trust Assets and in
                           connection with any Allowed Non-PI General Unsecured Claims.

                   (iv)    The Insurance Rights Transfer is made to the maximum extent possible
                           under applicable law.

                   (v)     The Insurance Rights Transfer is absolute and does not require any
                           further action by the Debtors, the Liquidating Debtors, the Insys
                           Liquidation Trust, the Bankruptcy Court, or any other Entity.



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                   (vi)   The Insurance Rights Transfer shall be governed by, and construed in
                          accordance with, the Bankruptcy Code and the other applicable laws
                          governing the Insurance Policies.

                          (f) Funding of ILT Operating Reserve. On the Effective Date, the
Debtors or the Liquidating Debtors shall reserve from Available Cash the amount of $1 million to
initially fund the ILT Operating Reserve and the Liquidating Debtors shall assign and transfer the
ILT Operating Reserve to the Insys Liquidation Trust to satisfy and pay ILT Operating Expenses.
Periodically until the ILT Termination Date, the Liquidating Trustee will replenish the ILT
Operating Reserve from Available Cash pursuant to Section 5.14 and from Surplus Reserved Cash
pursuant to Section 5.15 to the extent deemed necessary by the Liquidating Trustee to satisfy and
pay estimated future ILT Operating Expenses. A separate account will be established by the
Liquidating Trustee for the ILT Operating Reserve.

                          (g) ILT Operating Expenses. The Liquidating Trustee, the ILT
Claims Arbiter, the ILT Board, and any other professionals engaged by the Insys Liquidation Trust
shall be entitled to compensation and reimbursement of costs, expenses, and fees, as provided in
the ILT Agreement, which may only be paid pursuant to the terms of this Plan. The Insys
Liquidation Trust shall pay the ILT Operating Expenses.

                           (h) Administrative Obligations and Assumption of Liabilities. In
furtherance of the purposes of the Insys Liquidation Trust, and subject to the ILT Agreement, the
Insys Liquidation Trust shall expressly (i) assume all responsibility and liability for all (A) Non-
PI General Unsecured Claims against the Debtors and the Liquidating Debtors, (B) all ILT
Operating Expenses and (C) Administrative Expense Claims, Secured Claims, and Priority Claims
against the Debtors and the Liquidating Debtors and (ii) undertake to administer and pay the
foregoing with funds designated to (A) the ILT Recovery Fund, (B) the ILT Operating Reserve,
and (C) the Priority Reserve, respectively. The Insys Liquidation Trust shall have all defenses,
cross-claims, offsets, and recoupments regarding Claims that the Debtors or the Liquidating
Debtors have, or would have had, under applicable law and solely to the extent consistent with the
ILT Agreement; provided, however, that no such claims, defenses, or rights may be asserted
against the Debtors or the Liquidating Debtors, or in contravention of the Plan Settlement.

                          (i)   ILT Claims Arbiter.

                   (i)    The ILT Claims Arbiter will be selected by the Creditors’ Committee
                          upon consideration of lists of names provided by representatives of
                          Class 5 and Class 6, and will be identified in the Plan Supplement. In
                          accordance with the ILT Agreement, the ILT Claims Arbiter shall serve
                          in such capacity through the earlier of (i) sixty (60) days after the
                          Effective Date and (ii) the date such ILT Claims Arbiter resigns, is
                          terminated, or is otherwise unable to serve for any reason.

                   (ii)   In furtherance of, and consistent with, the purpose of the Insys
                          Liquidation Trust and this Plan, the ILT Claims Arbiter shall have the
                          power and authority to determine the following issues: (1) the
                          appropriate allocation of Estate Distributable Value in Class 5 on



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                           account of (a) the aggregate ERISA Group Claims (which may be
                           determined to include all ERISA Health Plan Claims), (b) the aggregate
                           amount of other Third Party Payor Claims, and (c) the aggregate
                           Insurance Ratepayer Class Claims; and (2) the appropriate allocation of
                           Estate Distributable Value in Class 6 on account of (a) the aggregate
                           Hospital Class Claim and (b) the aggregate NAS Monitoring Class
                           Claim (but not allocations among individuals whose claims are
                           represented by such Class Claims). To reduce ILT Operating Expenses
                           and promote efficiency, and subject to the terms of the ILT Agreement,
                           the ILT Claims Arbiter will attempt in good faith to negotiate a
                           consensual resolution regarding the foregoing allocations prior to
                           making any determination, which determination shall be final and non-
                           appealable. The procedures for submissions to the ILT Claims Arbiter
                           will be filed with the Plan Supplement.

                   (iii)   The ILT Claims Arbiter will receive compensation of $175,000 to cover
                           all fees and expenses.

                            (j) ILT Board. The ILT Board will be comprised of five (5)
members appointed to serve as the board of managers of the Insys Liquidation Trust. Three (3)
such members shall be selected by the SMT Group Representatives and two (2) such members
shall be selected by the Creditors’ Committee, in each case by the Plan Supplement Filing
Deadline; provided, however, that if either the SMT Group Representatives or the Creditors’
Committee does not select the applicable number of ILT Board members by the Plan Supplement
Filing Deadline, the Debtors or the Liquidating Debtors, as applicable, may select the remaining
members upon consultation with the SMT Group Representatives and the Creditors’ Committee
as applicable (if such parties elect to exercise such consultation rights). In all cases, the ILT Board
members will be selected in good faith consultation with the Debtors. The ILT Board shall have
general governance rights over the Insys Liquidation Trust in accordance with the ILT Agreement.
The composition of the ILT Board will be set forth in the Plan Supplement. The ILT Board will
be authorized to retain corporate counsel on such terms as the ILT Board deems appropriate
without Bankruptcy Court approval, subject to the provisions of the ILT Agreement; provided,
however, that the ILT Board may not retain as corporate counsel to the ILT Board any professional
who represented any of the following in the Chapter 11 Cases: (i) any State; (ii) any of the SMT
Group Representatives; (iii) the Creditors’ Committee; or (iv) the Debtors; provided, further, that
the ILT Board may retain such counsel notwithstanding any conflict with the express consent of
the SMT Group Representatives and the Creditors’ Committee.

                           (k) Periodic Reporting. The Liquidating Trustee shall provide
periodic reporting to the ILT Board (which shall be filed with the Bankruptcy Court in summary
form) of the determination and any re-determination, as applicable, of the total amounts allocated
to the ILT Recovery Fund, the Priority Reserve, the Disputed Claims Reserves for Non-PI General
Unsecured Claims, and the ILT Operating Reserve.

                         (l) Institution and Maintenance of Legal and Other Proceedings.
As of the date upon which the Insys Liquidation Trust is established, the Insys Liquidation Trust
shall be empowered to initiate, prosecute, defend, and resolve all legal actions and other



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proceedings related to any asset, liability, or responsibility of the Insys Liquidation Trust. The
Insys Liquidation Trust shall be empowered to initiate, prosecute, defend, and resolve all such
actions in the name of the Debtors and the Liquidating Debtors if deemed necessary or appropriate
by the Liquidating Trustee or the ILT Claims Arbiter. The Insys Liquidation Trust shall be
responsible for the payment of all damages, awards, judgments, settlements, expenses, costs, fees,
and other charges incurred subsequent to the date upon which the Insys Liquidation Trust is
established arising from, or associated with, any legal action or other proceeding brought pursuant
to this Section of the Plan and shall pay or reimburse all deductibles, retrospective premium
adjustments, or other charges which may arise from the receipt of any Insurance Proceeds (other
than any Products Liability Insurance Proceeds) by the Insys Liquidation Trust.4 For the avoidance
of doubt, the Insys Liquidation Trust, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code
and applicable state corporate law, is appointed as the successor-in-interest to, and representative
of, the Debtors and their Estates for the retention, enforcement, settlement, or adjustment of all
Claims, other than Personal Injury Claims.

                           (m) Dissolution. The Insys Liquidation Trust shall be dissolved and
the Liquidating Trustee, the ILT Claims Arbiter, and the ILT Board shall be discharged from their
duties with respect to the Insys Liquidation Trust upon completion of their duties as set forth in
this Plan and the ILT Agreement which, for the avoidance of doubt, shall be no earlier than the
date on which (i) all Disputed Non-PI General Unsecured Claims have been resolved, (ii) all ILT
Assets have been liquidated, and (iii) all Distributions from the Insys Liquidation Trust required
to be made by the Liquidating Trustee under the Plan and the ILT Agreement have been made,
unless dissolution on an earlier date is authorized pursuant to a Final Order of the Bankruptcy
Court. Upon dissolution of the Insys Liquidation Trust, any Cash remaining in the ILT Recovery
Fund and the ILT Operating Reserve shall be distributed to holders of Allowed Non-PI General
Unsecured Claims in accordance with the Plan Distribution Percentages and the allocations under
Article IV and Section 5.3 of this Plan.

                             (n) U.S. Federal Income Tax Treatment of Insys Liquidation
Trust. In furtherance of this Section of the Plan, and subject to the next two paragraphs of this
Section, (i) the Insys Liquidation Trust shall be structured to qualify as a “liquidating trust” within
the meaning of Treasury Regulation Section 301.7701-4(d) and in compliance with Revenue
Procedure 94-45, 1994-2 C.B. 684 and, thus, as a “grantor trust” within the meaning of sections
671 through 679 of the Internal Revenue Code to the holders of beneficial interests in the Insys
Liquidation Trust, consistent with the terms of the Plan; (ii) the sole purpose of the Insys
Liquidation Trust shall be the liquidation and distribution of the ILT Assets in accordance with
Treasury Regulation Section 301.7701-4(d), including the resolution of Claims (other than
Personal Injury Claims) in accordance with this Plan, with no objective to continue or engage in
the conduct of a trade or business; (iii) all parties (including the Debtors, their Estates, the
Liquidating Debtors, holders of beneficial interests in the Insys Liquidation Trust, and the
Liquidating Trustee) shall report consistently with such treatment (including the deemed receipt
of the underlying assets, subject to applicable liabilities and obligations, by the holders of
beneficial interests in the Insys Liquidation Trust, followed by the deemed transfer of such Assets
to the Insys Liquidation Trust); (iv) all parties shall report consistently with the valuation of the
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  For the avoidance of doubt, the Insys Liquidation Trust will not pay premiums for tail coverage of Insurance Policies
related to directors’ and officers’ liability.



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ILT Assets transferred to the Insys Liquidation Trust as determined by the Liquidating Trustee (or
its designee); (v) the Liquidating Trustee shall be responsible for filing returns for the Insys
Liquidation Trust as a grantor trust pursuant to Treasury Regulation Section 1.671-4(a); and
(vi) the Liquidating Trustee shall annually send to each holder of beneficial interests in the Insys
Liquidation Trust a separate statement regarding the receipts and expenditures of the Trust as
relevant for U.S. federal income tax purposes.

                        Subject to definitive guidance from the Internal Revenue Service or a court
of competent jurisdiction to the contrary (including the receipt by the Liquidating Trustee of a
private letter ruling if the Liquidating Trustee so requests one, or the receipt of an adverse
determination by the Internal Revenue Service upon audit if not contested by the Liquidating
Trustee), the Liquidating Trustee may timely elect to (i) treat any portion of the Insys Liquidation
Trust allocable to, or retained on account of, Disputed Claims (e.g., a Disputed Claims Reserve)
as a “disputed ownership fund” governed by Treasury Regulation Section 1.468B-9 (and make
any appropriate elections) and (ii) to the extent permitted by applicable law, report consistently
with the foregoing for state and local income tax purposes. If a “disputed ownership fund” election
is made, all parties (including the Debtors, their Estates, the Liquidating Debtors, holders of
beneficial interests in the Insys Liquidation Trust, and the Liquidating Trustee) shall report, for
United States federal, state, and local income tax purposes, consistently with the foregoing. As to
any assets allocable to, or retained on account of, Disputed Claims, all distributions thereof shall
be net of any costs and expenses, including taxes, relating to the retention or disposition (including
a Distribution) of such assets, and the Liquidating Trustee shall be responsible for payment, out of
such assets, of any taxes imposed on or with respect to such assets, and shall be permitted to sell
any assets of the qualified settlement fund to the extent necessary to satisfy such tax liability
(including any tax liability arising in connection with such sale). All parties (including, without
limitation, the Debtors, their Estates, the Liquidating Debtors, the Insys Liquidation Trust, and the
holders of beneficial interests in the Insys Liquidation Trust) will be required to report for tax
purposes consistently with the foregoing.

                        Notwithstanding the preceding paragraphs, all or part of the Insys
Liquidation Trust may be treated (now or in the future) as a “qualified settlement fund” within the
meaning of, and as required by, Treasury Regulation Section 1.468B-1. If the Insys Liquidation
Trust or any portion thereof is treated as a qualified settlement fund, it shall be treated consistently
for state and local tax purposes, to the extent applicable. The Liquidating Trustee and all holders
of beneficial interests in the Insys Liquidation Trust shall report consistently with the foregoing.
The Liquidating Trustee shall be the “administrator,” within the meaning of Treasury Regulation
Section 1.468B-2(k)(3), of such qualified settlement fund. The Liquidating Trustee shall be
responsible for filing all tax returns of the qualified settlement fund and the payment, out of the
assets of the qualified settlement fund, of any taxes due with respect to trust assets or otherwise
imposed on the qualified settlement fund (including any tax liability arising in connection with the
distribution of trust assets), and shall be permitted to sell any assets of the qualified settlement
fund to the extent necessary to satisfy such tax liability (including any tax liability arising in
connection with such sale).

                            (o) Expedited Determination of Taxes. The Liquidating Trustee
may request an expedited determination of taxes under section 505(b) of the Bankruptcy Code for
all tax returns filed by or on behalf of the Insys Liquidation Trust through the ILT Termination


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Date, and for all tax returns filed by or on behalf of the Debtors or the Liquidating Debtors for all
taxable periods of the Debtors and the Liquidating Debtors.

                         (p) Exculpation of ILT Claims Arbiter and ILT Board. The ILT
Claims Arbiter and the ILT Board shall be exculpated (subject, in each case, to exceptions for
willful misconduct, bad faith, gross negligence, or fraud) to the fullest extent allowable by
applicable law with respect to the liquidation of the ILT Assets and administration of the Insys
Liquidation Trust.

                       5.8       Victims Restitution Trust.

                             (a) Establishment of Victims Restitution Trust. On the Effective
Date, the Debtors, or the Liquidating Debtors, and the Liquidating Trustee5 shall take all necessary
steps to establish the Victims Restitution Trust for the benefit of holders of Allowed Personal
Injury Claims and the States, Municipalities, and Tribes, including executing the VRT Agreement
and the Trust Transfer Agreement, and all Privileges held by the Debtors or the Liquidating
Debtors shall transfer to, and vest exclusively in, the Trusts. This Section of the Plan sets forth
certain of the rights, duties, and obligations of the VRT Board and the VRT Claims Administrator
with respect to the Victims Restitution Trust. In the event of any conflict between the terms of the
Plan and the terms of the VRT Agreement, the terms of the VRT Agreement shall govern.

                            (b) Purpose of Victims Restitution Trust. The Victims Restitution
Trust shall be established for the purposes described in this Plan and any others more fully
described in the VRT Agreement. The Victims Restitution Trust shall administer, process, resolve,
and liquidate Personal Injury Claims, and make Distributions (from the designated funds therefor)
to holders of Allowed Personal Injury Claims and to the ILT Recovery Fund to satisfy and pay
Allowed State Claims and Allowed Municipality/Tribe Claims, subject to the terms of the VRT
Agreement, this Plan, and the Confirmation Order. The Victims Restitution Trust shall be
administered and implemented by the VRT Claims Administrator, and as otherwise provided and
applicable, the Liquidating Trustee, with the oversight of the VRT Board as provided in the VRT
Agreement; provided, however, that for the avoidance of doubt, the approval of the VRT Board
shall be required to settle any dispute regarding the Products Liability Insurance Rights.

                           (c) Products Liability Insurance Rights Transfer. In furtherance
of the purpose of the Victims Restitution Trust:

                       (i)       On the Effective Date, the Liquidating Debtors shall irrevocably
                                 transfer, grant, and assign to the Victims Restitution Trust, and the
                                 Victims Restitution Trust shall receive and accept, any and all of the
                                 Products Liability Insurance Rights. To the extent any Products
                                 Liability Insurance Company would otherwise be obligated to pay any
                                 Non-PI General Unsecured Claim on behalf of one or more of the
                                 Debtors, the Debtors shall transfer and assign to the Victims Restitution


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  With respect to actions taken in this Section, the Liquidating Trustee is acting solely in its capacity as trustee of the
Victims Restitution Trust.



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                           Trust the right to enforce such Products Liability Insurance Company’s
                           obligation.

                   (ii)    The Products Liability Insurance Rights Transfer is made free and clear
                           of all Claims, Liens, encumbrances, or Causes of Action of any nature
                           whatsoever, except available limits of liability for coverage of certain
                           types of Claims under one or more Products Liability Insurance Policies
                           that may have been reduced by certain prepetition payments made by a
                           Products Liability Insurance Company to, or on behalf of, one or more
                           of the Debtors.

                   (iii)   The Victims Restitution Trust shall satisfy, to the extent required under
                           applicable law, any premiums, deductibles, self-insured retentions, and
                           any other amounts arising in any way out of the receipt of any payment
                           from an Insurance Company in respect of the Products Liability
                           Insurance Rights in connection with any Claim against the Debtors.

                   (iv)    The Products Liability Insurance Rights Transfer is made to the
                           maximum extent possible under applicable law.

                   (v)     The Products Liability Insurance Rights Transfer is absolute and does
                           not require any further action by the Debtors, the Liquidating Debtors,
                           the Victims Restitution Trust, the Bankruptcy Court, or any other Entity.

                   (vi)    The Products Liability Insurance Rights Transfer shall be governed by,
                           and construed in accordance with, the Bankruptcy Code and the other
                           applicable laws governing the Products Liability Insurance Policies.

                   (vii)   Such transfer of VRT Assets shall be free and clear of all Claims,
                           Interests, Liens, other encumbrances, and liabilities of any kind.

                           (d) Funding of VRT Operating Reserve. On the Effective Date, the
Debtors or the Liquidating Debtors shall reserve from Available Cash the amount of $1 million to
fund the VRT Operating Reserve and the Liquidating Debtors shall assign and transfer VRT
Operating Reserve to the Victims Restitution Trust to satisfy and pay VRT Operating Expenses.
Such transfer shall be free and clear of all Claims, Interests, Liens, other encumbrances, and
liabilities of any kind. A separate account will be established by the Liquidating Trustee for the
VRT Operating Reserve.

                           (e) VRT Operating Expenses. The VRT Claims Administrator and
the VRT Board shall be entitled to compensation as provided in the VRT Agreement. The Victims
Restitution Trust shall pay all VRT Operating Expenses, including the costs, expenses, and fees of
the VRT Claims Administrator, the VRT Board, and their retained professionals from the VRT
Operating Reserve; provided, however, that all VRT Operating Expenses shall be capped at $1
million. The Debtors and the Liquidating Debtors shall have no obligation to pay any VRT
Operating Expenses.




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                           (f) Administrative Obligations and Assumption of Liabilities. In
furtherance of the purposes of the Victims Restitution Trust, and subject to the VRT Agreement,
the Victims Restitution Trust shall expressly (i) assume all responsibility and liability for all
(A) Personal Injury Claims against the Debtors and the Liquidating Debtors and (B) all VRT
Operating Expenses (except as otherwise provided in the VRT Agreement), and (ii) undertake to
administer and pay the foregoing with the funds designated to (A) the VRT Recovery Fund and
(B) the VRT Operating Reserve, respectively. The Victims Restitution Trust shall have all
defenses, cross-claims, offsets, and recoupments regarding Personal Injury Claims that the Debtors
or the Liquidating Debtors have, or would have had, under applicable law, but solely to the extent
consistent with the VRT Agreement and this Plan; provided, however, that no such claims,
defenses, or rights may be asserted against the Debtors or the Liquidating Debtors.

                             (g) Appointment of VRT Claims Administrator. The VRT Claims
Administrator will be selected prior to the Confirmation Hearing and identified in the Plan
Supplement. The VRT Claims Administrator will be selected by the Plan Supplement Filing
Deadline either (i) by mutual agreement between the Creditors’ Committee and the SMT Group
Representatives, or (ii) if the SMT Group Representatives object to the Plan, then by the Debtors
or the Liquidating Trustee from a list of potential candidates provided or to be provided by the
Creditors’ Committee; provided, however, that the VRT Claims Administrator shall be appointed
no later than the Plan Supplement Filing Deadline. In accordance with the VRT Agreement, the
VRT Claims Administrator shall serve in such capacity through the earlier of (i) the resolution,
settlement, or disallowance of all Personal Injury Claims and (ii) the date such VRT Claims
Administrator resigns, is terminated, or is otherwise unable to serve for any reason.

                          (h)   Role of VRT Claims Administrator.

                   (i)    In furtherance of, and consistent with, the purpose of the Victims
                          Restitution Trust and this Plan, the VRT Claims Administrator shall
                          have the power and authority to determine the eligibility, amount, and
                          allowance of Personal Injury Claims. The VRT Claims Administrator
                          shall evaluate proofs of claim submitted by each holder of a Personal
                          Injury Claim for determination of eligibility, amount, and allowance of
                          such Claim in accordance with the procedures set forth in the Claims
                          Analysis Protocol, to be filed with the Bankruptcy Court on or before
                          the Plan Supplement Filing Deadline.

                   (ii)   The VRT Claims Administrator’s determination of eligibility, amount,
                          and allowance of each Personal Injury Claim shall be final and binding,
                          and shall not be subject to any challenge or review of any kind, by any
                          court or other person or entity, except as set forth in the Claims Analysis
                          Protocol. For the avoidance of doubt, the VRT Claims Administrator
                          shall determine the eligibility, allowance, and amount of Claims based
                          on the Claims Analysis Protocol. The eligibility, amount, and
                          allowance of all Personal Injury Claims shall be determined on or before
                          six (6) months following the date of any resolution between the Victims
                          Restitution Trust and the Products Liability Insurance Companies.




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                          (i) Payment of Claims. Personal Injury Claims will be administered
and liquidated pursuant to the VRT Agreement. After Personal Injury Claims are Allowed by the
VRT Claims Administrator, the Liquidating Trustee shall make Distributions to each holder of an
Allowed Personal Injury Claim, and to the ILT Recovery Fund to make Distributions to holders
of Allowed State Claims and Allowed Municipality/Tribe Claims, in accordance with the
treatments set forth in this Plan, from available Products Liability Insurance Proceeds.
Distributions of Products Liability Insurance Proceeds shall be the sole source of recovery for
holders of Allowed Personal Injury Claims and no holder of a Personal Injury Claim shall have
any further recourse from the Trust, the Debtors, the Liquidating Debtors, or their Estates.

                          (j) VRT Board. The VRT Board will be comprised of four (4)
members appointed to serve as the board of managers of the Victims Restitution Trust. Two (2)
such members shall be selected by the SMT Group Representatives and two (2) such members
shall be selected by the Creditors’ Committee; provided, however, that if either the SMT Group
Representatives or the Creditors’ Committee does not select the applicable number of VRT Board
members in a reasonable time, the Debtors or the Liquidating Debtors, as applicable, may select
the remaining members. In all cases, the VRT Board members will be selected in good faith
consultation with the Debtors. The VRT Board shall have general governance rights over the
Victims Restitution Trust in accordance with the VRT Agreement and shall review and oversee
any significant decision-making with respect to the prosecution and liquidation of the Products
Liability Insurance Rights. The VRT Claims Administrator shall have the authority to break ties
in VRT Board decisions, if and when necessary. The composition of the VRT Board will be set
forth in the Plan Supplement. The VRT Board will be authorized to retain corporate counsel on
such terms as the VRT Board deems appropriate without Bankruptcy Court approval, subject to
the provisions of the VRT Agreement; provided, however, that the VRT Board may not retain as
corporate counsel to the VRT Board any professional who represented any of the following in the
Chapter 11 Cases: (i) any State; (ii) any of the SMT Group Representatives; (iii) the Creditors’
Committee; or (iv) the Debtors; provided, further, that the VRT Board may retain such counsel
notwithstanding any conflict with the express consent of the SMT Group Representatives and the
Creditors’ Committee.

                             (k) Retention of Professionals by VRT Claims Administrator. The
VRT Claims Administrator may retain and reasonably compensate counsel and other professionals
to assist in its duties as VRT Claims Administrator on such terms as the VRT Claims Administrator
deems appropriate without Bankruptcy Court approval, subject to the provisions of the VRT
Agreement, which shall provide that such professionals will be selected by the VRT Board by a
majority vote. Other than corporate counsel for the VRT Claims Administrator, which shall not
be a professional who represented parties in interest in the Chapter 11 Cases unless otherwise
agreed by the Creditors’ Committee and the SMT Group Representatives prior to the Effective
Date, and subject to the foregoing sentence, the VRT Claims Administrator may retain any
professional, including any professional who represented parties in interest in the Chapter 11
Cases, on hourly or contingency fee bases. All fees and expenses incurred in connection with the
foregoing, if not satisfied on a contingency basis, shall be payable from the VRT Operating
Reserve, subject to the terms of the VRT Agreement.

                           (l) Periodic Reporting. The Liquidating Trustee shall provide
periodic reporting to the VRT Board (which shall be filed with the Bankruptcy Court in summary


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form) of the determination and any re-determination, as applicable, of the total amounts allocated
to the VRT Recovery Fund, the Disputed Claims Reserve for Personal Injury Claims, and the VRT
Operating Reserve.

                             (m) Institution and Maintenance of Legal and Other Proceedings.
As of the date upon which the Victims Restitution Trust is established, the Victims Restitution
Trust shall be empowered to initiate, prosecute, defend, and resolve all legal actions and other
proceedings related to any asset, liability, or responsibility of the Victims Restitution Trust. The
Victims Restitution Trust shall be empowered to initiate, prosecute, defend, and resolve all such
actions in the name of the Debtors and the Liquidating Debtors if deemed necessary or appropriate
by the Liquidating Trustee or the VRT Claims Administrator. The Victims Restitution Trust shall
be responsible for the payment of all damages, awards, judgments, settlements, expenses, costs,
fees, and other charges incurred subsequent to the date upon which the Victims Restitution Trust
is established arising from, or associated with, any legal action or other proceeding brought
pursuant to this Section of the Plan and shall pay or reimburse all deductibles, retrospective
premium adjustments, or other charges which may arise from the receipt of any Products Liability
Insurance Proceeds by the Victims Restitution Trust. For the avoidance of doubt, the Victims
Restitution Trust, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable state
corporate law, is appointed as the successor-in-interest to, and representative of, the Debtors and
their Estates for the retention, enforcement, settlement, or adjustment of all Personal Injury Claims.

                            (n) Dissolution. The Victims Restitution Trust shall be dissolved and
the Liquidating Trustee, the VRT Claims Administrator, and the VRT Board shall be discharged
from their duties with respect to the Victims Restitution Trust upon completion of their duties and
the satisfaction of the purposes of the Victims Restitution Trust as set forth in this Plan and the
VRT Agreement which, for the avoidance of doubt, shall be no earlier than the date on which (i) all
Disputed Personal Injury Claims have been resolved, (ii) all VRT Assets have been liquidated, and
(iii) all Distributions from the Victims Restitution Trust required to be made by the Liquidating
Trustee under the Plan and the VRT Agreement have been made, unless dissolution on an earlier
date is authorized pursuant to a Final Order of the Bankruptcy Court. Upon dissolution of the
Victims Restitution Trust, any Cash remaining in the VRT Recovery Fund and the VRT Operating
Reserve shall be distributed to holders of Allowed Personal Injury Claims in each holder’s Pro
Rata share.

                            (o) U.S. Federal Income Tax Treatment of Victims Restitution
Trust. The Victims Restitution Trust is intended to be treated, and shall be reported, as a “qualified
settlement fund” for U.S. federal income tax purposes and shall be treated consistently for state
and local tax purposes, to the extent applicable. The Liquidating Trustee and all holders of
beneficial interests in the Victims Restitution Trust shall report consistently with the foregoing.
The Liquidating Trustee shall be the “administrator,” within the meaning of Treasury Regulation
Section 1.468B-2(k)(3), of the Victims Restitution Trust. The Liquidating Trustee shall be
responsible for filing all tax returns of the Victims Restitution Trust and the payment, out of the
assets of the Victims Restitution Trust, of any taxes due with respect to VRT Assets or otherwise
imposed on the Victims Restitution Trust (including any tax liability arising in connection with
the distribution of VRT Assets), and shall be permitted to sell any assets of the Victims Restitution
Trust to the extent necessary to satisfy such tax liability (including any tax liability arising in
connection with such sale).


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                             (p) Expedited Determination of Taxes. The Liquidating Trustee
may request an expedited determination of taxes under section 505(b) of the Bankruptcy Code for
all tax returns filed by or on behalf of the Victims Restitution Trust through the VRT Termination
Date.

                           (q) Exculpation of VRT Claims Administrator and VRT Board.
The VRT Claims Administrator and the VRT Board shall be exculpated (subject, in each case, to
exceptions for willful misconduct, bad faith, gross negligence, or fraud) to the fullest extent
allowable by applicable law with respect to the liquidation of the VRT Assets and administration
of the Victims Restitution Trust.

                   5.9     Non-Transferability of Trust Interests.

                        Any and all Trust Interests, rights to receive a Distribution from the Trust,
the Priority Reserve, the Trust Operating Reserves, or the Recovery Funds will not constitute
“securities” and will not be registered pursuant to the Securities Act or any applicable state or local
securities law. However, if it should be determined that any such interests constitute “securities,”
the exemption provisions of section 1145 of the Bankruptcy Code will be satisfied and the offer
and sale under the Plan of the Trust Interests will be exempt from registration under the Securities
Act, all rules and regulations promulgated thereunder, and all applicable state and local securities
laws and regulations. Further, any and all Trust Interests, rights to receive a Distribution from the
Trust, the Priority Reserve, the Trust Operating Reserves, or the Recovery Funds shall not be
certificated, shall be non-transferable other than if transferred by will, intestate succession, or
otherwise by operation of law, and shall be subject to certain other restrictions. Moreover, any
and all Trust Interests shall not be listed for trading on any national securities exchange.

                   5.10    Insurance Neutrality.

                            (a) Nothing contained in this Plan, the Plan Documents, or the
Confirmation Order, including any provision that purports to be preemptory or supervening, shall
in any way operate to, or have the effect of, impairing, altering, supplementing, changing,
expanding, decreasing, or modifying (i) the rights or obligations of any of the Insurance
Companies arising out of or under any Insurance Policy or (ii) any rights or obligations of the
Debtors arising out of or under any Insurance Policy. For all issues relating to insurance coverage,
including all rights and obligations under the Insurance Policies, the provisions, terms, conditions,
and limitations of the Insurance Policies shall control; provided, however, that, for the avoidance
of doubt, (1) none of the Debtors’ or any Insurance Company’s defenses, rights, and obligations
with respect to the coverage, denial of coverage, the proper court, forum or jurisdiction for any
disputes regarding insurance coverage or regarding the Insurance Companies’ rights and
obligations under the Insurance Policies (collectively, the “Coverage Dispute”) shall be impaired
or otherwise affected in any way, and (2) nothing herein shall constitute a determination, consent
to, or waiver of jurisdiction as to the Coverage Dispute.

                         (b) For the avoidance of doubt, nothing contained in this Plan, the
Plan Documents, or the Confirmation Order shall operate to require any Insurance Company to
indemnify or pay the liability of any Debtor or Liquidating Debtor that it would not have been




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required to pay in the absence of this Plan. This subsection (b) in no way modifies, alters or limits
the rights and/or obligations set forth in subsection (a), above.

                          (c) None of (i) the Bankruptcy Court’s confirmation of the Plan or
approval of the Plan Documents, (ii) the Confirmation Order or any findings and conclusions
entered with respect to confirmation, nor (iii) any estimation or valuation of any Claims, either
individually or in the aggregate in the Chapter 11 Cases shall, with respect to any Insurance
Company, constitute a trial or hearing on the merits or an adjudication or judgment with respect to
any Claim or Cause of Action.

                   5.11    Indemnification of Liquidating Trustee.

                        The Liquidating Trustee and the VRT Claims Administrator shall not be
liable for actions taken or omitted in their capacity as, or on behalf of, the Liquidating Trustee or
the VRT Claims Administrator, as applicable, the Trusts, or the Liquidating Debtors, except those
acts found by Final Order to be arising out of its willful misconduct, bad faith, gross negligence,
or fraud, and shall be entitled to indemnification and reimbursement for fees and expenses in
defending any and all of its actions or inactions in its capacity as, or on behalf of, the Liquidating
Trustee or the VRT Claims Administrator, as applicable, the Trusts, or the Liquidating Debtors,
except for any actions or inactions found by Final Order to be arising out of its willful misconduct,
bad faith, gross negligence, or fraud. Any valid indemnification claim of the Liquidating Trustee
or the VRT Claims Administrator shall be satisfied from the ILT Operating Reserve.

                   5.12    Cooperation; Privilege; Transfer of Books and Records.

                           (a) To effectively investigate, prosecute, compromise, and/or settle
the Insurance Rights, the Products Liability Insurance Rights, and Causes of Action on behalf of
the Trusts, the Liquidating Trustee, the ILT Claims Arbiter, the VRT Claims Administrator, and
their counsel and representatives require full access to all documents and information relating to
the Insurance Rights, the Products Liability Insurance Rights, and the Causes of Action in the
possession of the Debtors and/or the Liquidating Debtors and must be able to obtain such
information from the Debtors or the Liquidating Debtors on a confidential basis and in common
interest without being restricted by or waiving any applicable work product, attorney-client, or
other Privilege. Accordingly, on or prior to the Effective Date, the Liquidating Trustee and Insys
Therapeutics, Inc., on behalf of itself, the other Debtors, and the Liquidating Debtors, shall enter
into the Trust Transfer Agreement, which shall provide for the Liquidating Trustee’s, the ILT
Claims Arbiter’s, and the VRT Claims Administrator’s full access to the Debtors’ and the
Liquidating Debtors’ records and information including, without limitation, electronic records or
documents, and for the Debtors and the Liquidating Debtors to transfer and assign, or cause to be
transferred and assigned, to the Liquidating Trustee: (i) all of the books and records of the Debtors
and the Liquidating Debtors, (ii) a copy of a database or other information as reasonably required
to assist the Trusts in identifying the Non-PI General Unsecured Claims against the Insys
Liquidation Trust or the Personal Injury Claims against the Victims Restitution Trust, (iii) copies
of all Insurance Policies, (iv) information relating to all Claims previously noticed, tendered, or
submitted under the Insurance Policies or paid by any Insurance Company, and (v) any other
information necessary to operate the Trusts and preserve, secure, or obtain the benefit of the
Insurance Rights. The Trust Transfer Agreement shall also provide that as of the Effective Date,



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all Privileges held by the Debtors or the Liquidating Debtors (including the board of directors or
any committee of the board of directors of any of the Debtors or the Liquidating Debtors) in
connection with such documents or information shall transfer to, and vest exclusively in, the
Trusts. If, at any time after the Effective Date, the Debtors discover the existence of an Insurance
Policy that provides or may provide coverage for General Unsecured Claims, the Entity
discovering such policy or evidence of the existence of such policy shall promptly inform the
Liquidating Trustee, the ILT Claims Arbiter, and the VRT Claims Administrator. On the date(s)
upon which each Trust is established or as soon as reasonably practicable thereafter, the
Liquidating Trustee shall transfer and assign, or cause to be transferred and assigned, to the ILT
Claims Arbiter, and the VRT Claims Administrator, the documents and information included in
the foregoing clauses (i) through (v).

                            (b) The transfer or assignment of information to the Liquidating
Trustee in accordance with this Section of this Plan shall not result in the destruction or waiver of
any applicable Privileges. Further, with respect to any Privileges: (i) they are transferred to the
Liquidating Trustee to perform its duties to administer the Trusts and for no other reason, (ii) they
are vested in the Liquidating Trustee, the ILT Claims Arbiter, and the VRT Claims Administrator,
or the Trusts, and not in the Trust Boards or any other Person, committee, or subcomponent of the
Trusts, or any other Person (including counsel and other professionals) who has been engaged by,
represents, or has represented any holder of a Claim or any Person that alleges or may allege a
Claim, directly or indirectly, relating to, or arising from, the Debtors’ Products or operations,
(iii) they shall be preserved and not waived (except as the Liquidating Trustee, the ILT Claims
Arbiter, the VRT Claims Administrator, or either Trust, as applicable, may elect to waive such
Privileges held by that particular Person or Entity), (iv) for the avoidance of doubt, any such
transfer shall have no effect on any right, Claim, or Privilege of any Person other than the Debtors
or the Liquidating Debtors (including the board of directors or any committee of the board of
directors of any of the Debtors or Liquidating Debtors), and (v) no information subject to a
Privilege shall be publicly disclosed by the Liquidating Trustee, the ILT Claims Arbiter, the VRT
Claims Administrator, or the Trusts or communicated to any Person not entitled to receive such
information or in a manner that would diminish the protected status of any such information, except
following a waiver of such Privilege pursuant to (iii) above. For the avoidance of doubt, nothing
in this Plan or any order of the Bankruptcy Court shall prevent a waiver by the Liquidating Trustee,
the ILT Claims Arbiter, or the VRT Claims Administrator of Privileges to the extent held by that
particular Person or Entity, and the waiver of Privileges shall not affect the releases or exculpation
provided under this Plan to such Person or Persons. Notwithstanding the foregoing, nothing herein
shall preclude the Liquidating Trustee or, if applicable, the VRT Claims Administrator, from
providing information received pursuant to this Section to any applicable Insurance Company as
necessary to preserve, secure, or obtain the benefit of the applicable Insurance Rights.

                   5.13    Releases of Liabilities to Holders of Claims.

                         Except as provided in this Plan, the transfer to, vesting in, and assumption
by the Trusts of the Trust Assets as contemplated by this Plan shall, as of the date of such transfer
and assumption, bar recovery or any action against the Debtors, the Liquidating Debtors, and the
Debtors’ estates, affiliates, and subsidiaries, for, or with respect to, all Claims. The Trusts shall,
as of the date(s) upon which each Trust is established, assume sole and exclusive responsibility
and liability for all Claims against the Debtors and the Liquidating Debtors, and such Claims shall


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be liquidated, resolved, or paid by the Trusts from the Recovery Funds or Trust Operating
Reserves, as applicable.

                    5.14    Available Cash.

                       (a)      Available Cash on Effective Date. On the Effective Date, Cash
held by the Debtors shall be allocated to: (i) the Professional Fee Escrow Account in an amount
necessary to satisfy Professional Fee Claims in accordance with Section 2.4 of this Plan; (ii) the
Priority Reserve to the extent necessary to satisfy estimated Allowed (a) Administrative Expense
Claims, (b) Secured Claims, and (c) Priority Claims; (iii) the ILT Operating Reserve and the VRT
Operating Reserve in the amounts set forth in Sections 5.7(f) and 5.8(d) of this Plan to cover the
respective Trust Operating Expenses; and (iv) holders of Allowed Convenience Class Claims in
Class 3 in the amounts necessary to pay ten percent (10%) of each such holder’s Allowed
Convenience Class Claim.

                       (b)      Available Cash after Effective Date. Any remaining Cash
following the Distributions described in the foregoing subsection (a) shall be allocated to the ILT
Recovery Fund as Estate Distributable Value and made available for Distribution to holders of
Allowed Non-PI General Unsecured Claims. Any funds that become Available Cash after the
Effective Date shall be allocated to (i) first, the ILT Operating Reserve to the extent necessary to
satisfy estimated ILT Operating Expenses, and (ii) second, the ILT Recovery Fund to become
Estate Distributable Value and made available for Distribution to holders of Allowed Non-PI
General Unsecured Claims.

                    5.15    Surplus Reserved Cash.

                           (a) Surplus Reserved Cash from Priority Reserve.                        The
Liquidating Trustee shall determine, on each six-month anniversary of the Effective Date, whether
the amounts available in the Priority Reserve are in excess of the amount necessary to satisfy the
purpose for which such reserve was established. If the Liquidating Trustee determines that, in the
discretion of the Liquidating Trustee, a surplus exists in the Priority Reserve as of the date of such
determination, such Surplus Reserved Cash shall (i) first, be allocated to the ILT Operating
Reserve to the extent such reserve is insufficiently funded to satisfy the purpose for which such
reserve was established, with such allocation of Surplus Reserved Cash to be in the discretion of
the Liquidating Trustee in consultation with the VRT Claims Administrator, and (ii) second,
become Available Cash and be deposited into the ILT Recovery Fund. Following the dissolution
of the Priority Reserve, any Cash that was held in the Priority Reserve shall be deemed Available
Cash and be allocated in accordance with Section 5.14 of this Plan.

                             (b) Surplus Reserved Cash from Trust Operating Reserves. Prior
to the dissolution of the Insys Liquidation Trust and the Victims Restitution Trust, the Liquidating
Trustee shall determine, on each six (6) month anniversary of the Effective Date, whether the
amounts available in the Trust Operating Reserves are in excess of the amounts necessary to satisfy
the purpose for which such reserves were established. If the Liquidating Trustee, in consultation
with the VRT Claims Administrator, determines that a surplus exists in either Trust Operating
Reserve as of the date of such determination, such Surplus Reserved Cash shall be allocated (i)
first, to the Priority Reserve to the extent such reserve is insufficiently funded to satisfy the purpose



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for which such reserve was established, with such allocation of Surplus Reserved Cash to be in the
discretion of the Liquidating Trustee, and (ii) second, contributed to the ILT Recovery Fund (if
the surplus relates to the Insys Liquidation Trust) or to the VRT Recovery Fund (if the surplus
relates to the Victims Restitution Trust).

                   5.16    Charters; By-Laws.

                       To the extent necessary or appropriate, the charters, by-laws, and other
organizational documents of the Debtors shall be amended, or amended and restated as necessary,
in a manner consistent with section 1123(a)(6) of the Bankruptcy Code, if applicable, and the terms
of this Plan.

                   5.17    Merger; Dissolution; Consolidation.

                        On or after the date(s) upon which the Trusts are established, the
Liquidating Debtors or the Liquidating Trustee may, subject to the terms of the Plan and the
Liquidating Debtors’ Organizational Documents, cause any or all of the Liquidating Debtors to be
merged into one or more of the Liquidating Debtors, dissolved, or otherwise consolidated, and
engage in any other transaction in furtherance of the Plan. Notwithstanding the foregoing, on the
Dissolution Date (which is to be no later than thirty (30) days after completion of the acts required
of the Debtors or the Liquidating Debtors by Article V of this Plan, or as soon as reasonably
practicable thereafter), each Liquidating Debtor shall be deemed dissolved for all purposes without
the necessity for any other or further actions to be taken by or on behalf of each Liquidating Debtor;
provided, however, that each Liquidating Debtor, or the Liquidating Trustee, as applicable, shall
file with the office of the Secretary of State, or other appropriate office for the state of its
organization, a certificate of cancellation or dissolution. Upon the liquidation and dissolution of
any Liquidating Debtor, any proceeds thereof shall be treated as Available Cash and allocated in
accordance with Section 5.14.

                   5.18    Closing of Chapter 11 Cases.

                      After a Debtor’s Estate has been fully administered, the Liquidating Trustee
shall seek authority from the Bankruptcy Court to close the applicable Chapter 11 Case in
accordance with the Bankruptcy Code and Bankruptcy Rules.

                   5.19    Equitable Subordination under Bankruptcy Code 510(c).

                        The Plan will be deemed to constitute a motion to equitably subordinate,
under Section 510(c) of the Bankruptcy Code, to the extent such Claims are not Disallowed, the
510(c) Subordinated Claims, being those of those Persons who engaged in, or aided and abetted,
or whose claim arises from (including Claims arising from representing any individual who
engaged in), any act or omission that constitutes criminal conduct, fraud, willful misconduct, or
other wrongful or inequitable conduct in connection with the sale, distribution, and marketing of
SUBSYS® (or on behalf of such persons, including Claims for indemnification, repayment or
advancement of fees and expenses, including legal defense fees and expenses). The Confirmation
Order shall contain findings supporting the conclusions providing for equitable subordination of
such Claims for the purposes of Distribution on the terms set forth in Section 4.11 of this Plan.
Subject to the Solicitation Procedures Order, each holder of a 510(c) Subordinated Claim shall be


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provided a notice informing each such holder of the proposed treatment under the Plan of his or
her Claim and affording him or her the opportunity to object to such treatment or to the
classification of his or her Claim as a 510(c) Subordinated Claim.

ARTICLE VI         DISTRIBUTIONS.

                   6.1      Distributions Generally.

                       The Disbursing Agent shall make all Distributions to the appropriate
holders of Allowed Claims and in accordance with the terms of this Plan. Except as otherwise
provided herein, Distributions under this Plan shall be made only to the holders of Allowed Claims.

                 6.2    Distributions on the Effective Date or as Soon as Reasonably
Practicable Thereafter.

                       The Disbursing Agent shall make Distributions, as applicable, on the
Effective Date or as soon as reasonably practicable thereafter, of Cash on the Effective Date:

                          (a) to holders of (i) Allowed Administrative Expense Claims,
including Professional Fee Claims, (ii) Allowed Secured Claims, and (iii) Allowed Priority Claims,
each to the extent Allowed as of the Effective Date;

                          (b) to holders of Allowed Convenience Class Claims in accordance
with Sections 4.3 and 5.14 of this Plan; and

                          (c) to reserves or escrow accounts as necessary to fund the Priority
Reserve, the Professional Fee Escrow Account (including the transfer of the funds held in the
escrow account established pursuant to Paragraph 4 of the Interim Compensation Order as
described in Section 2.4 of this Plan), and the Trust Operating Reserves.

                   6.3      Periodic Distributions from Recovery Funds to Holders of Allowed
Claims.

                         The Disbursing Agent shall make periodic Distributions, as applicable:

                           (a) of Cash in the Priority Reserve to holders of (i) Allowed
Administrative Expense Claims, including Professional Fee Claims, (ii) Allowed Secured Claims,
and (iii) Allowed Priority Claims;

                            (b)   of Cash in the ILT Operating Reserve to pay ILT Operating
Expenses;

                            (c)   of Cash in the VRT Operating Reserve to pay VRT Operating
Expenses;

                          (d) on the Periodic Distribution Dates, of Cash in the ILT Recovery
Fund on account of Non-PI General Unsecured Claims in accordance with Sections 4.4 through
4.8 of this Plan (net of any costs and expenses, including taxes, of the ILT Recovery Fund);



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provided, however, that any Products Liability Insurance Proceeds in the ILT Recovery Fund shall
be designated solely for holders of Allowed State Claims and Allowed Municipality/Tribe Claims,
and upon an agreement reached pursuant to Section 4.8(c)(i) of this Plan to Municipality/Tribe
Claims, and distributed pursuant to Section 4.8(c) of this Plan;

                           (e) on the Periodic Distribution Dates, of (i) Products Liability
Insurance Proceeds in the VRT Recovery Fund to holders of Allowed Personal Injury Claims and
to the ILT Recovery Fund (designated solely for Distribution to holders of Allowed State Claims
and Allowed Municipality/Tribe Claims, and upon an agreement reached pursuant to Section
4.8(c)(i) of this Plan to Municipality/Tribe Claims), on the Pro Rata bases set forth in Sections
4.8(a) and 4.9(a) of this Plan and (ii) after all Allowed Claims in Class 9 have been paid in full,
any remaining Products Liability Insurance Proceeds in the VRT Recovery Fund to the ILT
Recovery Fund for the benefit of holders of Allowed State Claims and Allowed Municipality/Tribe
Claims and upon an agreement reached pursuant to Section 4.8(c)(i) of this Plan to
Municipality/Tribe Claims, in accordance with Section 4.8(a) herein; and

                           (f) of Available Cash on account of Allowed Convenience Class
Claims, if necessary, in accordance with Section 4.3(a) of this Plan.

                   6.4    Periodic Distributions to Disputed Claims Reserves.

                       From and after the date(s) upon which each Trust is established or as soon
as reasonably practicable thereafter, and until such time as all Disputed Claims have been
compromised and settled or determined by a Final Order of the Bankruptcy Court, the applicable
Liquidating Trustee shall, consistent with and subject to section 1123(a)(4) of the Bankruptcy
Code, with respect to each Class of General Unsecured Claims, retain from the applicable
Recovery Fund an aggregate amount equal to the Pro Rata share of each Distribution that would
have been made to holders of Disputed Claims in each applicable Class and allocate such amount
to the Disputed Claims Reserve for each applicable Class as if such Disputed Claims were Allowed
Claims, for each Claim in an amount equal to the least of (i) the filed amount of such Disputed
Claim, (ii) the amount determined by a Final Order of the Bankruptcy Court for purposes of fixing
the amount to be retained for such Disputed Claim, and (iii) such other amount as may be agreed
upon by the holder of such Disputed Claim and the Liquidating Trustee.

                   6.5    Periodic Distributions from Disputed Claims Reserves.

                       The Liquidating Trustee shall make distributions on the Periodic
Distribution Dates from the Disputed Claims Reserves to the applicable Recovery Fund for holders
of Allowed Claims against such Recovery Fund to the extent that, as a result of resolving Disputed
Claims, the funds in such Disputed Claims Reserve are greater than the total amounts required for
such Disputed Claims Reserves pursuant to Section 6.4 of this Plan. The Liquidating Trustee shall
make Distributions on the Periodic Distribution Dates from the applicable Recovery Fund to the
holders of Allowed Claims in accordance with Article IV of this Plan.

                   6.6    Date of Distributions.

                    In the event that any payment or act under the Plan is required to be made
or performed on a date that is not a Business Day, then the making of such payment or the


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performance of such act may be completed on the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

                   6.7     Disbursing Agent.

                       All Distributions under the Plan by the Insys Liquidation Trust or the
Victims Restitution Trust shall be made by the Disbursing Agent on and after the Effective Date
as provided herein. The Disbursing Agent shall be deemed to hold all property to be distributed
under this Plan in trust for the Persons entitled to receive the same. The Disbursing Agent shall
not hold an economic or beneficial interest in the property to be distributed under this Plan. The
Disbursing Agent shall not be required to give any bond or surety or other security for the
performance of its duties.

                   6.8     Rights and Powers of Disbursing Agent.

                        The Disbursing Agent shall be empowered to (i) effect all actions and
execute all agreements, instruments, and other documents necessary to perform its duties under
the Plan, (ii) make all Distributions contemplated by the Plan, (iii) employ professionals to
represent it with respect to its responsibilities, and (iv) exercise such other powers as may be vested
in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan or as deemed by
the Disbursing Agent to be necessary and proper to implement the provisions of the Plan.

                        The Disbursing Agent shall only be required to act and make Distributions
in accordance with the terms of the Plan and the applicable Trust Agreement and shall have no
liability for actions taken in accordance with the Plan and the applicable Trust Agreement or in
reliance upon information provided to it in accordance with the Plan or obligation or liability for
Distributions under the Plan to any party who does not hold an Allowed Claim at the time of
Distribution or who does not otherwise comply with the terms of the Plan; provided, however, that
the foregoing shall not affect the liability that otherwise would result from any such act or omission
to the extent such act or omission is determined by a Final Order to have constituted willful
misconduct, gross negligence, intentional fraud, or criminal conduct of any such Person.

                   6.9     Expenses of Disbursing Agent.

                      Except as otherwise ordered by the Bankruptcy Court, any reasonable fees
and expenses incurred by the Disbursing Agent on or after the Effective Date shall be paid in Cash
by the Insys Liquidation Trust from the ILT Operating Reserve.

                   6.10    Delivery of Distributions.

                        Subject to Bankruptcy Rule 9010, all distributions to any holder of an
Allowed Claim shall be made at the address of such holder (i) as set forth on the Schedules filed
with the Bankruptcy Court, (ii) on the books and records of the Debtors or their agents, as
applicable, unless the Debtors or the Liquidating Trustee has been notified in writing of a change
of address, including, without limitation, by filing of a proof of Claim by such holder that contains
an address for such holder that is different than the address of such holder as set forth in the
Schedules, or (iii) as applicable, as set forth in an agreement under Section 4.8(c)(i) of this Plan.



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                   6.11    Undeliverable and Unclaimed Distributions.

                       In the event that any Distribution to any holder of an Allowed Claim is
returned as undeliverable, no distribution to such holder shall be made unless and until the
Disbursing Agent has been notified of the then-current address of such holder, at which time or as
soon as reasonably practicable thereafter such distribution shall be made to such holder without
interest; provided, however, that all Distributions under the Plan that are unclaimed for a period of
six (6) months after the Distribution thereof shall be deemed unclaimed property under section
347(b) of the Bankruptcy Code and revest in either the Insys Liquidation Trust or the Victims
Restitution Trust, as applicable, and any entitlement of any holder of any Claims to such
Distributions shall be extinguished and forever barred.

                   6.12    Distribution Record Date.

                        As of the close of business on the Distribution Record Date, the Claims
register shall be closed. The Liquidating Trustee shall have no obligation to recognize any transfer
of any such Claims occurring after the close of business on the Distribution Record Date and shall
instead be entitled to recognize and deal, for all purposes under the Plan, with only those holders
of record as of the close of business on the Distribution Record Date.

                   6.13    Manner of Payment under Plan.

                       At the option of the Disbursing Agent, any Cash payment to be made
pursuant to the Plan may be made by a check or wire transfer or as otherwise required or provided
in the applicable Trust Agreement.

                   6.14    Minimum Cash Distributions.

                       The Disbursing Agent shall not be required to make any Distributions of
Cash less than $100, or such lower amount as determined by the Disbursing Agent in accordance
with the applicable Trust Agreement, to any holder of an Allowed Claim; provided, however, that
if any Distribution is not made pursuant to this Section, such Distribution shall be added to any
subsequent Distribution to be made on behalf of the holder’s Allowed Claims. The Disbursing
Agent shall not be required to make any final Distribution of Cash less than $25 to any holder of
an Allowed Claim. If the amount of any final Distribution to any holder of Allowed Claims would
be $25 or less, then such Distribution shall be made available for distribution to all holders of
Allowed Claims receiving final Distributions of at least $25.

                   6.15    Setoffs and Recoupment.

                     Subject to Section 2.2 and Sections 10.4 through 10.7 of the Plan, the
Liquidating Trustee may, but shall not be required to, setoff against, or recoup from, any Claim
and from any payments to be made pursuant to the Plan with respect to such Claim any claims of
any nature whatsoever (to the extent permitted by applicable law) that the Debtors or the
Liquidating Debtors may have against the claimant, but neither the failure to do so nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Debtors, the
Liquidating Debtors, or the Liquidating Trustee of any such Claim it may have against such
claimant.


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                   6.16   Distributions after Effective Date.

                      Distributions made after the Effective Date to holders of Disputed Claims
that are not Allowed Claims as of the Effective Date, but which later become Allowed Claims, or
upon an agreement reached pursuant to Section 4.8(c)(i) of this Plan, shall be deemed to have been
made on the Effective Date.

                   6.17   Interest and Penalties on Claims.

                        Unless otherwise provided for in the Plan, the Confirmation Order, or
required by applicable bankruptcy law, no holder of a Claim shall be entitled to interest accruing
on or after the Petition Date or penalties on any Claim. Any such interest or penalty component
of any such Claims, if Allowed, shall be paid only in accordance with section 726(b) of the
Bankruptcy Code.

                   6.18   Allocation of Distributions between Principal and Interest.

                         Except as otherwise required by law (as reasonably determined by the
Liquidating Trustee), distributions with respect to any Allowed Claims shall be allocated first to
the principal amount of such Allowed Claims (as determined for U.S. federal income tax purposes)
and, thereafter, to the remaining portion of such Allowed Claim, if any.

                   6.19   No Distribution in Excess of Amount of Allowed Claim.

                     Notwithstanding anything to the contrary in this Plan, no holder of an
Allowed Claim shall receive, on account of such Allowed Claim, Distributions in excess of the
Allowed amount of such Claim when combined with amounts received by such holders from other
sources.

                   6.20   Satisfaction of Claims.

                         Unless otherwise provided herein, the Distributions and deliveries to be
made on account of Allowed Claims under this Plan shall, in the aggregate, be in complete and
final satisfaction, settlement, and discharge of, and exchange for, such Allowed Claims.

                   6.21   Withholding and Reporting Requirements.

                            (a) Withholding Rights. In connection with the Plan, and all
instruments or Interests issued in connection therewith and in consideration thereof, any party
issuing any instrument or making any distribution described in the Plan shall comply with all
applicable withholding and reporting requirements imposed by any federal, state, or local taxing
authority, and all distributions pursuant to the Plan and all related agreements shall be subject to
any such withholding or reporting requirements. In the case of a non-Cash distribution that is
subject to withholding, the distributing party may withhold an appropriate portion of such
distributed property and either (i) sell such withheld property to generate Cash necessary to pay
over the withholding tax (or reimburse the distributing party for any advance payment of the
withholding tax), or (ii) pay the withholding tax using its own funds and retain such withheld
property. Any amounts withheld pursuant to the preceding sentence shall be deemed to have been


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distributed to, and received by, the applicable recipient for all purposes of the
Plan. Notwithstanding the foregoing, each holder of an Allowed Claim or any other Person that
receives a distribution pursuant to the Plan shall have responsibility for any taxes imposed by any
Governmental Unit, including, without limitation, income, withholding, and other taxes, on
account of such distribution. In the event that any party issues any instrument or makes any non-
Cash distribution pursuant to the Plan that is subject to withholding tax and such issuing or
distributing party has not sold such withheld property to generate Cash to pay the withholding tax,
or paid the withholding tax using its own funds and retains such withheld property as described
above, such issuing or distributing party has the right, but not the obligation, to not make a
distribution until such holder has made arrangements reasonably satisfactory to such issuing or
disbursing party for payment of any such tax obligations.

                           (b) Forms. Any party entitled to receive any property as an issuance
or Distribution under the Plan shall, upon request, deliver to the Disbursing Agent or such other
Person designated by the Liquidating Debtors, the Liquidating Trustee, the ILT Claims Arbiter, or
the VRT Claims Administrator (which Person shall subsequently deliver to the Disbursing Agent
or such other Person any applicable IRS Form W-8 or Form W-9 received) an appropriate Form
W-9 or Form W-8, as applicable, and any other forms or documents reasonably requested by the
Liquidating Debtors, the Liquidating Trustee, the ILT Claims Arbiter, or the VRT Claims
Administrator to reduce or eliminate any withholding required by any federal, state, or local taxing
authority. If any such request is made by the Liquidating Debtors, the Liquidating Trustee, the
ILT Claims Arbiter, or the VRT Claims Administrator, the Disbursing Agent, or such other Person
designated by the Liquidating Debtors, the Liquidating Trustee, the ILT Claims Arbiter, or the
VRT Administrator, and the holder fails to comply before the date that is three hundred sixty-five
(365) calendar days after the request is made, the amount of such Distribution shall irrevocably
revert to the applicable Trust and any Claim with respect to such Distribution shall be discharged
and forever barred from assertion against the applicable Trust or its property.

                            (c) Obligation. Notwithstanding the above, each holder of an
Allowed Claim that is to receive a Distribution under this Plan shall have the sole and exclusive
responsibility for the satisfaction and payment of any tax obligations imposed on such holder by
any Governmental Unit, including income, withholding, and other tax obligations, on account of
such distribution.

ARTICLE VII        PROCEDURES FOR DISPUTED CLAIMS.

                   7.1    Claim Objections.

                      On or after the Effective Date, except as otherwise provided herein and in
the Plan Supplement, objections to Claims against the Debtors may be interposed and prosecuted
only by the Liquidating Trustee, the ILT Claims Arbiter, or the VRT Claims Administrator, as
applicable. Except as otherwise provided in Section 2.2 of this Plan with respect to Administrative
Expense Claims, any objections to Claims shall be served on the respective Claim holder and filed
with the Bankruptcy Court (i) on or before one-hundred eighty (180) days following the later of
(a) the Effective Date and (b) the date that a proof of Claim is filed or amended or a Claim is




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otherwise asserted or amended in writing by or on behalf of a holder of such Claim, or (ii) on such
later date as may be fixed by the Bankruptcy Court.

                   7.2    No Distribution Pending Allowance.

                      Notwithstanding any other provision in the Plan, if any portion of a Claim
is Disputed, no payment or Distribution provided under the Plan shall be made on account of such
Claim unless and until such Disputed Claim becomes an Allowed Claim.

                   7.3    Estimation of Claims.

                       The Liquidating Trustee may, at any time, request that the Bankruptcy Court
estimate, pursuant to section 502(c) of the Bankruptcy Code, any Disputed Claim, other than a
Personal Injury Claim or a Claim subject to determination by the ILT Claims Arbiter, that the
Bankruptcy Court has jurisdiction to estimate in accordance with the Bankruptcy Code or other
applicable law regardless of whether an objection was previously filed with the Bankruptcy Court
with respect to such Claim, or whether the Bankruptcy Court has ruled on any such objection, and
the Bankruptcy Court shall retain jurisdiction to estimate any Claim at any time during litigation
concerning any objection to any Claim, including during the pendency of any appeal relating to
any such objection. If the Bankruptcy Court estimates a Disputed Claim, that estimated amount
shall constitute either the Allowed amount of such Claim, the amount used to determine the
Disputed Claims Reserve, or a maximum limitation on such Claim, as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation on such Claim, the
Liquidating Trustee may elect to pursue any supplemental proceeding to object to any ultimate
Distribution on account of such Claim.

                   7.4    Distribution after Allowance.

                       On the first Distribution Date following the date on which a Disputed Claim
becomes an Allowed Claim against a Debtor, the Disbursing Agent shall remit to the respective
Recovery Fund, for Distribution to the holder of such Allowed Claim, the Cash or Cash equivalents
retained in the applicable Disputed Claims Reserve in an amount equal to the amount that would
have been distributed to the holder of such Claim from the Effective Date through and including
the Distribution Date had such Claim been Allowed as of the Effective Date (net of any costs and
expenses, including taxes, of the applicable Disputed Claims Reserve).

                   7.5    Resolution of Claims.

                       Except as expressly provided herein or in any order entered in the Chapter
11 Cases before the Effective Date, including the Confirmation Order, the Trusts, Liquidating
Trustee, the ILT Claims Arbiter, and the VRT Claims Administrator (on or after the date(s) upon
which each Trust is established) shall have and retain any and all rights and defenses held by the
Debtors with respect to any Claim as of the Petition Date. On and after the date(s) upon which the
Trusts are established, in accordance with the Plan and the Trust Agreements, the Liquidating
Trustee shall have the authority to compromise, settle, otherwise resolve, or withdraw any
objections to Claims (other than Personal Injury Claims) against the Debtors and the Liquidating
Debtors and to compromise, settle, or otherwise resolve any Disputed Claims (other than Personal
Injury Claims) without approval of the Bankruptcy Court. The VRT Claims Administrator shall


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have the sole authority to resolve Personal Injury Claims in accordance with the Claims Analysis
Protocol, without approval of the Bankruptcy Court. If the Liquidating Trustee and a holder of a
Disputed Claim are unable to reach a settlement on the Disputed Claim, such Disputed Claim shall
be submitted to the Bankruptcy Court for resolution. If any holder of a Personal Injury Claim
disputes the decision made by the VRT Claims Administrator with respect to the allowance of its
Claim, such holder shall have thirty (30) days to submit any new facts, information, or evidence
to the VRT Claims Administrator, and the VRT Claims Administrator shall consider any such new
facts, information, or evidence, after which the VRT Claims Administrator will make a final
determination, which shall be binding.

                   7.6     Property Held in Disputed Claims Reserves.

                       Each holder of a Disputed Claim that ultimately becomes an Allowed Claim
shall have recourse only to the undistributed applicable Available Cash held in the Disputed
Claims Reserves for satisfaction of the Distributions to which holders of Allowed Claims are
entitled under the Plan (net of any costs and expenses, including taxes, of the applicable Disputed
Claims Reserve), and not against the Debtors, the Liquidating Debtors, their property (including
reserves), or any assets previously distributed on account of any Allowed Claim.

                   7.7     Claims Resolution Procedures Cumulative.

                        All of the objection, estimation, settlement, and resolution procedures set
forth in this Plan are intended to be cumulative and not exclusive of one another. Claims may be
established and subsequently settled, compromised, withdrawn, or resolved in accordance with
this Plan by any mechanism approved by the Bankruptcy Court.

                   7.8     No Postpetition Interest.

                      Unless otherwise specifically provided for in the Plan, the Confirmation
Order, or required by applicable bankruptcy law, postpetition interest shall not accrue or be paid
on any Claims, and no holder of a Claim shall be entitled to interest accruing on or after the Petition
Date on any Claim. Interest shall not accrue or be paid upon any Disputed Claim with respect to
the period from the Effective Date to the date a Distribution is made thereon, on and after such
Disputed Claim becomes an Allowed Claim.

ARTICLE VIII EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                   8.1     Assumption and Rejection of Executory Contracts and Unexpired
Leases.

                           (a) As of and subject to the occurrence of the Effective Date, except
as otherwise provided in the Plan, each executory contract and unexpired lease of the Debtors not
previously assumed, rejected, or assumed and assigned by the Debtors during the Chapter 11 Cases
shall be deemed automatically rejected pursuant to sections 365 and 1123 of the Bankruptcy Code,
unless such executory contract or unexpired lease (i) is listed on the Schedule of Assumed and
Assigned Contracts or (ii) as of the Effective Date is subject to a pending motion to assume, reject,
or assume and assign such executory contract or unexpired lease.



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                            (b) Subject to the occurrence of the Effective Date, the payment of
any applicable Cure Amount, and the resolution of any Cure Dispute, the entry of the Confirmation
Order by the Bankruptcy Court shall constitute approval of the rejections, assumptions, and
assumptions and assignments provided for in the Solicitation Procedures Order and in this Plan
pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Unless otherwise indicated or
provided in a separate order of the Bankruptcy Court, rejections or assumptions or assumptions
and assignments of executory contracts and unexpired leases pursuant to the Solicitation
Procedures Order and this Plan are effective as of the Effective Date. Each executory contract and
unexpired lease assumed pursuant to this Plan or by order of the Bankruptcy Court shall be
assigned to a Trust on the date such Trust is established or as soon as reasonably practicable
thereafter, and shall vest in, and be fully enforceable by, the applicable Trust in accordance with
its terms, except as modified by the provisions of this Plan, any order of the Bankruptcy Court
authorizing and providing for its assumption, or applicable law.

                           (c) Unless otherwise provided herein or by separate order of the
Bankruptcy Court, each executory contract and unexpired lease that is assumed or assumed and
assigned shall include any and all modifications, amendments, supplements, restatements, or other
agreements made directly or indirectly by any agreement, instrument, or other document that in
any manner affects such executory contract or unexpired lease, without regard to whether such
agreement, instrument, or other document is listed in the Schedule of Assumed and Assigned
Contracts.

                          (d) Except as otherwise expressly set forth on the Schedule of
Assumed and Assigned Contracts, any contracts, engagement letters, retention agreements, and
similar arrangements, in each case between the Debtors and any attorneys, accountants, financial
advisors, investment bankers, or similar professionals, representatives, or advisors, have not been
included on the Schedule of Assumed and Assigned Contracts and shall not be treated under the
Plan as executory contracts subject to assumption, assumption and assignment, or rejection.
Counterparties to any such contracts, engagement letters, retention agreements, and similar
arrangements were required to file proofs of claim by the General Bar Date (as defined in the Bar
Date Order) and any Allowed Claims relating thereto shall be treated as Allowed Trade and Other
Unsecured Claims in Class 4.

                   8.2    Determination of Cure Disputes and Deemed Consent.

                          (a) The Debtors shall serve on all required parties, in accordance with
the Solicitation Procedures Order, notices of assumption and assignment of the Assumed and
Assigned Contracts, and shall file the Schedule of Assumed and Assigned Contracts with the Plan
Supplement. Such notices and the Schedule of Assumed and Assigned Contracts shall set forth
the associated Cure Claim for such contract proposed by the Debtors.

                          (b) Any counterparty to an executory contract or unexpired lease shall
have the time prescribed by the Solicitation Procedures Order to object to the Cure Claims listed
on the notice and to adequate assurance of future performance by the applicable Trust.

                         (c) To the extent a Cure Dispute is asserted in an objection filed in
accordance with the Solicitation Procedures Order, such Cure Dispute shall be scheduled for a



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hearing by the Bankruptcy Court. Following resolution of a Cure Dispute by Final Order of the
Bankruptcy Court, the applicable contract or lease shall be deemed assumed effective as of the
Effective Date; provided, however, that if any Claim subject to a Cure Dispute is Allowed in an
amount greater than the Cure Amount for such Claim listed on the Schedule of Assumed and
Assigned Contracts, the Debtors reserve the right to reject such executory contract or unexpired
lease for a period of seven (7) Business Days following entry of a Final Order of the Bankruptcy
Court resolving the applicable Cure Dispute by filing a notice indicating such rejection with the
Bankruptcy Court.

                          (d) To the extent any Cure Dispute with respect to an Assumed and
Assigned Contract has not been resolved prior to the Effective Date, the Debtors shall establish
the Disputed Cure Claims Reserve. Any amounts remaining in the Disputed Cure Claims Reserve
after the resolution and payment, if applicable, of all Disputed Cure Claims with respect to the
Assumed and Assigned Contracts, shall be included in the Priority Reserve.

                            (e) To the extent an objection is not timely filed and properly served
on the Debtors with respect to a Cure Dispute, then the counterparty to the applicable contract or
lease shall be deemed to have assented to (i) the Cure Amount proposed by the Debtors and (ii)
the assumption of such contract or lease, notwithstanding any provision thereof that (a) prohibits,
restricts, or conditions the transfer or assignment of such contract or lease, or (b) terminates or
permits the termination of a contract or lease as a result of any direct or indirect transfer or
assignment of the rights of the Debtors under such contract or lease or a change in the ownership
or control as contemplated by the Plan, and shall forever be barred and enjoined from asserting
such objection against the Debtors or terminating or modifying such contract or lease on account
of transactions contemplated by the Plan.

                           (f) With respect to payment of any Cure Amounts or Cure Disputes,
neither the Debtors, the Trusts, nor the Disbursing Agent shall have any obligation to recognize or
deal with any party other than the non-Debtor party to the applicable executory contract or
unexpired lease, even if such non-Debtor party has sold, assigned, or otherwise transferred its Cure
Claim.

                   8.3     Payments Related to Assumption of Contracts and Leases.

                        (a) Subject to resolution of any Cure Dispute, any monetary amounts
by which any Assumed and Assigned Contract is in default shall be satisfied, under section
365(b)(1) of the Bankruptcy Code, by the Debtors or the Trusts, as the case may be, upon
assumption thereof.

                           (b) Assumption and assignment of any Assumed and Assigned
Contract pursuant to the Plan, or otherwise, shall result in the full release and satisfaction of any
Claims or defaults, subject to satisfaction of the Cure Amount, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition
or other bankruptcy-related defaults, arising under any assumed executory contract or unexpired
lease at any time before the effective date of assumption and/or assignment. Any proofs of Claim
filed with respect to an executory contract or unexpired lease that has been assumed shall be




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deemed Disallowed and expunged, without further notice, or action, order or approval of the
Bankruptcy Court or any other Person.

                   8.4     Rejection Claims.

                        In the event that the rejection of an executory contract or unexpired lease
by any of the Debtors herein results in damages to the other party or parties to such contract or
lease, any Claim for such damages, if not heretofore evidenced by a timely filed proof of Claim,
shall be forever barred and shall not be enforceable against the Debtors or their Estates, properties
or interests in property, unless a proof of Claim is filed with the Bankruptcy Court and served upon
the Debtors no later than thirty (30) days after the later of (i) the Confirmation Date and (ii) the
effective date of the rejection of such executory contract or unexpired lease. Any such Claims, to
the extent Allowed, shall be classified as Trade and Other Unsecured Claims in Class 4. The
Confirmation Order shall constitute the Bankruptcy Court’s approval of the rejection of all the
leases and contracts that are rejected as of the Effective Date.

                   8.5     Survival of Debtors’ Indemnification Obligations.

                        Any obligations (including any limitations contained therein) of the Debtors
pursuant to their corporate charters, by-laws, limited liability company agreements, memorandum
and articles of association, or other organizational documents and agreements to indemnify
officers, directors, agents, or employees of the Debtors who were employed by the Debtors as of
the Petition Date with respect to all present and future actions, suits, and proceedings against the
Debtors or such officers, directors, agents, or employees based upon any act or omission for, or on
behalf of, the Debtors shall not be discharged, impaired, or otherwise affected by this Plan;
provided, however, for the avoidance of doubt, the Insys Liquidation Trust shall not (i) assume
indemnification obligations with respect to any parties on the Non-Released Parties Exhibit or (ii)
indemnify any Person to the extent indemnification is not available under any of the Debtors’
corporate charters, by-laws, limited liability company agreements, memorandum and articles of
association, or other organization documents and agreements. All indemnification obligations that
are assumed and assigned to the Insys Liquidation Trust shall be deemed and treated as Assumed
and Assigned Contracts under this Plan. Any Claim based on the Insys Liquidation Trust’s
assumption of the Debtors’ obligations described herein shall not be a Disputed Claim or subject
to any objection, in either case, by reason of section 502(e)(1)(B) of the Bankruptcy Code.

                   8.6     Compensation and Benefit Plans.

                       Except with respect to any benefit plans, policies, or programs (i) for which
the Debtors have received approval of the Bankruptcy Court to reject or terminate on or before the
Effective Date or (ii) that are subject to a pending motion to reject or terminate as of the
Confirmation Hearing, all employment and severance policies, and all compensation and benefit
plans, policies, and programs of the Debtors applicable to their respective employees, and non-
employee directors, including all savings plans, retirement plans, healthcare plans, disability plans,
severance benefit plans, incentive and bonus plans, and life and accidental death and
dismemberment insurance plans, are deemed to be, and shall be treated as, executory contracts
under this Plan and, on the Effective Date, shall be rejected by the Debtors pursuant to sections
365 and 1123 of the Bankruptcy Code.



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                       Any employment and severance policies; compensation and benefit plans,
policies, and programs; or life and accidental death and dismemberment insurance plans relating
or provided to a former employee of the Debtors who is retired as of the Effective Date shall be
rejected with respect to such former employee except to the extent prohibited by section 1114 of
the Bankruptcy Code.

                   8.7     Insurance Policies.

                            (a) On or prior to the Effective Date, the Debtors, with the consent of
the Creditors’ Committee (which shall not be unreasonably withheld), may fund an upfront
premium payment to purchase “tail insurance” to continue either or both of (i) the Debtors’ existing
directors’ and officers’ insurance and (ii) the fiduciary policy related to the Debtors’ 401(k) plan.

                          (b) On and after the Effective Date, all Insurance Policies and all
Products Liability Insurance Policies shall be deemed to be and treated as Assumed and Assigned
Contracts, and shall vest in the Insys Liquidation Trust and the Victims Restitution Trust,
respectively, and continue in full force and effect thereafter in accordance with their respective
terms such that the Liquidating Trustee and the VRT Claims Administrator, as applicable, shall
become and remain jointly and severally liable in full for all of the Debtors’ obligations under the
Insurance Policies and the Products Liability Insurance Policies, as applicable.

                   8.8     Reservation of Rights.

                             (a) Neither the exclusion nor the inclusion by the Debtors of any
contract or lease on any exhibit, schedule, or other annex to this Plan or in the Plan Supplement,
nor anything contained in this Plan, shall constitute an admission by the Debtors that any such
contract or lease is or is not an executory contract or unexpired lease or that the Debtors have any
liability thereunder.

                           (b) Except as explicitly provided in this Plan, nothing herein shall
waive, excuse, limit, diminish, or otherwise alter any of the defenses, claims, Causes of Action, or
other rights of the Debtors under any executory or non-executory contract or unexpired lease.

                          (c) Nothing in this Plan shall increase, augment, or add to any of the
duties, obligations, responsibilities, or liabilities of the Debtors under any executory or non-
executory contract or unexpired or expired lease, including the Insurance Policies.

                          (d) If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of its assumption under this Plan, the Debtors shall have thirty
(30) days following entry of a Final Order resolving such dispute to alter their treatment of such
contract or lease.




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ARTICLE IX         CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN
                   AND THE OCCURRENCE OF THE EFFECTIVE DATE.

                   9.1    Conditions Precedent to Confirmation.

                      Confirmation of the Plan shall not occur unless all of the following
conditions precedent have been satisfied:

                          (a) the Bankruptcy Court shall have entered the Confirmation Order
in form and substance reasonably acceptable to the Debtors and the Creditors’ Committee;

                           (b) the Confirmation Order shall include a finding by the Bankruptcy
Court that the Trust Assets shall be vested in the applicable Trust free and clear of all Claims,
Interests, Liens, other encumbrances, and liabilities of any kind, including rights or claims based
on any successor or transferee liabilities; and

                         (c) the Plan and the Plan Supplement, including any schedules,
documents, supplements and exhibits thereto, shall (i) be in form and substance reasonably
acceptable to the Debtors and the Creditors’ Committee and (ii) consistent with the other
provisions of this Plan.

                   9.2    Conditions Precedent to Effective Date.

                     The Effective Date shall not occur unless all of the following conditions
precedent have been satisfied:

                        (a) entry of the Confirmation Order by the Bankruptcy Court and such
Confirmation Order has not been stayed, modified, or vacated on appeal;

                             (b) all conditions precedent to the consummation of the Trust
Formation Transactions (other than effectiveness of the Plan) have been satisfied or waived by the
party or parties entitled to waive them in accordance with the terms of the Trust Agreements;

                          (c)   the Trust Agreements shall become effective in accordance with
the terms of this Plan;

                         (d) the Priority Reserve, the Professional Fee Escrow Account, and
the Trust Operating Reserves shall be fully funded;

                           (e) the Debtors shall have obtained all authorizations, consents,
regulatory approvals, ruling, or documents that are necessary to implement and effectuate the Plan;

                           (f) all actions, documents, and agreements necessary to implement
and effectuate the Plan shall have been effected or executed, in each case subject to the consent of
the Creditors’ Committee (which shall not be unreasonably withheld);

                         (g) all professional fees and expenses approved by the Bankruptcy
Court shall have been paid in full or amounts sufficient to pay such fees and expenses after the



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Effective Date have been placed in the Professional Fee Escrow Account, or otherwise contained
in a professional fee retainer, pending approval by the Bankruptcy Court; and

                          (h) the Administrative Expense Claim for Class 8(a) and Class 8(b)
described in Section 4.8(a) shall have been paid in accordance with instructions delivered to the
Debtors.

                   9.3    Waiver of Conditions Precedent.

                           (a) Each of the conditions precedent to confirmation of the Plan and
the occurrence of the Effective Date, other than Section 9.2(h), may be waived subject to the
written consent, which shall not be unreasonably withheld, of the Debtors or the Liquidating
Debtors (as applicable) and the Creditors’ Committee. If any such condition precedent is waived
pursuant to this Section and the Effective Date occurs, each party agreeing to waive such condition
precedent shall be estopped from withdrawing such waiver after the Effective Date or otherwise
challenging the occurrence of the Effective Date on the basis that such condition was not satisfied,
and the waiver of such condition precedent shall benefit from the “equitable mootness” doctrine.

                         (b) The stay of the Confirmation Order pursuant to Bankruptcy Rule
3020(e) shall be deemed waived by and upon entry of the Confirmation Order, and the
Confirmation Order shall take effect immediately upon its entry.

ARTICLE X          EFFECT OF CONFIRMATION.

                   10.1   Binding Effect.

                       Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code,
and subject to the occurrence of the Effective Date, on and after the entry of the Confirmation
Order, the provisions of this Plan shall bind every holder of a Claim against or Interest in any
Debtor and inure to the benefit of, and be binding on, such holder’s respective successors and
assigns, regardless of whether the Claim or Interest of such holder is impaired under this Plan and
whether such holder has accepted this Plan.

                   10.2   Pre-Confirmation Injunctions and Stays.

                       Unless otherwise provided in this Plan, all injunctions and stays arising
under or entered during the Chapter 11 Cases, whether under sections 105 or 362 of the Bankruptcy
Code or otherwise, and in existence on the date of entry of the Confirmation Order, shall remain
in full force and effect until the later of the Effective Date and the date indicated in the order
providing for such injunction or stay.

                       The restrictions imposed by the Stock Restrictions Order—including the
restriction on claiming a worthless stock deduction by any 50-percent shareholder of Insys
Therapeutics, Inc.—shall remain in full force and effect following the Effective Date, and for
periods on and after the Effective Date.




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                   10.3   Injunction against Interference with Plan.

                      Upon entry of the Confirmation Order, all holders of Claims and Interests
shall be enjoined from taking any actions to interfere with the implementation or consummation
of the Plan.

                   10.4   Plan Injunction.

                           (a) Except as otherwise provided in this Plan or in the
Confirmation Order, as of the entry of the Confirmation Order but subject to the occurrence
of the Effective Date, to the maximum extent permitted under applicable law, all Persons
who have held, hold, or may hold Claims or Interests are, with respect to any such Claim or
Interest, permanently enjoined after the entry of the Confirmation Order from:
(i) commencing, conducting, or continuing in any manner, directly or indirectly, any suit,
action, or other proceeding of any kind (including any proceeding in a judicial, arbitral,
administrative, or other forum) against or affecting, directly or indirectly, a Debtor or an
Estate or the property of any of the foregoing, or any direct or indirect transferee of any
property of, or direct or indirect successor in interest to, any of the foregoing Parties
mentioned in this subsection (i) or any property of any such transferee or successor; (ii)
enforcing, levying, attaching (including any prejudgment attachment), collecting, or
otherwise recovering in any manner or by any means, whether directly or indirectly, any
judgment, award, decree, or order against a Debtor or an Estate or its property, or any direct
or indirect transferee of any property of, or direct or indirect successor in interest to, any of
the foregoing Parties mentioned in this subsection (ii) or any property of any such transferee
or successor; (iii) creating, perfecting, or otherwise enforcing in any manner, directly or
indirectly, any encumbrance of any kind against a Debtor or an Estate or any of its property,
or any direct or indirect transferee of any property of, or successor in interest to, any of the
foregoing Persons mentioned in this subsection (iii) or any property of any such transferee
or successor; (iv) acting or proceeding in any manner, in any place whatsoever, that does not
conform to, or comply with, the provisions of this Plan; and (v) commencing or continuing,
in any manner or in any place, any action that does not comply, or is inconsistent, with the
provisions of this Plan; provided, however, that nothing contained herein shall preclude such
Parties who have held, hold, or may hold Claims against or Interests in a Debtor or an Estate
from exercising their rights, or obtaining benefits, pursuant to, and consistent with, the terms
of this Plan and the Plan Documents.

                          (b) All Persons, including all governmental, tax, and regulatory
authorities, lenders, trade creditors, dealers, customers, employees, litigation claimants, and
other creditors, holding Claims, Liens, Interests, charges, encumbrances, and other interests
of any kind or nature whatsoever, including rights or Claims based on any successor or
transferee liability, against or in a Debtor or the Trust Assets (whether legal or equitable,
secured or unsecured, matured or unmatured, contingent or noncontingent, known or
unknown), arising under or out of, in connection with, or in any way relating to the Debtors,
the Trust Assets, the operation of the Trust Assets prior to the Effective Date, or the Trust
Formation Transactions, are forever barred, estopped, and permanently enjoined from
asserting against the Released Parties, their respective successors and assigns, their property
or the Trust Assets, such Person’s Claims, Interests, Liens, charges, encumbrances, and



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other interests (including rights or Claims based on any successor or transferee liability),
including, without limitation, by: (i) commencing, conducting, or continuing in any manner,
directly or indirectly, any suit, action, or other proceeding of any kind (including any
proceeding in a judicial, arbitral, administrative, or other forum) against or affecting,
directly or indirectly, a Released Party, or any direct or indirect transferee of any property
of, or direct or indirect successor in interest to, any of the foregoing Persons mentioned in
this subsection (i) or any property of any such transferee or successor; (ii) enforcing, levying,
attaching (including any prejudgment attachment), collecting, or otherwise recovering in
any manner or by any means, whether directly or indirectly, any judgment, award, decree,
or order against a Released Party, or any direct or indirect transferee of any property of, or
direct or indirect successor-in-interest to, any of the foregoing Persons mentioned in this
subsection (ii) or any property of any such transferee or successor; (iii) creating, perfecting,
or otherwise enforcing any encumbrance of any kind or asserting any Released Claims in
any manner, directly or indirectly, against a Released Party or any of its property, or any
direct or indirect transferee of any property of, or successor in interest to, any of the
foregoing Persons mentioned in this subsection (iii) or any property of any such transferee
or successor; (iv) acting or proceeding in any manner, in any place whatsoever, that does not
conform to or comply with the provisions of this Plan; and (v) commencing or continuing, in
any manner or in any place, any action that does not comply with or is inconsistent with the
provisions of this Plan.

                          (c) By accepting Distributions pursuant to this Plan, each holder
of an Allowed Claim or Allowed Interest shall be bound by this Plan, including the
injunctions set forth in this Section.

                   10.5   Releases.

                          (a)   Releases by Debtors.

                      As of the Effective Date, for good and valuable consideration, the
adequacy of which is hereby confirmed, including, without limitation, the service of the
Released Parties before and during the Chapter 11 Cases to facilitate the liquidation of the
Debtors and the implementation of the Trust Formation Transactions, and except as
otherwise explicitly provided in the Plan or in the Confirmation Order, the Released Parties
shall be deemed conclusively, absolutely, unconditionally, irrevocably and forever released,
to the maximum extent permitted by law, as such law may be extended subsequent to the
Effective Date, by the Debtors and the Estates from any and all Claims, counterclaims,
disputes, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
Liens, remedies, losses, contributions, indemnities, costs, liabilities, attorneys’ fees and
expenses whatsoever, including any derivative claims, asserted or assertable on behalf of the
Debtors or their Estates (including any Causes of Action arising under chapter 5 of the
Bankruptcy Code), whether liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or
unaccrued, existing or hereinafter arising, whether in law or equity, whether sounding in
tort or contract, whether arising under federal or state statutory or common law, or any
other applicable international, foreign, or domestic law, rule, statute, regulation, treaty,
right, duty, requirement or otherwise, that the Debtors or their Estates would have been



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legally entitled to assert in their own right (whether individually or collectively) or on behalf
of the holder of any Claim or Interest or other Person, based on or relating to, or in any
manner arising from, in whole or in part, the Debtors, their Estates, the Chapter 11 Cases,
the purchase, sale, or rescission of the purchase or sale of any security of the Debtors, the
subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated in the Plan, the business or contractual arrangements between any Debtor and any
Released Party (including the exercise of any common law or contractual rights of setoff or
recoupment by any Released Party at any time on or prior to the Effective Date), the Trust
Formation Transactions, the restructuring of any Claim or Interest before or during the
Chapter 11 Cases, the Disclosure Statement, the Plan, and related agreements, instruments,
and other documents, and the negotiation, formulation, preparation or implementation
thereof, the solicitation of votes with respect to the Plan, or any other act or omission;
provided, however, that the Debtors do not release, and the Insys Liquidation Trust shall
retain, Claims or Causes of Action arising out of, or related to, any act or omission of a
Released Party that is a criminal act or constitutes fraud, gross negligence, or willful
misconduct; provided, further, that the Debtors do not release, and the Insys Liquidation
Trust shall retain, Causes of Action against current or former employees of the Debtors
related to any key employee retention plan (or any other retention or incentive plan)
agreements entered into between the Debtors and certain of their employees prior to the
Petition Date, or any Claims or Causes of Action arising out of chapter 5 of the Bankruptcy
Code related to the key employee retention plan (or any other retention or incentive plan)
agreements. The Debtors, the Trusts, and any other newly-formed entities that shall be
continuing the Debtors’ businesses after the Effective Date shall be bound, to the same extent
the Debtors are bound, by the releases set forth in this Section. For the avoidance of doubt,
Claims or Causes of Action arising out of, or related to, any act or omission of a Released
Party prior to the Effective Date that is later found to be a criminal act or to constitute fraud,
gross negligence, or willful misconduct, including findings after the Effective Date, are not
released pursuant to this Section 10.5(a) of the Plan.

                          (b)   Releases by Holders of Claims and Interests.

                        As of the Effective Date, for good and valuable consideration, the
adequacy of which is hereby confirmed, including, without limitation, the service of the
Released Parties before and during the Chapter 11 Cases to facilitate the liquidation of the
Debtors and the implementation of the Trust Formation Transactions, and except as
otherwise explicitly provided in the Plan or in the Confirmation Order, the Released Parties
shall be deemed conclusively, absolutely, unconditionally, irrevocably and forever released,
to the maximum extent permitted by law, as such law may be extended subsequent to the
Effective Date, except as otherwise explicitly provided herein, by (i) the holders of all Claims
who vote to accept the Plan, (ii) the holders of all Claims that are Unimpaired under the
Plan, (iii) the holders of all Claims whose vote to accept or reject the Plan is solicited but who
(a) do not vote either to accept or to reject the Plan and (b) do not opt out of granting the
releases set forth herein, (iv) the holders of all Claims or Interests who vote, or are deemed,
to reject the Plan but do not opt out of granting the releases set forth herein, and (v) all other
holders of Claims and Interests to the maximum extent permitted by law, in each case from
any and all Claims, counterclaims, disputes, obligations, suits, judgments, damages,
demands, debts, rights, Causes of Action, Liens, remedies, losses, contributions, indemnities,


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costs, liabilities, attorneys’ fees and expenses whatsoever, including any derivative claims,
asserted or assertable on behalf of the Debtors or their Estates (including any Causes of
Action arising under chapter 5 of the Bankruptcy Code), whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether in law
or equity, whether sounding in tort or contract, whether arising under federal or state
statutory or common law, or any other applicable international, foreign, or domestic law,
rule, statute, regulation, treaty, right, duty, requirement or otherwise, that such holders or
their estates, affiliates, heirs, executors, administrators, successors, assigns, managers,
accountants, attorneys, representatives, consultants, agents, and any other Persons or parties
claiming under or through them would have been legally entitled to assert in their own right
(whether individually or collectively) or on behalf of the holder of any Claim or Interest or
other Person, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (as such entities existed prior to or after the Petition Date), their Estates, the Chapter
11 Cases, the purchase, sale, or rescission of the purchase or sale of any security of the
Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated in the Plan, the business or contractual arrangements or interactions
between any Debtor and any Released Party (including the exercise of any common law or
contractual rights of setoff or recoupment by any Released Party at any time on or prior to
the Effective Date), the Trust Formation Transactions, the restructuring of any Claim or
Interest before or during the Chapter 11 Cases, the Disclosure Statement, the Plan and
related agreements, instruments, and other documents, and the negotiation, formulation,
preparation or implementation thereof, the solicitation of votes with respect to the Plan, or
any other act or omission, other than Claims or Causes of Action arising out of, or related
to, any act or omission of a Released Party that constitutes fraud, gross negligence or willful
misconduct. For the avoidance of doubt, Claims or Causes of Action arising out of, or related
to, any act or omission of a Released Party prior to the Effective Date that is later found to
be a criminal act or to constitute fraud, gross negligence, or willful misconduct, including
findings after the Effective Date, are not released pursuant to this Section 10.5(b) of the Plan.

                     Notwithstanding anything herein to the contrary, the Debtors shall not
be released from liability for any Claim that is or may be covered by any Insurance Policies
or Products Liability Insurance Policies; provided, however, that any recovery for any such
Claim, including by way of settlement or judgment, shall be limited to the available
Insurance Proceeds and Products Liability Insurance Proceeds, and that no person or party
shall execute, garnish, or otherwise attempt to collect any such recovery from any assets
other than the available Insurance Proceeds and Products Liability Insurance Proceeds,
except to the extent necessary to trigger any Insurance Company’s or Products Liability
Insurance Company’s obligations to pay such Insurance Proceeds or Products Liability
Insurance Proceeds. The Debtors shall be released automatically from a Claim described in
this paragraph only upon the earlier of (i) the abandonment of such Claim, (ii) such a release
being given as part of a settlement or other resolution of such Claim, or (iii) exhaustion of
the available Insurance Proceeds or Products Liability Insurance Proceeds, as applicable.




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                   10.6    Exculpation.

                       To the maximum extent permitted by applicable law, no Exculpated Party
shall have or incur, and each Exculpated Party is hereby released and exculpated from, any Claim,
obligation, suit, judgment, damage, demand, debt, right, Cause of Action, remedy, loss, and
liability for any Claim in connection with, or arising out of, the administration of the Chapter 11
Cases; the negotiation and pursuit of the Disclosure Statement (including any information
provided, or statements made, in the Disclosure Statement or omitted therefrom), the Trust
Formation Transactions, the Plan, and the solicitation of votes for, and confirmation of, the Plan;
the funding of the Plan; the occurrence of the Effective Date; the administration of the Plan and
the property to be distributed under the Plan; the wind-down of the Debtors; the issuance of
securities under or in connection with the Plan; and the transactions in furtherance of any of the
foregoing; other than Claims or Causes of Action arising out of, or related to, any act or omission
of an Exculpated Party that is a criminal act or constitutes fraud, gross negligence, or willful
misconduct. This exculpation shall be in addition to, and not in limitation of, all other releases,
indemnities, exculpations, and any other applicable law or rules protecting such Exculpated Parties
from liability. For the avoidance of doubt, this Section 10.6 shall not exculpate or release any
Exculpated Party with respect to any act or omission of such Exculpated Party prior to the Effective
Date that is later found to be a criminal act or to constitute fraud, gross negligence, or willful
misconduct, including findings after the Effective Date.

                   10.7    Injunction Related to Releases and Exculpation.

                       Pursuant to section 1141(d)(3) of the Bankruptcy Code, confirmation of the
Plan will not discharge the Debtors; provided, however, that upon confirmation of this Plan and
the occurrence of the Effective Date, the holders of Claims and Interests may not seek payment or
recourse against or otherwise be entitled to any distribution from the Estate or the Trusts except as
expressly provided in the Plan.

                         To the maximum extent permitted under applicable law, the Confirmation
Order shall permanently enjoin the commencement or prosecution by any Person, whether directly,
derivatively, or otherwise, of any Claims, including, without limitation, Interests, Liens, charges,
encumbrances, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
and liabilities, released or exculpated in this Plan.

                      Subject to section 4.7, above, the Release and Injunction provisions
contained herein and the Confirmation Order shall not bar the United States from pursuing,
continuing, or enforcing any police or regulatory action, except as otherwise provided by any
settlement or agreement between the United States and any Debtor. For the avoidance of
doubt, nothing contained in this Plan, including the preceding sentence and section 4.7,
above, shall affect the liability of any non-Debtor arising from any order providing for
criminal restitution or forfeiture.

                      Moreover, nothing in this Plan, the Plan Documents, or the
Confirmation Order shall release any non-Debtor, including any Released Parties, from any
liability or obligation to the United States, nor shall anything in this Plan, the Plan
Documents, or the Confirmation Order enjoin the United States from bringing any claim,



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suit, action or other proceeding against any non-Debtor, including but not limited to, any
suits, actions or proceedings arising under the Internal Revenue Code, environmental laws,
Subchapter III of Chapter 37 of Title 31 of the United States Code, Chapter 176 of Title 28
of the United States Code, and any criminal laws. For the avoidance of doubt, (i) nothing in
this paragraph modifies the exculpation provisions in section 10.6, supra, and (ii) nothing in
this Plan, the Plan Documents, or the Confirmation Order shall enjoin, limit or preclude the
United States in any manner, directly or indirectly, from attaching or levying monies or
assets in the possession of, or enforcing and collecting any debt or judgment owed by any
non-Debtor.

                   10.8    Subordinated Claims.

                        The allowance, classification, and treatment of all Allowed Claims and
Allowed Interests and the respective distributions and treatments thereof under this Plan take into
account and conform to the relative priority and rights of the Claims and Interests in each Class in
connection with contractual, legal, and equitable subordination rights relating thereto, whether
arising under general principles of equitable subordination, sections 510(a), 510(b), or 510(c) of
the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors
reserve the right to reclassify any Allowed Claim or Allowed Interest in accordance with any
contractual, legal, or equitable subordination relating thereto.

                   10.9    Preservation of Causes of Action and Reservation of Rights.

                        The Insys Liquidation Trust or Victims Restitution Trust, as applicable,
shall have the right to prosecute any and all Causes of Action that have not been waived pursuant
to this Plan or purchased by any of the purchasers of the Debtors’ Assets. Pursuant to section
1123(b) of the Bankruptcy Code, except as expressly provided in Sections 10.4 through 10.7 of
this Plan, nothing contained in this Plan or the Confirmation Order shall be deemed to be a waiver
or relinquishment of any rights, Claims, Causes of Action, rights of setoff or recoupment, or other
legal or equitable defenses that the Debtors had immediately before the Effective Date on behalf
of the Estates or of themselves in accordance with any provision of the Bankruptcy Code or any
applicable nonbankruptcy law, including but not limited to any actions specifically enumerated in
the Schedule of Retained Causes of Action to be filed as part of the Plan Supplement. Subject to
Sections 10.4 through 10.7 of this Plan, all such Claims, Causes of Action, rights of setoff or
recoupment, or other legal or equitable defenses shall be transferred to the Insys Liquidation Trust
or the Victims Restitution Trust, as applicable, which shall have, retain, reserve, and be entitled to
assert all such Claims, Causes of Action, rights of setoff, or recoupment, and other legal or
equitable defenses as fully as if the Chapter 11 Cases had not been commenced, and all of the
Debtors’ and the Liquidating Debtors’ legal and equitable rights with respect to any Claim or
Interest may be asserted after the Effective Date to the same extent as if the Chapter 11 Cases had
not been commenced.

                   10.10 Ipso Facto and Similar Provisions Ineffective.

                        Any term of any policy, contract, or other obligation applicable to a Debtor
shall be void and of no further force or effect with respect to any Debtor to the extent such policy,
contract, or other obligation is conditioned on, creates an obligation of the Debtor as a result of, or



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gives rise to a right of any Person based on any of the following: (i) the insolvency or financial
condition of a Debtor; (ii) the commencement of the Chapter 11 Cases; (iii) the confirmation or
consummation of this Plan, including any change of control that shall occur as a result of such
consummation; or (iv) the Trust Formation Transactions.

                   10.11 No Successor Liability.

                        Except as otherwise expressly provided in this Plan and the Confirmation
Order, each of the Trusts (i) is not, and shall not be deemed to assume, agree to perform, pay, or
otherwise have any responsibilities for any liabilities or obligations of the Debtors or any other
Person relating to or arising out of the operations or the assets of the Debtors on or prior to the
Effective Date; (ii) is not, and shall not be, a successor to the Debtors by reason of any theory of
law or equity or responsible for the knowledge or conduct of any Debtor prior to the Effective
Date; and (iii) shall not have any successor or transferee liability of any kind or character.

ARTICLE XI         RETENTION OF JURISDICTION.

                   11.1    Retention of Jurisdiction.

                           (a) Without limiting or modifying the Bankruptcy Court’s exclusive
jurisdiction, if any, under applicable law, the Bankruptcy Court shall retain jurisdiction of all
matters arising under, arising out of, or related to, the Chapter 11 Cases and the Plan pursuant to,
and for the purposes of, sections 105(a) and 1142 of the Bankruptcy Code and for, among other
things, the following purposes:

                   (i)     to hear and determine applications for the assumption or rejection of
                           executory contracts or unexpired leases and any disputes over Cure
                           Amounts resulting therefrom;

                   (ii)    to determine any motion, adversary proceeding, application, contested
                           matter, and other litigated matter pending on, or commenced after, entry
                           of the Confirmation Order;

                   (iii)   to hear and resolve any disputes arising from or related to (i) any orders
                           of the Bankruptcy Court granting relief under Bankruptcy Rule 2004 or
                           (ii) any protective orders entered by the Bankruptcy Court in connection
                           with the foregoing;

                   (iv)    to ensure that Distributions to holders of Allowed Claims are
                           accomplished as provided in this Plan and the Confirmation Order;

                   (v)     to consider Claims or the allowance, classification, priority,
                           compromise, estimation, or payment of any Claim, including any
                           Administrative Expense Claim;

                   (vi)    to enter, implement, or enforce such orders as may be appropriate in the
                           event that the Confirmation Order is, for any reason, stayed, reversed,
                           revoked, modified, or vacated;


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                   (vii)   to issue and enforce injunctions, enter and implement other orders, and
                           take such other actions as may be necessary or appropriate to restrain
                           interference by any Person with the consummation, implementation, or
                           enforcement of this Plan, the Confirmation Order, or any other order of
                           the Bankruptcy Court;

                   (viii) to hear and determine any application to modify this Plan in accordance
                          with section 1127 of the Bankruptcy Code to remedy any defect or
                          omission or reconcile any inconsistency in this Plan, the Disclosure
                          Statement, or any order of the Bankruptcy Court, including the
                          Confirmation Order, in such a manner as may be necessary to carry out
                          the purposes and effects thereof;

                   (ix)    to hear and determine all Professional Fee Claims;

                   (x)     to resolve disputes concerning any reserves with respect to Disputed
                           Claims or the administration thereof;

                   (xi)    to hear and resolve disputes related to the Insurance Rights Transfer, the
                           Insurance Rights, the Products Liability Insurance Rights Transfer, and
                           the Products Liability Insurance Rights to the extent permitted under
                           applicable law;

                   (xii)   to hear and determine disputes arising in connection with the
                           interpretation, implementation, or enforcement of this Plan, the
                           Confirmation Order, any transactions or payments in furtherance of
                           either, or any agreement, instrument, or other document governing, or
                           related to, any of the foregoing;

                   (xiii) to take any action and issue such orders, including any such action or
                          orders as may be necessary after entry of the Confirmation Order or the
                          occurrence of the Effective Date, as may be necessary to construe,
                          enforce, implement, execute, and consummate this Plan, including any
                          release, exculpation, or injunction provisions set forth in this Plan, or to
                          maintain the integrity of this Plan following the occurrence of the
                          Effective Date;

                   (xiv)   to determine such other matters, and for such other purposes, as may be
                           provided in the Confirmation Order;

                   (xv)    to hear and determine any other matters related to the Chapter 11 Cases
                           and not inconsistent with the Bankruptcy Code or title 28 of the United
                           States Code;

                   (xvi)   to resolve any disputes concerning whether a Person had sufficient
                           notice of the Chapter 11 Cases, the Disclosure Statement, any
                           solicitation conducted in connection with the Chapter 11 Cases, any bar
                           date established in the Chapter 11 Cases, or any deadline for responding


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                           or objecting to a Cure Amount, in each case, for the purpose for
                           determining whether a Claim or Interest is discharged hereunder or for
                           any other purpose;

                   (xvii) to recover all Assets of the Debtors and property of the Estates,
                          wherever located;

                   (xviii) to hear and determine all matters relating to the Plan Settlement, to the
                           extent permitted under applicable law; and

                   (xix)   to enter a final decree closing each of the Chapter 11 Cases.

                            (b) The Bankruptcy Court shall retain jurisdiction of all matters
arising under, arising out of, or related to the Chapter 11 Cases and the Plan to, among other things,
hear and determine matters concerning state, local, and federal taxes in accordance with sections
346, 505, and 1146 of the Bankruptcy Code (including the expedited determination of taxes under
section 505(b) of the Bankruptcy Code).

                       To the extent that the Bankruptcy Court is not permitted under applicable
law to preside over any of the foregoing matters, the reference to the “Bankruptcy Court” in this
Article shall be deemed to be replaced by the “District Court.” Notwithstanding anything in this
Article to the contrary, the resolution of Non-PI General Unsecured Claims against the Debtors
and the forum in which such resolution shall be determined shall be governed by, and in
accordance with, the ILT Agreement, and the resolution of Personal Injury Claims against the
Debtors and the forum in which such resolution shall be determined shall be governed by, and in
accordance with, the VRT Agreement. Nothing contained in this Section shall expand the
exclusive jurisdiction of the Bankruptcy Court beyond that provided by applicable law.

ARTICLE XII        MISCELLANEOUS PROVISIONS.

                   12.1    Special Provisions for the United States.

                    Notwithstanding anything to the contrary herein, nothing in the Plan, the
Plan Documents or Confirmation Order:

                   (i)     discharges, releases, precludes, or enjoins (1) any liability to the United
                           States that is not a “claim” as defined in 11 U.S.C. § 101(5); (2) except
                           as otherwise agreed to by the United States, any claim of the United
                           States arising on or after the Effective Date; (3) any liability to the
                           United States under police and regulatory statutes or regulations that any
                           entity would be subject to as the owner or operator of property after the
                           Effective Date, except for (a) the Debtors’ liability on the DOJ Claims
                           and (b) as otherwise provided by any settlement or agreement by and
                           between any Debtor and the United States; or (4) any liability or
                           obligation to the United States, including secondary payer repayment
                           obligations, on the part of any Entity other than the Debtors, except for
                           any Claims that are exculpated herein. Nor shall anything in this Plan,
                           the Plan Documents or Confirmation Order enjoin or otherwise bar the


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                           United States from asserting or enforcing, outside of the Bankruptcy
                           Court, any liability described in the preceding sentence; provided,
                           however, that all parties’ rights and defenses under non-bankruptcy law
                           with respect to (1)–(4) above are fully preserved.

                   (ii)    authorizes the transfer or assignment of any governmental (a) license,
                           (b) permit, (c) registration, (d) authorization, or (e) approval, or the
                           discontinuation of any obligation thereunder, without compliance with
                           all applicable federal legal requirements and approvals under federal
                           police or regulatory law;

                   (iii)   affects any valid setoff or recoupment rights of the United States against
                           any of the Debtors; provided, however, that the Debtors and the Trusts
                           reserve all of their rights and defenses under applicable nonbankruptcy
                           law with respect thereto; for the avoidance of doubt, nothing in the Plan,
                           the Plan Documents, or the Confirmation Order shall bar the United
                           States from exercising its nonbankruptcy rights to offset any request for
                           a tax refund for a tax year ending prior to the Petition Date against any
                           prepetition claim of the United States government against any of the
                           Debtors;

                   (iv)    divests any tribunal of any jurisdiction it may have under federal police
                           or regulatory law to interpret the Confirmation Order or the Plan or to
                           adjudicate any defense asserted under the Confirmation Order or the
                           Plan.

                   12.2    Exemption from Certain Transfer Taxes.

                         To the maximum extent permitted pursuant to section 1146(a) of the
Bankruptcy Code, the assignment or surrender of any lease or sublease, or the delivery of any deed
or other instrument of transfer under, in furtherance of, or in connection with the Plan, including
any deeds, bills of sale, or assignments, or assignments executed in connection with any disposition
of assets contemplated by the Plan (including transfers of assets to and by the Insys Liquidation
Trust and the Victims Restitution Trust) shall not be subject to any document recording tax, stamp
tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales or use tax, mortgage
recording tax, or other similar tax or governmental assessment.

                   12.3    Dates of Actions to Implement Plan.

                     In the event that any payment or act under this Plan is required to be made
or performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on or as soon as reasonably practicable after the next
succeeding Business Day but shall be deemed to have been completed as of the required date.

                   12.4    Amendments.

                        (a) Plan Modifications. This Plan may be amended, modified, or
supplemented by the Debtors in the manner provided for by section 1127 of the Bankruptcy Code


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or as otherwise permitted by law, without additional disclosure pursuant to section 1125 of the
Bankruptcy Code, except as otherwise ordered by the Bankruptcy Court; provided, however, that
any such amendments, modifications, or supplements shall be made in accordance with the terms
of the Plan Settlement, and shall not be made without the reasonable consent of the Creditors’
Committee and the SMT Group Representatives solely with respect to any amendments,
modifications, or supplements that directly and materially adversely affect the SMT Group Claims
or the SMT Group Representatives, including, without limitation, with respect to governance
provisions in respect of the Trusts described herein. In addition, after the Confirmation Date, as
long as such action does not materially and adversely affect the treatment of holders of Allowed
Claims pursuant to this Plan, the Debtors may remedy any defect or omission or reconcile any
inconsistencies in this Plan or the Confirmation Order with respect to such matters as may be
necessary to carry out the purposes or effects of this Plan, and any holder of a Claim or Interest
that has accepted this Plan shall be deemed to have accepted this Plan as amended, modified, or
supplemented.

                           (b) Certain Technical Amendments. Prior to the Effective Date, the
Debtors, with the reasonable consent of the Creditors’ Committee, may make appropriate technical
adjustments and modifications to this Plan without further order or approval of the Bankruptcy
Court; provided, however, that such technical adjustments and modifications do not adversely
affect in a material way the treatment of holders of Claims or Interests under this Plan.

                   12.5   Revocation or Withdrawal of Plan.

                       The Debtors reserve the right to revoke or withdraw this Plan prior to the
Effective Date as to any or all of the Debtors. If, with respect to a Debtor, this Plan has been
revoked or withdrawn prior to the Effective Date, or if confirmation or the occurrence of the
Effective Date as to such Debtor does not occur on the Effective Date, then, with respect to such
Debtor: (i) this Plan shall be null and void in all respects; (ii) any settlement or compromise
embodied in this Plan (including the fixing or limiting to an amount any Claim or Interest or Class
of Claims or Interests), assumption or rejection of executory contracts or unexpired leases affected
by this Plan, and any document or agreement executed pursuant to this Plan shall be deemed null
and void; and (iii) nothing contained in this Plan shall (a) constitute a waiver or release of any
Claim by or against, or any Interest in, such Debtor or any other Person; (b) prejudice in any
manner the rights of such Debtor or any other Person; or (c) constitute an admission of any sort by
any Debtor or any other Person.

                   12.6   Payment of Statutory Fees.

                       All fees payable under section 1930 of chapter 123 of title 28 of the United
States Code shall be paid on or before the Effective Date by the Debtors. Quarterly fees owed to
the U.S. Trustee shall be paid when due in accordance with applicable law and the Debtors, the
Liquidating Debtors, or the Liquidating Trustee, as applicable, shall continue to file reports to
show the calculation of such fees for the Debtors’ Estates until the Chapter 11 Cases are closed
under section 350 of the Bankruptcy Code. Upon the formation of the Insys Liquidation Trust and
the transfer of the ILT Assets from the Debtors to the Insys Liquidation Trust, the Liquidating
Trustee shall pay all statutory quarterly fees to the U.S. Trustee with respect to each Debtor’s




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Estate until the earliest of such Debtor’s case closing, dismissal, or conversion to a case under
chapter 7 of the Bankruptcy Code.

                   12.7    Severability.

                         If, prior to entry of the Confirmation Order, any term or provision of this
Plan is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court,
at the request of the Debtors (with the consent of the Creditors’ Committee, which consent shall
not be unreasonably withheld), shall have the power to alter and interpret such term or provision
to make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term or
provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
alteration, or interpretation by the Bankruptcy Court, the remainder of the terms and provisions of
this Plan shall remain in full force and effect and shall in no way be affected, impaired, or
invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute
a judicial determination and shall provide that each term and provision of this Plan, as it may have
been altered or interpreted in accordance with this Section, is valid and enforceable pursuant to its
terms.

                   12.8    Governing Law.

                       Except to the extent that the Bankruptcy Code or other federal law is
applicable, or to the extent that a Plan Document provides otherwise, the rights, duties, and
obligations arising under this Plan and the Plan Documents shall be governed by, and construed
and enforced in accordance with, the internal laws of the State of New York, without giving effect
to the principles of conflicts of laws thereof (other than section 5-1401 and section 5-1402 of the
New York General Obligations Law).

                   12.9    Immediate Binding Effect.

                      Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise,
upon the occurrence of the Effective Date, the terms of this Plan and the Plan Documents shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of the
Debtors, the holders of Claims and Interests, the Released Parties, and each of their respective
successors and assigns.

                   12.10 Successors and Assigns.

                       The rights, benefits, and obligations of any Person named or referred to in
this Plan shall be binding on, and shall inure to the benefit of, any heir, executor, administrator,
successor, or permitted assign, if any, of each such Person.

                   12.11 Entire Agreement.

                     On the Effective Date, this Plan, the Plan Supplement, and the Confirmation
Order shall supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations concerning such documents, all of which have
become merged and integrated into this Plan.


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                      12.12 Computing Time.

                      In computing any period of time prescribed or allowed by this Plan, unless
otherwise set forth in this Plan or determined by the Bankruptcy Court, the provisions of
Bankruptcy Rule 9006 shall apply.

                      12.13 Exhibits to Plan.

                     All exhibits, schedules, supplements, and appendices to this Plan (including
the Plan Supplement) are incorporated into and are part of this Plan as if set forth in full herein.

                      12.14 Notices.

                       All notices, requests, and demands to or upon the Debtors or the Liquidating
Debtors, as applicable, shall be in writing (including by facsimile transmission) and, unless
otherwise provided herein, shall be deemed to have been duly given or made only when actually
delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

                   INSYS THERAPEUTICS, INC.
                   410 S. Benson Lane
                   Chandler, Arizona 85286
                   Attn: Robert Schwimmer, Esq.

                   – and –

                   WEIL, GOTSHAL & MANGES LLP
                   767 Fifth Avenue
                   New York, New York 10153
                   Attn: Gary T. Holtzer, Esq., Ronit J. Berkovich, Esq., Candace M. Arthur, Esq.,
                   and Brenda L. Funk, Esq.
                   Telephone: (212) 310-8000
                   Facsimile: (212) 310-8007

                   Attorneys for the Debtors
                   and Debtors in Possession

                   – and –

                   RICHARDS, LAYTON & FINGER, P.A.
                   920 N. King Street
                   Wilmington, Delaware 19801
                   Attn: John H. Knight (No. 3848) and Paul N. Heath (No. 3704)
                   Telephone: (302) 651-7700
                   Facsimile: (302) 651-7701

                   Attorneys for the Debtors
                   and Debtors in Possession



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                       All notices, requests, and demands to or upon the Creditors’ Committee,
shall be in writing (including by facsimile transmission) and, unless otherwise provided herein,
shall be deemed to have been duly given or made only when actually delivered or, in the case of
notice by facsimile transmission, when received and telephonically confirmed, addressed as
follows:

                   AKIN GUMP STRAUSS HAUER & FELD LLP
                   One Bryant Park
                   New York, NY 10036
                   Attn: Arik Preis and Mitchell P. Hurley
                   Email: apreis@akingump.com
                   Email: mhurley@akingump.com

                   Attorneys for the Creditors’ Committee

                   – and –

                   BAYARD, P.A.
                   600 N. King Street, Suite 400
                   Wilmington, Delaware 19801
                   Attn: Justin R. Alberto (No. 5126) and Erin R. Fay (No. 5268)
                   Email: jalberto@bayardlaw.com
                   Email: efay@bayardlaw.com

                   Attorneys for the Creditors’ Committee

                       After the occurrence of the Effective Date, the Liquidating Debtors and the
Liquidating Trustee have authority to send a notice to entities providing that to continue to receive
documents pursuant to Bankruptcy Rule 2002, such entities must file a renewed request to receive
documents pursuant to Bankruptcy Rule 2002; provided, however, that the U.S. Trustee need not
file such a renewed request and shall continue to receive documents without any further action
being necessary. After the occurrence of the Effective Date, the Debtors and the Liquidating
Trustee are authorized to limit the list of entities receiving documents pursuant to Bankruptcy Rule
2002 to the U.S. Trustee and those entities that have filed such renewed requests.

                      12.15 Dissolution of the Creditors’ Committee.

                        On the Effective Date, the Creditors’ Committee will dissolve; provided,
however, that following the Effective Date, the Creditors’ Committee shall continue in existence
and have standing and a right to be heard for the following limited purposes: (i) assisting the
Trusts for a limited transitional period of time; (ii) applications, and any relief related thereto, for
compensation by Professionals and requests for allowance of Administrative Expense Claims; and
(iii) any appeals of, or related to, the Confirmation Order or other appeal to which the Creditors’
Committee is a party. Upon the dissolution of the Creditors’ Committee, the Creditors’ Committee
and its respective Professionals will cease to have any duty, obligation, or role arising from, or
related to, the Chapter 11 Cases and shall be released and discharged from all rights and duties
from, or related to, the Chapter 11 Cases.



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                   12.16 Reservation of Rights.

                       Except as otherwise provided herein, this Plan shall be of no force or effect
unless the Bankruptcy Court enters the Confirmation Order. None of the filing of this Plan, any
statement or provisions of this Plan, or the taking of any action by the Debtors with respect to this
Plan shall be, or deemed to be, an admission or waiver of any rights of the Debtors with respect to
any Claim or Interests prior to the Effective Date.

Dated: January 14, 2020


By: /s/ Andrece Housley
Name: Andrece Housley
Title: Authorized Signatory

INSYS THERAPEUTICS, INC.
IC OPERATIONS, LLC
INSYS DEVELOPMENT COMPANY, INC.
INSYS MANUFACTURING, LLC
INSYS PHARMA, INC.
IPSC, LLC
IPT 355, LLC




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